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               UNITED STATES DISTRICT COURT                     1   A P P E A R A N C E S:
             FOR THE NORTHERN DISTRICT OF OHIO                  2
                   EASTERN DIVISION                             3   ROBBINS GELLER RUDMAN & DOWD LLP
                      - - -                                     4   BY: AELISH M. BAIG, ESQUIRE
          IN RE: NATIONAL PRESCRIPTION                          5    DOREY ANTULLIS, ESQUIRE
          OPIATE LITIGATION               Case No.              6    Post-Montgomery Center
                              1:17-MD-2804                      7    One Montgomery Street, Suite 1800
          APPLIES TO ALL CASES              Hon. Dan A.         8    San Francisco, California 94104
                              Polster                           9    415.288.4545
          Case No. 1:17-MD-2804                                10    aelishb@rgrdlaw.com
                      - - -                                    11    Representing Plaintiff
                   January 17, 2019                            12
           HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER            13
                 CONFIDENTIALITY REVIEW                        14   MORGAN LEWIS & BOCKIUS, LLP
                 Videotaped deposition of                      15   BY: TINOS DIAMANTATOS, ESQUIRE
          DOUGLAS BOOTHE, held at 250 Hudson Street,           16    LIZA B. FLEMING, ESQUIRE
          New York, New York, commencing at 9:00 a.m.,         17    77 West Wacker Drive
          on the above date, before Marie Foley, a             18    Chicago, Illinois 60601-5094
          Registered Merit Reporter, Certified                 19    312.324.1145
          Realtime Reporter and Notary Public.                 20    tinos.diamantatos@morganlewis.com
                      - - -                                    21    liza.fleming@morganlewis.com
                 GOLKOW LITIGATION SERVICES                    22    Representing Rite Aid
               877.370.3377 ph | 917.591.5672 fax              23
                    Deps@golkow.com                            24


                                                      Page 3                                       Page 4
      1     A P P E A R A N C E S: (Cont.)                      1    A P P E A R A N C E S: (Cont.)
      2                                                         2
      3                                                         3    JONES DAY
      4     FARRELL FRITZ, LLP                                  4    BY: SARAH G. CONWAY, ESQUIRE
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      9       646.237.1803                                      9      sgconway@jonesday.com
     10       mdonovan@farrellfritz.com                        10      Representing Walmart
     11       Representing Cardinal Health                     11
     12                                                        12
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     14     COVINGTON & BURLING, LLP                           14    BY: DONNA WELCH, ESQUIRE
     15     BY: CLAYTON L. BAILEY, ESQUIRE                     15      ZACHARY A. CIULLO, ESQUIRE
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     18      Washington, DC 20001                              18      312.862.2000
     19      202.662.6000                                      19      donna.welch@kirkland.com
     20      cbailey@cov.com                                   20      zac.ciullo@kirkland.com
     21      Representing McKesson                             21      Representing Allergan Finance and
     22                                                        22      the witness
     23                                                        23
     24                                                        24


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      2                                                     2   (Continued)
      3   ULMER BERNE LLP                                   3
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      7     Cincinnati Ohio 45202-2409                      7     Suite 1600
      8     513.698.5000                                    8     Charleston West Virginia 25301-2302
      9     pcosgrove@ulmer com                             9     304.340.1000
     10     Representing Amneal Pharmaceuticals            10     jlanderson@jacksonkelly.com
     11                                                    11     Representing AmerisourceBergen
     12                                                    12
     13   APPEARANCES VIA TELEPHONE AND STREAMING:         13
     14                                                    14   ROPES & GRAY
     15   ARNOLD & PORTER, LLP                             15   BY: GREGORY F. MALLOY, ESQUIRE
     16   BY: WREDE SMITH, ESQUIRE                         16     Prudential Tower
     17     601 Massachusetts Avenue, NW                   17     800 Boylston Street
     18     Washington, DC 20001                           18     Boston, Massachusetts 02199
     19     202-942-5000                                   19     617.951.7000
     20     Wrede.Smith@arnoldporter.com                   20     gregory.malloy@ropesgray.com
     21     Representing Par and Endo                      21
     22                                                    22   ALSO PRESENT:
     23                                                    23     Tyler Crotty, videographer
     24                                                    24     Jeff Sayres, trial tech


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      5     INDEX OF EXHIBITS................. 8 - 16       5   Allergan- Boothe        Actavis per4ma period        42
      6     EXAMINATION OF DOUGLAS BOOTHE:                  6   Exhibit 1           covered by appraisal 2008,
      7     BY: MS. BAIG..................... 19            7                   Bates No.
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     14                                                    14                   03317326
     15                  - - -                             15
     16                                                    16   Allergan- Boothe        Email chain ending January    75
     17                                                    17   Exhibit 3           27, 2010, Bates No.
     18                                                    18                   ALLERGAN_MDL_03305226 to
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     21                                                    21
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     24                                                    24



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      6   Exhibit 4        2013, with attachment,                        6   Exhibit 7         Services Agreement effective
      7                Bates No.                                         7                February 1, 2008,
      8                Acquired_Actavis_00885908                         8                Bates No.
      9                to 00885912                                       9                ALLERGAN_MDL_01474505 to
     10                                                                 10                0147557
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     16   Allergan-Boothe        Email chain ending October 117         16                01100752
     17   Exhibit 6        18, 2006, with attachment,                   17
     18                Bates No.                                        18   Allergan-Boothe       Email chain ending March    167
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      6   Exhibit 10           2009, Bates No.                           6   Exhibit 13           2012, with attachment,
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      8                 01725569                                         8                 ALLERGAN_MDL_00026060 to
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     10   Allergan-Boothe        Email chain ending August        191   10   Allergan-Boothe        Email chain ending July        221
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     15   Allergan-Boothe        Email chain ending         202         15   Allergan-Boothe        Email chain ending         250
     16   Exhibit 12           February 20, 2013, with                  16   Exhibit 15           February 25, 2012, with
     17                 attachment,                                     17                 attachment,
     18                 Bates No. ACTAVIS1025294                        18                 Bates No.
     19                 to 1025297                                      19                 ALLERGAN_MDL_00676546 to
     20                                                                 20                 00676585
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      6   Exhibit 17        Coupon Program Agreement,              6   Exhibit 21        2011, with attachment,
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      8                ALLERGAN_MDL_01474262 to                    8                to 0960327
      9                01474331                                    9
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     11   Allergan-Boothe      Email dated October 21,     319    11   Exhibit 22        27, 2012, Bates No.
     12   Exhibit 18        2009, with attachment,                12                ALLERGAN_MDL_01898012 to
     13                Bates No. ACTAVIS1132528                   13                01898134
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     17   Exhibit 19        with attachment,                      17                Meeting April 25, 2006,
     18                Bates No. ACTAVIS0822310                   18                Bates No.
     19                to 0822331                                 19                ALLERGAN_MDL_02513100 to
     20                                                           20                02513130
     21   Allergan-Boothe      Email dated June 21, 2011, 342     21   Allergan-Boothe      Email chain ending May 6,    376
     22   Exhibit 20        Bates No. ACTAVIS0971969              22   Exhibit 24        2011, Bates No.
     23                to 0971972                                 23                ALLERGAN_MDL_01860386 to
     24                                                           24                01860397


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      7                Bates No. ACTAVIS0804497                    7               Bates No.
      8                to 0804563                                  8               ALLERGAN_MDL_01871495 to
      9   Allergan-Boothe      Email dated July 9, 2012,   401     9               01871609
     10   Exhibit 26        with attachment,                      10
     11                Bates No. ACTAVIS0718476                   11
     12                to 0718533                                 12
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     14   Allergan-Boothe      Email chain ending August    417   14
     15   Exhibit 27        18, 2009, Bates No.                   15
     16                ALLERGAN_MDL_02081243 to                   16
     17                02081245                                   17
     18   Allergan-Boothe      Email chain ending July     429    18
     19   Exhibit 28        11, 2012, with attachment,            19
     20                Bates No.                                  20
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                                                 Page 17                                      Page 18
      1   DEPOSITION SUPPORT INDEX                          1               - - -
      2                                                     2              9:07 a.m.
      3   DIRECTION TO WITNESS NOT TO ANSWER                3           New York, New York
      4    Page Line                                        4              - - -
      5    - -none- -                                       5        THE VIDEOGRAPHER: We are now on
      6                                                     6    the record.
      7                                                     7        My name is Tyler Crotty. I'm a
      8   REQUEST FOR PRODUCTION OF DOCUMENTS               8    videographer for Golkow Litigation
      9    Page Line                                        9    Services.
     10    - -none- -                                      10        Today's date is January 17th,
     11                                                    11    2019, and the time is approximately
     12                                                    12    9:07 a m.
     13   STIPULATIONS                                     13        This video deposition is being
     14    Page Line                                       14    held at 250 Hudson Street, New York,
     15    - -none- -                                      15    New York, in the matter of National
     16                                                    16    Prescription Opiate Litigation MDL for
     17                                                    17    the court of the Northern District of
     18   QUESTIONS MARKED                                 18    Ohio.
     19    Page Line                                       19        The deponent today is Doug
     20    - -none- -                                      20    Boothe.
     21                                                    21        And counsel will be noted on the
     22                                                    22    stenographic record.
     23                                                    23        Our court reporter is Marie
     24                                                    24    Foley, and she will now swear in the


                                                 Page 19                                      Page 20
      1     witness.                                        1      A. Yes.
      2                - - -                                2      Q. All right. What did you do to
      3   DOUGLAS BOOTHE, the Witness herein, having        3   prepare for today's deposition?
      4     been first duly sworn by a Notary               4      A. I met with our attorneys
      5     Public in and of the State of New               5   yesterday.
      6     York, was examined and testified as             6      Q. Okay. How many times did you
      7     follows:                                        7   meet with your attorneys?
      8   EXAMINATION BY                                    8      A. Yesterday and --
      9   MS. BAIG:                                         9          THE VIDEOGRAPHER: Counsel. I'm
     10     Q. Good morning, Mr. Boothe.                   10      sorry. I don't know if I'm getting an
     11     A. Good morning.                               11      audio feed. We might have -- we might
     12     Q. I'm Aelish Baig.                            12      have to go off the record.
     13         Can you please state your full             13          MS. BAIG: Okay.
     14   name and address for the record?                 14          THE VIDEOGRAPHER: We're going
     15     A. Sure. It's Douglas Steven                   15      off the record.
     16   Boothe,                                          16          The time is 9:09 a m.
     17                                                    17          (Recess taken.)
     18     Q. And, have you had your                      18          THE VIDEOGRAPHER: We're going
     19   deposition taken before?                         19      back on the record.
     20     A. Yes.                                        20          The time is 9:12 a m.
     21     Q. How many times?                             21   BY MS. BAIG:
     22     A. Over a dozen.                               22      Q. So, how many times did you meet
     23     Q. Okay. So, fair to say that                  23   with your attorneys in order to prep for
     24   you're familiar with the procedures?             24   this depo?


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                                          Page 21                                           Page 22
      1       A. Sure. So, I met yesterday and           1      Q. What -- what documents do you
      2    we met one time over the summer in June or    2   recall looking at in preparation for your
      3    July-ish time frame and some email            3   deposition?
      4    exchanges, but largely just two -- two        4      A. It would be better if you just
      5    times.                                        5   want to show me a document, I'd be happy
      6       Q. Okay. And, you had no meetings          6   to comment on it.
      7    over the phone about preparation for this     7      Q. But my question to you is what
      8    deposition?                                   8   documents do you recall looking at in
      9       A. No, just logistics.                     9   preparation for your deposition?
     10       Q. Okay. Did you read any                 10      A. There were some documents from
     11    deposition transcripts in preparation for    11   regulatory team, some FDA communications,
     12    this depo?                                   12   some sales and training materials.
     13       A. No.                                    13      Q. Anything else that you recall?
     14       Q. Did you talk to anybody at             14      A. No.
     15    Actavis in preparation for this              15      Q. Email?
     16    deposition?                                  16      A. There -- those were emails as
     17       A. No.                                    17   well as some attachments, yes.
     18       Q. Did you review any documents in        18      Q. Are you familiar with the
     19    preparation for this deposition?             19   complaints on file in this action?
     20       A. Yes.                                   20      A. To a certain extent, yes.
     21       Q. And, those were documents from         21      Q. And, what's your understanding
     22    your files when you worked at Actavis?       22   of what the allegations are?
     23       A. They weren't exclusively from my       23      A. I'm really not a lawyer. So
     24    files. They were other documents as well.    24   you'd have to explain it to me.


                                          Page 23                                           Page 24
      1       Q. You have no understanding of            1   question.
      2    what this case is about?                      2         I don't know.
      3       A. It's some sort of a class action        3      Q. You have -- okay.
      4    suit brought by plaintiffs about I'll say     4         At what company did you first
      5    marketing practices of branded                5   work on opioids?
      6    pharmaceutical companies.                     6      A. What do you mean by work on
      7       Q. And, do you know what the gist          7   opioids?
      8    of the wrongdoing alleged is?                 8         Can you describe that for me,
      9       A. Again, allegations of marketing         9   please?
     10    activities by branded pharmaceutical         10      Q. Do you understand what an opioid
     11    companies, is my understanding.              11   is?
     12       Q. Allegations of misleading              12      A. Sure.
     13    marketing activities.                        13      Q. Okay. When was the first time
     14           Is that your understanding, or        14   that you worked at a pharmaceutical
     15    no?                                          15   company that was selling opioids?
     16       A. Again, you're -- you're asking         16      A. My first pharmaceutical job was
     17    me. I told you the answer. I think it's      17   with Pharmacia. I'm not aware if they did
     18    my understanding as it relates to            18   or didn't sell opioids. That was in 2001.
     19    marketing activities of branded              19   I went to Alpharma in 2004, and Alpharma
     20    pharmaceutical companies.                    20   had in its generic portfolio several
     21       Q. Okay. You have no further              21   controlled substances. Some may have been
     22    understanding of what this case is about.    22   opioids, but we had other controlled
     23           Is that right?                        23   substances, and Alpharma also had a
     24       A. I'd be happy to answer a               24   branded long-acting opioid product, which


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      1    is Kadian extended-release, long-acting       1   really leadership for the entire generics
      2    morphine product, capsule.                    2   business, so it included the solid oral
      3       Q. And, what was your position at          3   dose, the semisolids liquid business, and
      4    Pharmacia?                                    4   our over-the-counter business, generics
      5       A. I joined Pharmacia in 2001. I           5   business. Again, all over-the-counter
      6    was the vice-president of e-business and      6   general label products.
      7    emerging technologies.                        7      Q. And, when did you leave
      8       Q. And you kept that position until        8   Alpharma?
      9    2004?                                         9      A. Well, Alpharma was acquired by
     10       A. I was there until the spring of        10   Actavis. That acquisition occurred at the
     11    2013. Pfizer acquired Pharmacia. So when     11   end of 2005. So I stayed on with the new
     12    that transaction closed, which I believe     12   entity, which was called Actavis US, and I
     13    was in April, I exited the company.          13   was there from 2006 through 2012 when
     14    2013 -- sorry. 2003.                         14   Watson Pharmaceutical acquired global
     15       Q. Okay.                                  15   Actavis, including the US business.
     16       A. 2001 to 2003.                          16      Q. And, what was your position at
     17       Q. And, what was your first               17   Actavis?
     18    position at Alpharma?                        18      A. I had several roles. When the
     19       A. I joined in January of 2004. I         19   transaction first closed in 2006, I was
     20    was the vice-president and general manager   20   the vice-president sales and marketing, I
     21    of our solid oral dose business, generics.   21   believe. And then I became chief
     22       Q. And, what additional positions         22   commercial officer in 2007. And in 2008 I
     23    did you hold at Alpharma?                    23   was appointed CEO of Actavis US, and that
     24       A. Within a year there, I took over       24   expanded to CEO of Actavis Americas. So

                                           Page 27                                           Page 28
      1    from 2008 to 2012, I was the CEO of           1      Q. And, were there opioids in the
      2    Actavis in the U.S. and Americas.             2   portfolio at Perrigo?
      3       Q. And, what -- what happened in --        3      A. Yes.
      4    what -- where did you go in 2012?             4      Q. Which ones?
      5       A. So, again, so, Watson                   5      A. We sold a generic of -- we
      6    Pharmaceuticals acquired Actavis. That        6   brought to market a generic of Exalgo,
      7    was announced in April of 2012.               7   which I believe is either hydromorphone or
      8    Transaction closed, actually, October         8   hydrocodone. We had other controlled
      9    30th, the day of Hurricane Sandy, in 2012.    9   substances. I'm trying to think if we had
     10    I stayed with the company through the end    10   other opioids, but we had controlled
     11    of the calendar year, as per my agreement,   11   substances.
     12    and then I -- I exited in January, and I     12      Q. And, what was your next
     13    started two weeks later at Perrigo           13   position?
     14    Pharmaceuticals January 2013.                14      A. I left Perrigo in July of 2016,
     15       Q. And, what's your position at --        15   and I moved to Impacts Laboratories in
     16    are you still at Perrigo?                    16   August of 2016. I was the president of
     17       A. No.                                    17   the generics division at Impacts
     18       Q. What was your position at              18   Laboratories from August 2016 through May
     19    Perrigo?                                     19   of 2018.
     20       A. I was the executive                    20      Q. And, did you take another
     21    vice-president and general manager of the    21   position after that?
     22    generic and specialty pharma business.       22      A. Yes. I exited May of 2018,
     23    They call it the prescription business,      23   which is when the Amneal acquisition
     24    but it was generics and specialty pharma.    24   closed, and I started a position two weeks


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                                           Page 29                                           Page 30
      1    ago.                                          1   product line there. I believe we --
      2       Q. And, where are you working now?         2   again, we have controlled substances.
      3       A. I'm the president and chief             3   I've toured the facilities and the vaults.
      4    executive officer of Acorn                    4   Not a significant part of the business.
      5    Pharmaceuticals.                              5          I believe we have -- Acorn's
      6       Q. And, were there opioids in the          6   mostly injectable products and sterile
      7    portfolio at Impacts?                         7   ophthalmics. So we may have some
      8       A. Yes.                                    8   hospital-based controlled substance
      9       Q. Which ones?                             9   products, but I'm not a hundred percent
     10       A. Again, the generics business we        10   sure on the portfolio still.
     11    sold -- manufactured and distributed         11      Q. When you were at Alpharma as VP,
     12    generic hydromorphone, hydrocodone,          12   who did you report to?
     13    hydromorphone. We actually had a generic     13      A. I joined the company in 2004.
     14    for Kadian, which again is a morphine        14   My boss was -- was Fred Lynch.
     15    product at Alpharma. I think we also had     15      Q. And he did not come over to
     16    a generic for Avinza, which is another       16   Actavis when you did, correct?
     17    generic morphine extended-release product.   17      A. Correct.
     18       Q. And, are there --                      18      Q. And, did that reporting
     19       A. Sorry. Oxycodone or -- Opana           19   structure change at all while you were at
     20    was oxymorphone. That was -- we had a        20   Alpharma?
     21    generic of that.                             21      A. No.
     22       Q. Okay. And, are there opioids in        22      Q. And, when you started at
     23    the portfolio at Acorn Pharmaceutical?       23   Actavis, who did you report to?
     24       A. You know, I'm still learning the       24      A. I reported to Sigurdur Olafsson.

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      1       Q. Is that Siggi?                          1   Robert was the CEO.
      2       A. Correct.                                2      Q. The board of Actavis?
      3       Q. And, what was Sigurdur                  3      A. The board of Actavis Group that
      4    Olafsson's position?                          4   was Icelandic-based. So, again, I don't
      5       A. 2006 he was president of Actavis        5   know what the -- if it was -- I don't know
      6    US.                                           6   what the tag line is for an
      7       Q. And, what company did he work           7   Icelandic-based company. But, yes,
      8    for? Actavis?                                 8   Actavis Group.
      9       A. Well, he came from Actavis,             9      Q. But, was that board different
     10    yeah.                                        10   than the board of Allergan?
     11       Q. Did he come from the company           11          MS. WELCH: Objection to form.
     12    Actavis US?                                  12      A. Yes.
     13       A. Again, that was his position.          13      Q. And, who was on the board of
     14    Again, I don't know where he was in terms    14   Actavis Group at that time?
     15    of his employment standpoint, if he was      15      A. In what year?
     16    part of the parent or if he was part of --   16      Q. 2006.
     17    but he lived in the United States.           17      A. I will say a bunch of
     18       Q. And, who did Sigurdur Olafsson         18   Icelandics, Icelanders. Thor Bjorgolfsson
     19    report to?                                   19   was the chairman. He was the primary
     20       A. He reported to the Actavis CEO         20   shareholder and then -- I can't -- I would
     21    at the time, Robert Wessman.                 21   not do a good job pronouncing their names.
     22       Q. And, who did Robert Wessman            22   I actually never participated in any board
     23    report to?                                   23   meetings at Actavis. I did -- at Actavis
     24       A. He report to the board. I mean,        24   Group, actually, is what it was called. I


                                                                       8 (Pages 29 to 32)
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                                           Page 33                                           Page 34
      1    did come to a board meeting at the end and    1   BY MS. BAIG:
      2    was introduced to several board members,      2      Q. Who hired you at Actavis?
      3    but I'd be hard-pressed to remember their     3      A. Again, I was already there at
      4    names.                                        4   Alpharma, but essentially Siggi kept me
      5       Q. And Actavis -- when was the             5   on.
      6    merger between Actavis and Allergan?          6      Q. And, did you report to Siggi for
      7       A. There was no merger between             7   the entire time?
      8    Actavis and Allergan.                         8      A. No.
      9       Q. What is the structure, to your          9      Q. How did that reporting structure
     10    understanding, between Actavis and           10   change?
     11    Allergan when you were there?                11      A. Later in 2006, one of the senior
     12       A. Again, there was no Allergan.          12   people at Actavis Group exited. So Siggi
     13           I was there til 2012. So,             13   went back to be deputy chairman, or deputy
     14    Watson Pharmaceuticals is the company that   14   CEO. And, so, when Siggi left the U.S.
     15    acquired Actavis. Watson Pharmaceuticals,    15   business, went back to Iceland,
     16    after the transaction, took on the Actavis   16   essentially there were four people who
     17    name. So I was -- I left the company at      17   formed a management committee for the
     18    some point either 2013 or 2014. I believe    18   U.S., and I reported to Robert Wessman
     19    that's when Actavis and Allergan combined.   19   directly.
     20       Q. Actavis and Allergan combined in       20      Q. And Robert Wessman's position
     21    2014?                                        21   was?
     22       A. I don't know the date.                 22      A. He was the chief executive
     23           MS. WELCH: Objection;                 23   officer of Actavis Group.
     24       foundation.                               24      Q. And he reported to?

                                           Page 35                                           Page 36
      1       A. The board.                              1      A. -- the personal computer that I
      2       Q. The board of the Actavis Group?         2   used was a company computer. So when I
      3       A. Correct.                                3   left the company, I gave it back.
      4       Q. Why did you leave Actavis?              4      Q. And, was the phone a company
      5       A. I -- again, when the transaction        5   phone?
      6    was completed, Watson basically took over     6      A. Yes.
      7    the -- they acquired the Actavis Group.       7      Q. And, did you use text messaging
      8    So, Watson management team took over the      8   when you worked at Actavis at all?
      9    business and integrated it. They didn't       9      A. Yes.
     10    have a role for me.                          10      Q. And, did you review any text
     11       Q. Did you ever use personal              11   messages in preparation for your
     12    computers or other devices, such as phones   12   deposition today?
     13    or iPads, for work purposes?                 13      A. No.
     14       A. What time frame?                       14      Q. Do you know whether those text
     15       Q. When you worked for Actavis.           15   messages have been produced?
     16       A. Yes.                                   16          MR. DIAMANTATOS: Objection;
     17       Q. And, when you were preparing for       17      foundation.
     18    this deposition, did you review any -- any   18      A. I'm not aware.
     19    of the documents that would have come from   19      Q. Did you ever use an instant
     20    those types of devices?                      20   messenger program for work-related
     21           MS. WELCH: Objection;                 21   communications?
     22       foundation.                               22      A. No.
     23       A. Again --                               23      Q. Was your compensation, generally
     24           MS. WELCH: And form.                  24   in the positions we've just discussed,


                                                                      9 (Pages 33 to 36)
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                                           Page 37                                            Page 38
      1    based on your ability to maximize sales of     1   based on a base salary, and then there
      2    the company's drugs?                           2   would be a bonus component. The bonus
      3           MR. DIAMANTATOS: Objection to           3   would be delivered based on performance
      4       form.                                       4   against annual goals. Those annual goals
      5       A. No. That was a component, but            5   of Actavis were largely around EBITDA, so
      6    that wasn't exclusively that compensation.     6   earnings before -- earnings before
      7       Q. Would you say that it was a              7   interest, taxes, depreciation and
      8    significant component?                         8   amortization. So revenue, of course,
      9           MS. WELCH: Objection to form.           9   helps to determine EBITDA, but not
     10           MR. DIAMANTATOS: Objection to          10   exclusively. And then, again, both myself
     11       form.                                      11   and individually folks in my organization
     12       A. Could you repeat the question,          12   have specific metrics that would also
     13    please?                                       13   factor into the bonus calculation, as well
     14       Q. Was your compensation based on          14   as personal activities, you know, could be
     15    your ability to maximize sales of the         15   around quality, learning, training,
     16    company's drugs? Was that a significant       16   compliance.
     17    component of your compensation?               17          Again, we -- one of my roles was
     18           MS. WELCH: Objection to form.          18   every year was to define those targets and
     19       A. No.                                     19   measurements and to work that through or
     20       Q. What was your compensation based        20   negotiate it with the parent company as to
     21    on?                                           21   what would be the financial targets and
     22       A. Again, it varied over the years,        22   what would be the personal targets and
     23    but essentially my compensation, and most     23   what would be the organizational targets.
     24    employees of the company, compensation was    24          But, essentially, the -- at my

                                           Page 39                                            Page 40
      1     level, base salary would be a certain         1   potentially.
      2     number and my bonus target would be           2      Q. Now, when you say if we did
      3     anywhere -- the bonus target could be         3   better than the target, what do you mean
      4     around 30, 40 percent of my base. Could       4   by target?
      5     be zero. We had years where it was zero       5      A. Again, the targets were
      6     and it could pay at up to maybe 120, 150      6   dependent on the year, but essentially it
      7     percent of the target.                        7   was around EBITDA. So if the EBITDA
      8            And, as you went down the              8   target was a hundred million and we did
      9     organization, those bonus targets were a      9   110 million, that would have been slightly
     10     smaller percentage of the base, no more      10   better than target. If the target was 100
     11     than 30 percent.                             11   million and we did 80 million, it would be
     12        Q. And, when you say 120 to 150           12   less than target. And we had a threshold.
     13     percent of the target, what do you mean by   13   So effectively, if you were less than 80
     14     target?                                      14   percent of the target, the bonus would be
     15        A. So, again, if my base salary           15   zero, subject to the management
     16     was, just for math, it was $500,000 and my   16   discretion.
     17     target was 40 or 50 percent, it could be     17      Q. And, who at parent company would
     18     paid out actually at zero, subject to, you   18   you work those out with?
     19     know, company not achieving its threshold    19      A. Again, it would be, you know,
     20     targets, or if we did better than the        20   budgeting is a negotiation, but
     21     target, it could be paid out up to 120 or    21   essentially it would be ultimately with my
     22     maybe even 150 percent. I think 120 was      22   boss, Robert Wessman, the CEO, or Siggi,
     23     the number. So, rather than 50 percent,      23   or over time it was a different CEO. We
     24     it could be as high as 60 percent,           24   had Claudio Albrecht.


                                                                      10 (Pages 37 to 40)
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      1            So, we would negotiate -- we          1           I see you have per4ma. So
      2     would come up with targets for the           2   that's one of the platforms we used. And,
      3     regions, targets for the business, you       3   again, Mr. -- Mr. Albrecht, who was the
      4     know, based on forecasting, based on         4   CEO after -- after -- actually, no. It
      5     bottoms-up planning, based on cost           5   was Wessman and then actually Siggi was
      6     assumptions, based on pricing assumption,    6   the CEO for a few years and then Mr.
      7     based on new product activity, based on      7   Albrecht. Claudio actually was probably
      8     other strategic priorities. We would         8   the best in terms of doing performance
      9     basically do the goal-setting work either    9   reviews, but I would prepare a performance
     10     at the end of the calendar year or the      10   review every year and submit it as part of
     11     first month or two in the next calendar     11   the -- part of our management process.
     12     year, and that would be the basis for the   12           MS. BAIG: Okay. Let's have
     13     targets both for myself, and then I would   13       this document marked as Exhibit 1,
     14     cascade those targets down through my       14      please.
     15     organization.                               15           (Boothe Exhibit 1, Actavis
     16        Q. Did you receive performance           16       per4ma period covered by appraisal
     17     evaluations while you were at Actavis?      17      2008, Bates No.
     18        A. Some. I would say that Mr.            18      Acquired_Actavis_ 01541043 to
     19     Wessman was not the best at performance     19       ALLERGAN_MDL_00128730, was marked for
     20     reviews. But yes, sometimes I would get     20      identification, as of this date.)
     21     verbal review. I would certainly have a     21   BY MS. BAIG:
     22     year-end review about performance           22      Q. That is a document Bates stamped
     23     associated with, you know, your bonus       23   Acquired_Actavis_01541043 through -- well,
     24     and/or your raise.                          24   it starts with that Bates stamp number and


                                           Page 43                                           Page 44
      1    it ends with ALLERGAN_MDL_00128730. And       1      A. Yes.
      2    I'll represent to you that this is a          2      Q. And it says: For U.S. budget
      3    collection of -- of performance reviews       3   551 million in revenues, 171.8 million in
      4    that we were able to collect from the         4   EBITDA, excluding exceptional items, and
      5    production of documents that we have.         5   36.3 million in cash flow.
      6            Can you just take a quick look        6          Do you see that?
      7    at this document and -- and let me know if    7      A. Yes.
      8    this appears to be a series of performance    8      Q. Okay. And these were the
      9    evaluations from your time at Actavis?        9   objectives that you -- would these have
     10            MS. WELCH: Objection to form.        10   been the targets that we just discussed?
     11        A. From what you've handed me, it        11      A. Again, if you look at the
     12    looks like it's two years, 2008 and 2009.    12   document, it's up to five objectives here.
     13    So it's not really the full duration of my   13   So this was the first of five.
     14    time at Actavis.                             14      Q. Sure.
     15        Q. And, do you recall seeing these       15          These would be among the targets
     16    documents while you were at Actavis?         16   that we just discussed?
     17        A. Yes.                                  17      A. Correct.
     18        Q. And if you look at the second         18      Q. And the first one, correct?
     19    page of the document, you see for 2009       19      A. Correct.
     20    under Objective Number 1 it says:            20      Q. And, under Objective 2 you --
     21    Deliver 2009 Actavis Inc. recovery by        21   we -- I see here: Pass all GMP
     22    achieving budget number for revenue,         22   inspections.
     23    EBITDA and cash flow.                        23          Do you see that?
     24            Do you see that?                     24      A. Again, Objective 2 covers


                                                                     11 (Pages 41 to 44)
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                                           Page 45                                           Page 46
      1     quality and compliance.                      1   beginning of the year. So, certainly,
      2        Q. Yes.                                   2   during the course of the year, we would,
      3        A. Covers GMP inspections, no             3   when I did the year-end review, we would
      4     regulatory actions, yes, amongst other       4   have a number against that. That's the
      5     activities around quality and compliance,    5   number when I mentioned before about
      6     which was an important metric at the         6   setting objectives.
      7     company.                                     7          In the generic space, new
      8        Q. Okay. And, what is a GMP               8   products, it's always a challenging way to
      9     inspection? What's GMP stand for?            9   plan because you don't have a fixed date.
     10        A. That's an acronym for good            10   You've submitted application to the FDA.
     11     manufacturing practice.                     11   FDA would review it. FDA doesn't commit
     12        Q. And, under Objective 2 there's        12   to a specific target date. Back in this
     13     also: New products/product supply.          13   time frame, there were not user fees. So
     14            Do you see that?                     14   what's in the space right now is GDUFA,
     15        A. Yes.                                  15   which is Generic User Fee Act -- Generic
     16        Q. And it states: 67 million in          16   Drug User Fee Act. Just like in the brand
     17     new product revenues on 16 plus launches.   17   side PDUFA. That's in place now which
     18            Do you see that?                     18   provides a little bit more visibility
     19        A. Yes.                                  19   towards -- towards targeting, but back in
     20        Q. Was that a target that you            20   this time frame, there was not that in
     21     have -- that you attain 67 million in new   21   place. So you would submit an application
     22     product revenues for that year?             22   to the agency, and it could take 12
     23        A. I'd have to look at the               23   months, it could take 18 months, it could
     24     documents later 'cause this is the          24   take three years, four years.

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      1           Many of our applications also          1      Q. And, who set these targets? Did
      2    were Paragraph IVs, so that involved legal    2   you set these targets with Siggi, or did
      3    challenges with the Hatch-Waxman activity.    3   he set them for you? Or, how did that
      4           So, one of the challenges every        4   work?
      5    year in setting targets was to agree to, I    5          MR. DIAMANTATOS: Objection to
      6    mentioned the negotiation, agree to what      6      form.
      7    would be the target for new product           7      A. Again, it was the negotiation.
      8    revenues which is a subset of the overall     8   So, the way we would do budgeting is,
      9    business revenue.                             9   again, my team, my organization, my sales
     10           So, that 67 is a subset in this       10   organization, my marketing team, my
     11    instance of the 551 which was the top line   11   finance group would all build up based on
     12    revenue target for the business.             12   looking at the market data, if it was IMS
     13       Q. And, the next line references:         13   or Wolters Kluwer, look at our position in
     14    90 percent product availability.             14   terms of market share, look at possible
     15           What does that refer to?              15   new product launches, look at competitive
     16       A. So, product availability was a         16   offerings and do a bottoms-up revenue
     17    metric we used within the company about      17   case.
     18    basically having supply chain to support     18          Also, our plants would look at,
     19    customer. So, again, product availability    19   you know, cost of goods and acquiring raw
     20    here is essentially when a customer places   20   materials and access to DEA quota, for
     21    an order, we have that product in stock      21   example. That was an item there. And we
     22    and we can ship within -- within their       22   would basically build a bottoms-up
     23    time frame, which is usually two or three    23   financial plan. Then we'd present it to
     24    days. So it's available to customers.        24   Siggi and the management team or Robert


                                                                     12 (Pages 45 to 48)
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                                           Page 49                                            Page 50
      1    Wessman. And there was always negotiation      1      A. Which specific page are you
      2    because invariably whatever number we          2   asking?
      3    would build up from the bottom was usually     3      Q. The one that ends in '046. It's
      4    lower than what was sort of expected from      4   the fourth page of the document.
      5    the top down. So then we would sort of         5          It looks like it's a form, but
      6    negotiate and try to find opportunities,       6   it hasn't been filled out.
      7    and sometimes we took on challenges where      7      A. Well, again, I mean, so, there's
      8    it was just like you got to go for this        8   no date on this document. Or, is there?
      9    number. It was sort of a -- anybody who's      9          It just says "Period Covered."
     10    been in the commercial sense, this is an      10   This may have been at the beginning of the
     11    annual process that everybody goes            11   year. So, again, if you look at the form,
     12    through.                                      12   ambition, teamwork, customer care,
     13       Q. And, so, I see on the next page         13   proactivity, flexibility. It actually
     14    there's nothing filled out there.             14   has -- has things that are the
     15           Is that -- was that typical?           15   expectations and then the spaces that are
     16       A. What do you mean?                       16   blank are either midyear comments or
     17           MR. DIAMANTATOS: Objection.            17   end-of-year comments.
     18           MS. WELCH: Object to the form.         18          So, again, if I look at other
     19    BY MS. BAIG:                                  19   documents down the road here, that's
     20       Q. Well, on the next page it says          20   blank.
     21    "Behavioral Indicators" and performance       21          2009, okay.
     22    and that's just blank, and so the             22      Q. So, if you look at the first
     23    following page "Overall Performance           23   document it says on the first page of the
     24    Evaluation."                                  24   whole exhibit "Period covered by appraisal

                                           Page 51                                            Page 52
      1     2008." And then you have --                   1   boxes in it. Starting with "Fails to meet
      2        A. Right. But, so, again --                2   expectations" and moving downwards towards
      3        Q. Hang on. You have the fourth            3   "Exceptional."
      4     page which doesn't really have anything       4          Do you see that box?
      5     filled in and the fifth page which doesn't    5      A. I mean, those aren't comments.
      6     appear to have anything really filled in.     6   Those were the guidelines that we -- when
      7     Although it is checked "Exceeds               7   we used this system for employees in terms
      8     expectations."                                8   of rating performance.
      9             So, no, there are some comments       9          So, like, yeah, as expected,
     10     here on the fifth page.                      10   achieves goals as required or meets
     11             Do you see that?                     11   critical goals, this was the template that
     12             MS. WELCH: Objection to form.        12   we used for performance management.
     13        A. Can you go back?                       13      Q. Okay. And you see it's marked
     14        Q. Sure. On the fifth page of the         14   "Exceeds expectations" with two Xs there?
     15     document Bates stamp number the last few     15      A. There are two Xs there, yes.
     16     digits are '047.                             16      Q. And, is this -- was this
     17        A. Okay. Yeah.                            17   something that you would have marked, or
     18        Q. "Overall performance evaluations       18   that Siggi would have marked for you?
     19     and comments."                               19      A. Well, again, it's my performance
     20        A. Yes.                                   20   review. So someone would have marked it
     21        Q. And you see there's comment in         21   for me. I had a chance under "Employee
     22     that box?                                    22   comments" to add my comments there, as
     23        A. Which box?                             23   well as in these other forms the midyear
     24        Q. In the big box with five smaller       24   comments and the end-of-year comments


                                                                      13 (Pages 49 to 52)
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      1    would both be potentially my comments, as     1      Q. Okay. So then we have another
      2    well as Siggi's comments to the extent of     2   version, which follows it, which also says
      3    which he did that.                            3   "Period covered by appraisal 2008."
      4           Like I say, this document, to          4          MR. DIAMANTATOS: Objection to
      5    me, doesn't appear to be the final version    5      form.
      6    for 20 -- for 2008.                           6   BY MS. BAIG:
      7       Q. Okay. But this, to the extent           7      Q. Do you see that?
      8    it was marked, would likely have been         8      A. Yes.
      9    marked by Siggi.                              9      Q. Okay. But there's not a lot in
     10           Is that right?                        10   this document either. I see under
     11           MS. WELCH: Objection to form.         11   "Midyear comments" and "End of year
     12    BY MS. BAIG:                                 12   comments" on page 2 those are all blank.
     13       Q. "Exceeds expectations"?                13          Do you see that?
     14       A. It's possible. Or, again, maybe        14          MR. DIAMANTATOS: Objection to
     15    I have -- I put that as my self-assessment   15      form.
     16    and he would come and have a chance to --    16      A. I think it's the same thing.
     17    to make his own assessment.                  17      Q. And then if you keep turning.
     18           There's no signatures there.          18      A. Yeah.
     19    There's no names.                            19      Q. If you turn to the document that
     20       Q. Right.                                 20   starts, or that's '4027 at the bottom, do
     21       A. The document's not even signed.        21   you see that?
     22       Q. I noticed that.                        22      A. Mm-hm.
     23       A. So I would say it's probably not       23      Q. And that says "Period covered by
     24    a final version.                             24   appraisal 2009."

                                           Page 55                                           Page 56
      1       A. Correct.                                1     A. My take on this would be the
      2       Q. All right. And then you have            2   earlier ones were drafts, or were, you
      3    for Objective 1 you have: U.S. budget         3   know, again part of the early part of the
      4    $551 million in revenues.                     4   process, and somewhere along the way, you
      5           Do you see that?                       5   know, we, me, maybe someone from HR, maybe
      6       A. Yeah. So, again, if I look at           6   somebody else realized that we should
      7    the documents, the first three or four        7   probably update that period covered to say
      8    that you have that are kind of blank or       8   2009 'cause it clearly describes 2009
      9    whatever, I think what's misleading or        9   goals.
     10    might be inaccurate is that period covered   10      Q. Okay.
     11    by appraisal saying 2008, 'cause then if     11     A. And then you see again the
     12    you look at this one, which issued           12   comments in here, the end-of-year
     13    starting 2010 and it's period covered        13   comments, if I look at these, I would say
     14    2009, but it has the same financial          14   these were my comments that I provided as
     15    objectives.                                  15   part of my self-assessment.
     16       Q. Yeah. I saw that too. I find           16          And, again, the way these
     17    it confusing.                                17   systems worked, it was, you know, it
     18           Do you know how to explain it,        18   wasn't -- it wasn't an online system, but
     19    or no?                                       19   there was space that, again, my
     20           I mean, these documents were          20   supervisor, 2009 that would have been
     21    produced by your counsel. So I'm just        21   Siggi, had the ability to make comments.
     22    trying to sort through them.                 22     Q. Okay. So, if you look at the
     23           MR. DIAMANTATOS: Objection to         23   second page of this document that starts
     24       form.                                     24   Acquired_Actavis_ 00004027 and I'm looking


                                                                     14 (Pages 53 to 56)
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                                           Page 57                                           Page 58
      1    at page '4028.                                1   plus a balance of the year forecast.
      2           Do you see that?                       2          So, 5 plus 7 means that there
      3       A. Yes.                                    3   are five months of actual results and
      4       Q. And, so, here again it says:            4   seven months of forecast for the balance
      5    U.S. budget 551 million in revenues. And      5   of the year.
      6    for end-of-year comments it says:             6          And my recollection of 2009,
      7    Exceeded 2009 5 plus 7 replan.                7   given some of the, I'll say some of the
      8           Do you see that?                       8   unique challenges that we had,
      9       A. Yes.                                    9   specifically around the Totowa facility
     10       Q. What is 5 plus 7 replan?               10   which was not producing product at the
     11       A. So, the way, again, the way we         11   beginning of the year, we did the base
     12    would run the business is you make an        12   level plan, we had a certain revenue case,
     13    original year budget, which again for        13   and then it appears from this that we did
     14    2009, based on these documents, would say    14   a replan in 2009.
     15    that original revenue target was 551         15          So, this is an example of where
     16    million, the original EBITDA target was      16   we changed the targets, which is not
     17    171.8, and the cash flow for 36.3.           17   unheard of, but not in our normal course
     18           During the course of the year,        18   of business. This is in a year given
     19    basically every month we would have one      19   these specific changes. And if you
     20    month of actuals and then we'd have eleven   20   notice, the change of targets is
     21    months of a rolling forecast. Budget was     21   significantly higher 'cause the -- the
     22    always the budget, but we would, from a      22   target was no longer 551 million. It was
     23    financial controls and management            23   626 million 'cause if we -- the business
     24    perspective, we would do actual plus --      24   performed 5 -- 656 versus 626, EBITDA of

                                           Page 59                                           Page 60
      1    275 versus 241. And one of the big            1   review release.)
      2    differences is when we did the first plan     2          Right?
      3    in 2008, we didn't have Kadian in the         3      A. Yes.
      4    plan, and then of course we acquired that     4      Q. And a little further down it
      5    asset at the end of 2008. So the replan       5   says: New product results exceeded but
      6    would have captured the Kadian asset.         6   based primarily on Oxy CR launch late
      7       Q. Okay. So it notes here that the         7   November. 58 million for CR.
      8    combined U.S. revenues which were greater     8          What does 58 million for CR
      9    than 656 million, there's reference that      9   refer to?
     10    says: Recovery was led by successful in      10      A. So, again, at the end of 2009,
     11    the of Kadian, launch of Oxy CR and          11   we had a, I mentioned before in our
     12    outstanding pricing contract work by GRX     12   pipeline we would have Paragraph IV items.
     13    sales and marketing team.                    13   So one of the items that was in our
     14           Correct?                              14   pipeline was a Paragraph IV challenge to
     15       A. Yes.                                   15   OxyContin, which is Oxy CR. That was,
     16       Q. Okay. And a little further down        16   again, the brand product was a Purdue
     17    under "End of Year Comments" it says:        17   item. Actavis had that in its portfolio.
     18    Mostly attained. Critical items exceeded.    18   And we settled our Paragraph IV
     19           Correct?                              19   litigation, and part of that settlement
     20       A. That's for Objective 2.                20   was Purdue provided us a limited inventory
     21       Q. For Objective 2, yes.                  21   of private label generic OxyContin, which
     22       A. Yes.                                   22   we sold a portion of at the end of 2009
     23       Q. And it goes on to state: LF            23   and a portion at the beginning of 2010.
     24    site wave 1 completed in April (Oxy IR       24      Q. And if you turn the page,


                                                                     15 (Pages 57 to 60)
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                                           Page 61                                            Page 62
      1    there's a reference to a settlement           1    bioequivalent in the same dosage form. So
      2    agreement with Purdue.                        2    generic companies will formulate. Some
      3            Is that -- is that what you're        3    will formulate doing what we call
      4    talking about, or is that something           4    copycats. That's not the business model
      5    different?                                    5    for Actavis or most of the significant
      6            MS. WELCH: Objection to form.         6    generic players. What we would do is try
      7        A. Yes.                                   7    to formulate around the IP or identify
      8            And, as you're probably aware,        8    what part of the IP we believe was invalid
      9    those settlements, when they are done,        9    or prior art.
     10    they're submitted to the FTC.                10           And so, again, on this specific
     11        Q. And, what was the gist of that        11    molecule, there could have been multiple
     12    litigation with Purdue?                      12    patents in play. I believe that there
     13            MS. WELCH: Objection to form.        13    were. There were multiple Paragraph IV
     14        A. Well, again, I'm professed to         14    filers on this. There was a significant
     15    not be an expert, but the essentially the    15    change in the raw material. Those who
     16    way generic drugs work is you have a brand   16    know this molecule know that that's been a
     17    company, has IP. Potentially it could be     17    contested item for quite some time. But
     18    formulation, it could be development, it     18    essentially, what we did is we opted to
     19    could be method of use, it could be          19    settle our litigation. Litigation's
     20    delivery mechanism, and what generic         20    expensive, uncertain. So for certainty,
     21    companies do is that they -- in order to     21    we agreed to settle litigation.
     22    get a generic filed, you basically have to   22            And, as it says here in this
     23    demonstrate the same active ingredient,      23    thing, it said: Three paths for market
     24    the same route of administration to be       24    commercialization. One was essentially we

                                           Page 63                                            Page 64
      1     had a license to their IP, that -- those     1      document marked as Exhibit 2, please.
      2     that we believe were valid or part of our    2          (Boothe Exhibit 2, email chain
      3     settlement. If we were to get our own        3      ending January 26, 2010, Bates No.
      4     approval, we could then launch under a       4      ALLERGAN_MDL_03317313 to 03317326, was
      5     license.                                     5      marked for identification, as of this
      6            We opted to take the other path,      6      date.)
      7     which is rather than to wait that out,       7   BY MS. BAIG:
      8     given the uncertainty of our application     8      Q. This is a document that starts
      9     and the legal situation, we opted to take    9   as an email from Hafrun Fridriksdottir to
     10     the raw materials or the finished goods     10   Brenda Vesey, and it's Bates stamped
     11     that Purdue was providing, which was part   11   ALLERGAN_MDL_03317313 through 03317326.
     12     of that settlement agreement, and we sold   12          Who is Hafrun Fridriksdottir?
     13     that in the market both in late 2009 and    13      A. Sure. So, Hafrun was my head of
     14     early 2010.                                 14   R&D, research and development.
     15        Q. And if you turn to the last page      15      Q. So he reported to you while you
     16     of the document, is that Siggi Olafsson's   16   were at Actavis?
     17     signature?                                  17      A. She.
     18        A. Which page?                           18      Q. She?
     19        Q. The very last page of the             19      A. She.
     20     exhibit.                                    20      Q. Okay. She reported to you at
     21        A. I mean, yeah. It looks like --        21   Actavis?
     22     I don't know if it's a true signature or    22      A. Yes. She -- she was with
     23     an electronic signature, but yes.           23   Actavis, she had been with Actavis before
     24            MS. BAIG: Let's have this            24   they acquired Alpharma. Based in Iceland.



                                                                      16 (Pages 61 to 64)
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                                           Page 65                                           Page 66
      1    She's Icelandic. And she had                  1   Can you talk to me a little bit about US
      2    responsibility for global R&D. And at         2   executive team goals and what those are?
      3    some point, I believe it was in 2008, I       3          MS. WELCH: Objection to form.
      4    was able to convince Siggi to have Hafrun     4          MR. DIAMANTATOS: Objection to
      5    come to the U.S. and take over leadership     5      form; mischaracterizes the witness's
      6    for the U.S.-based research and               6      testimony.
      7    development activities.                       7      A. Sure. And if you look at the
      8       Q. Okay. And Brenda Vesey?                 8   other documents, they all say drafts. So
      9       A. Brenda was my head of human             9   certainly from a management process, and
     10    resources, HR.                               10   this is draft and it says December of
     11       Q. And USET goals refers to US            11   2009. So, as we were finishing the
     12    executive team goals.                        12   calendar year and going into our -- our
     13           Is that right?                        13   budgeting, we may have already actually
     14       A. Correct.                               14   had the targets from corporate, 'cause
     15       Q. Okay. And, are these -- the US         15   that usually happened in November, and
     16    executive team goals, are these part of      16   this was, I would say, a little bit of an
     17    the targets that you described earlier?      17   alignment and a cascading activity 'cause,
     18       A. Well, again, this document is          18   again, there would be business targets and
     19    2010. So the document you were showing me    19   there would be departmental targets and
     20    was goals for 2008.                          20   there would be individual targets.
     21       Q. Yes, but you spoke generally           21          So, again, looking at this
     22    about working with your team to create       22   document, which again I'll happily give
     23    targets generally.                           23   the details of it, it looks, if you
     24           Is this something different?          24   notice, you know, every U.S. executive

                                           Page 67                                           Page 68
      1     team member contributed to this draft        1      A. Again, if you look at the --
      2     sheet. You know, we may or may not have      2   from Brenda, who the "to" is, that was my
      3     done this as an off-site. We may or may      3   U.S. executive team at the time of January
      4     not have done this in a conference room.     4   26, 2010. We subsequently added Michael
      5     It's a draft. And one thing looking at       5   Clark at some point, I think that was in
      6     it, since it's about six or eight pages,     6   2011 or 2012, as chief compliance officer.
      7     clearly we had to filter this down into a    7      Q. I see.
      8     finite set of top level objectives and of    8          So, these people, Bill
      9     course then would be cascaded to the         9   Ostrowski, Brenda Vesey, Chris Young,
     10     functional areas with functional-specific   10   Hafrun Fridriksdottir, John LaRocca, Lisa
     11     objectives, which your question before      11   Graver, Michael Profetto, Nasrat Hakim,
     12     about how was compensation done, there      12   Stephen Gallagher, Terrence Fullem and
     13     would be a salary, business results         13   Terri Nataline, these are the U.S.
     14     portion of the bonus, and then either       14   executive team members?
     15     departmental or individual. So even that    15      A. Yes.
     16     30 percent target could be half based on    16          MS. WELCH: Objection to form.
     17     business results and half based on          17      A. They all reported to me
     18     individual targets subject to the company   18   directly.
     19     achieving a minimum threshold of -- of      19      Q. What's a Town Hall meeting?
     20     results. And that's my recollection how     20      A. So, Town Hall meetings is,
     21     the program was set up.                     21   essentially, again, where we would bring
     22         Q. And, who was on the U.S.             22   in the associates from the location or
     23     executive team?                             23   facility and we would do a Town Hall
     24             MS. WELCH: Objection to form.       24   meeting where, you know, myself or other


                                                                     17 (Pages 65 to 68)
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                                           Page 69                                           Page 70
      1    leaders or, by the way, sometimes we did      1   leadership team saying please find a file
      2    multiple things. It was a means to            2   that captures the goals discussion. So,
      3    communicate, means to share results, to       3   since there was a discussion, it wasn't
      4    provide direction on priorities for the       4   finalized.
      5    future. We did a lot of recognition and       5          And the thing at the top is
      6    reward activity. I would do Town Hall         6   Hafrun said: Made. And M-A-I-D, by the
      7    meetings in the normal course of business     7   way, so it's spelled wrong. Made some
      8    at all the Actavis facilities.                8   minor changes.
      9       Q. So, when you say associates, is         9      Q. And, would you have been the one
     10    it an all-hands meeting, all employees,      10   that filled this out?
     11    or --                                        11          MS. WELCH: Objection to form.
     12       A. That was the intent, yeah. We          12      A. Filled what out?
     13    would invite all employees. But we had       13      Q. That inserted the comments in
     14    multiple facilities, so we had to do         14   the -- in the middle section. So, for
     15    multiple Town Halls. We wouldn't bring       15   example, on page -- the page that ends
     16    people from Florida up to New Jersey for a   16   '317, it says: Support level -- support
     17    Town Hall meeting. We would go to            17   service level of 95 percent.
     18    Florida. We would go to North Carolina.      18          Are you the one that completed
     19       Q. Is it your understanding that          19   this?
     20    this is a draft document and there would     20           MS. WELCH: Same objection.
     21    be a final document that's executed?         21      A. Again, on this page, if you look
     22            MS. WELCH: Objection to form.        22   at the owner, you see MP, that would be
     23       A. Well, again, I just read the           23   Mike Profetto, market and customer
     24    text that Brenda sent out to the             24   service, customer service support, service

                                           Page 71                                           Page 72
      1    level 95.                                     1   that I managed the group by is basically
      2            So, service level, a 95 was a         2   all functions are responsible for
      3    consistent metric for the business, but       3   delivering the key metrics. Service level
      4    again, it's not just the manufacturing        4   is one of the key metrics.
      5    team that's involved in delivering a          5      Q. And, so, Siggi would be
      6    service level of 95 percent. It starts        6   responsible for inserting the financial
      7    with the marketing forecast, which would      7   metrics.
      8    have been Mike's organization, and the raw    8          Is that right?
      9    material procurement, which would be a        9      A. On this document?
     10    supply chain, the facilities would be        10      Q. Mm-hm.
     11    supply chain, the quality organization       11      A. No.
     12    that makes certain the product is            12      Q. I'm just looking on the page
     13    manufactured to specification. If there      13   with the ending in the Bates stamp '315
     14    was any sort of deviation, we would assess   14   and where it says "Finance and Financial."
     15    it, determine whether or not that product    15   It says "SG."
     16    was releasable. And of course we had a       16      A. Which page?
     17    distribution group that would be             17      Q. The page that ends in '315.
     18    responsible to make certain. We had a        18      A. Okay.
     19    customer service group that would take       19      Q. Do you see where it says
     20    orders in and process them. And we           20   "Finance and Financial" and next to it it
     21    release -- and we use a third party called   21   says the owner is SG.
     22    UPS, actually, to do our distribution at     22      A. Mm-hm.
     23    the time.                                    23      Q. Is that Siggi?
     24            So, all -- basically something       24      A. No.


                                                                    18 (Pages 69 to 72)
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                                            Page 73                                          Page 74
      1        Q. Who's SG?                               1   organization.
      2        A. Steve Gallagher.                        2      Q. And, what does COGNOS refer to?
      3        Q. Siggi would be SO.                      3   C-O-G-N-O-S.
      4             All right. Who's Steve                4      A. Can you show me where that is,
      5     Gallagher?                                    5   please?
      6        A. So, again, Steve Gallagher was          6      Q. On the page that ends '318 in
      7     my chief financial officer, so a member of    7   the middle.
      8     the executive -- again, this is not a         8      A. 110 percent of COGNOS, is that
      9     Siggi document. This was within the U.S.      9   what you mean?
     10     organization. This was our process to,       10      Q. Mm-hm.
     11     like I say, cascade.                         11      A. COGNOS number?
     12             So, on this chart, it says:          12      Q. Yeah.
     13     Meet or exceed the 2010 budget. So that      13          Do you know what COGNOS means?
     14     615 and 235 on that chart would have been,   14      A. COGNOS, I believe, it's an
     15     again, the metric of the target that had     15   acronym for some sort of an IT system,
     16     been presented to or negotiated to or        16   which I believe was like a business
     17     agreed upon or told to the U.S. team. And    17   intelligence or some sort of forecasting
     18     I mentioned that would have been done as     18   tool.
     19     sort of in the November time. This is a      19          Since they have brackets around
     20     document in already late into January. So    20   them, I'm sure they were placeholders.
     21     we were already executing as a business      21      Q. Okay.
     22     against those financial metrics, but those   22          MS. BAIG: All right. Let's
     23     were not the sole performance metrics for    23      have this document marked as
     24     the company or for my team or for our        24      Exhibit 3, please.

                                            Page 75                                          Page 76
      1           (Boothe Exhibit 3, email chain          1   this discussion that you had with her
      2       ending January 27, 2010, Bates No.          2   about -- about goals?
      3       ALLERGAN_MDL_03305226 to 03305230, was      3           MR. DIAMANTATOS: Objection to
      4       marked for identification, as of this       4       form.
      5       date.)                                      5       A. This is actually less about
      6    BY MS. BAIG:                                   6   goals.
      7       Q. And, this is a document Bates            7           This is more a conversation
      8    stamped ALLERGAN_MDL_03305226 through          8   about the 2009 bonus payout for U.S.
      9    '5230. It starts as an email string from       9   associates.
     10    you to Brenda Vesey, with the subject line    10       Q. Okay. And, do you see in the --
     11    "2010 goals."                                 11   on the first page of the document there's
     12           Do you see that?                       12   a reference to US STIP.
     13       A. Yes.                                    13           What does that refer to?
     14       Q. Okay. And, do you recall having         14       A. Sure. STIP is an acronym for
     15    a discussion with -- with Brenda Vesey in     15   short-term incentive plan. So basically
     16    or about 2010 about -- about 2010 goals?      16   it's the bonus that we talked about
     17       A. Can I re -- review the entire           17   earlier.
     18    email chain here, please?                     18       Q. And, what was trying to be
     19       Q. Sure.                                   19   decided here?
     20       A. (Perusing document.)                    20           MS. WELCH: Objection to form.
     21           Okay. I got a general sense of         21       A. Again, based on reading through
     22    it. Yeah.                                     22   the documents here, again, Actavis was a
     23       Q. All right. So, do you -- do you         23   global company, had multiple parts it. I
     24    have a general -- general recollection of     24   ran the U.S. portion, which is about a


                                                                     19 (Pages 73 to 76)
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                                           Page 77                                           Page 78
      1    third of the company's revenue at the         1   Oxy CR, Kadian and Oxy IR?
      2    time. And if you read through the             2           MS. WELCH: Objection to form.
      3    materials here, it's basically -- and if      3           MR. DIAMANTATOS: Objection.
      4    you go back to -- I mentioned that we did     4      A. Again, if I go back to that
      5    a replan. So that replan was actually the     5   prior document, those were contributors,
      6    2 plus 10, if you read the notes there.       6   but there were other things. You see, for
      7    And the U.S. -- and that was across the       7   example, Acetazol was another product that
      8    entire company. So, the U.S. business         8   had a very, very strong performance. We
      9    exceeded its replan target of the 2 plus      9   did a better job in managing the facility.
     10    10, but the other parts of the company did   10   We did a better job with costs. We got
     11    not.                                         11   Totowa facility back and running.
     12           So, part of this is around,           12           And, again, the Oxy CR product
     13    again, negotiating that since the payout     13   was not in the budget. So yes, that was
     14    if the U.S. is also subject to global        14   certainly a -- at least I don't believe it
     15    performance, the performance in the U.S.     15   was in the budget. That was a found
     16    was strong, but the rest was weak, we        16   contributor to -- to the business
     17    wanted to make certain that the U.S.         17   performance that year, the generic Oxy CR.
     18    organization was -- was appropriately        18      Q. That was a profound contributor,
     19    recognized and rewarded, even though some    19   is that what you said?
     20    parts of the company did not achieve that.   20           MR. DIAMANTATOS: Objection;
     21    And that's -- that's essentially the basis   21      mischaracterizes the witness's
     22    for the bulk of it.                          22      testimony.
     23        Q. And, were the successes of the        23      A. I didn't say "profound." I
     24    U.S. company that year based largely on      24   said --

                                           Page 79                                           Page 80
      1       Q. Well, the record says "that was         1      Q. And a little further up it
      2    a found contributor."                         2   states: Regarding U.S. performance, my
      3           What did you say?                      3   sense is that we came in between 105 and
      4       A. Found?                                  4   110 percent on both revenue and EBITDA.
      5       Q. That's what the record says.            5          Do you see that?
      6    I'm asking you what you said.                 6      A. Yes.
      7           What kind of contributor?              7          So, essentially, this document
      8       A. Again, if it wasn't in the              8   says that based on purely performing on
      9    budget and we actually delivered revenue,     9   the financials, we could have requested or
     10    that would be found, I guess is how you      10   expected 105 or 110 percent, so higher
     11    would interpret that statement.              11   than budget payout, but in light of the
     12       Q. I see. Okay.                           12   fact that the other parts of the company
     13       A. It was a contributor.                  13   did not perform, we were going to propose
     14       Q. And you see the reference here         14   105 percent on the low end in recognition
     15    on the middle of the third page: We did      15   of the challenges across the rest of the
     16    have many, many successes last year, but     16   company. And likewise in other years,
     17    we also made our financial results based     17   there's been times where we underperformed
     18    largely on the following factors: Oxy CR,    18   and we affected the global results of the
     19    Kadian, Oxy IR return and Acetazol pricing   19   other parts of the country of the company,
     20    and fortunate problems of competitors.       20   which had actually been in 2008, where if
     21       A. What page is that?                     21   you see in the notes it says there was
     22       Q. The third page of the document         22   actually no bonus paid to the U.S. team in
     23    halfway down.                                23   2008.
     24       A. Yes.                                   24          So, you set the targets. You


                                                                     20 (Pages 77 to 80)
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                                           Page 81                                           Page 82
      1    perform and then it gets, you know, like I    1   significant turnaround that occurred
      2    said, there's always some sort of a           2   between 2008 and 2009 and pay out a bonus,
      3    negotiation sometimes.                        3   but less than, essentially, like I said,
      4       Q. And then if you look at the             4   that the company, or that the division,
      5    first page, there's a reference to a          5   the group could have said based on our
      6    commitment that Siggi made to you.            6   actual results, we should get a higher
      7       A. Where is that?                          7   number.
      8       Q. Last paragraph: Since Siggi's           8          So, I clearly had a conversation
      9    commitment to you is not widely known,        9   with Siggi and others to -- in light of
     10    people are expecting that the individual     10   the complexity and the situation, to -- to
     11    component will need to be 100 percent in     11   have a bonus paid at that level rather
     12    order for payout to occur on the             12   than a lower number in light of the global
     13    individual component (U.S. component still   13   performance.
     14    pays out.)                                   14      Q. And that would be for you and
     15           What was Siggi's commitment to        15   for your team, correct?
     16    you that was not wildly known?               16      A. That would be for all U.S.
     17       A. Again, I think I referenced it         17   associates who ran a bonus program.
     18    that globally the entire company had to      18      Q. Okay. And in the paragraph
     19    achieve a certain level of performance,      19   preceding that, middle of the way through
     20    which we apparently did not globally, but    20   there's a sentence that says: There is a
     21    since the United States overachieved to      21   step in the approval process after the
     22    105 or 110 percent, the discussion was to    22   U.S. Compensation Committee reviews the
     23    make certain not to punish the U.S.          23   rolled up results to present those to
     24    organization, or to recognize the            24   Siggi for a one-over-one approval.


                                           Page 83                                           Page 84
      1           Do you see that?                       1   performance. And it wasn't, again, it
      2       A. Yes.                                    2   wasn't just revenue. It was cash flows,
      3       Q. That approval process, what is          3   it was EBITDA and other specific targets.
      4    that approval process?                        4          But overall, the corporate
      5       A. So, again, I mean, we were a            5   portion of it was half and then the --
      6    division of a global company. So we had a     6   excuse me. May have been 40, 30 -- but
      7    compensation committee within the U.S.        7   either way, it was corporate, there was a
      8    that I chaired. Brenda was -- or,             8   division, and there was a personal
      9    actually, I think Brenda chaired. Steve       9   component to the -- the ESTIP.
     10    and myself and John were on it. And so we    10      Q. And the U.S. Compensation
     11    would review all the financial results.      11   Committee, that was you and your team
     12    We would review the individual               12   leaders.
     13    performance. We would set a                  13          Is that right?
     14    recommendation for what we believed the      14      A. Again, not everybody on the ET
     15    business was in -- had earned as a bonus     15   was on that. I believe it was four
     16    for that year, but we had not the            16   people; I think -- believe it was John,
     17    authority to actually grant those bonuses.   17   Brenda, myself and Steve.
     18    We had to go to the corporate parent,        18      Q. John who?
     19    which would have been Siggi as the CEO,      19      A. John LaRocca, general counsel.
     20    and then Mark is Mark Keatley, who was the   20      Q. Brenda Vesey?
     21    global CFO at the time, which is again why   21      A. HR.
     22    I mentioned it was somewhat of a             22      Q. Steve?
     23    negotiation. But we had the data, we had     23      A. Finance.
     24    the metrics, we had the specific             24      Q. Steve who?


                                                                     21 (Pages 81 to 84)
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                                           Page 85                                           Page 86
      1       A. Steve Gallagher.                        1      document marked as the next in order,
      2       Q. And yourself?                           2      please.
      3       A. Yep.                                    3          (Boothe Exhibit 4, email dated
      4       Q. When you left the company, did          4      January 2, 2013, with attachment,
      5    you enter into a severance agreement?         5      Bates No. Acquired_Actavis_00885908 to
      6       A. Yeah. I mean, actually, I had a         6      00885912, was marked for
      7    severance agreement. So, it was triggered     7      identification, as of this date.)
      8    by the change in control.                     8   BY MS. BAIG:
      9       Q. And, as a result of the                 9      Q. So, this is Exhibit 4.
     10    severance agreement, were you -- were you    10      A. All of it?
     11    paid a sum of money?                         11          Oh, sorry.
     12           MR. DIAMANTATOS: Objection to         12      Q. This document is Bates stamped
     13       form.                                     13   Acquired_Actavis_00885908 through
     14       A. Yes.                                   14   '59112 -- 12. It starts as an email from
     15       Q. And, how much was that, roughly?       15   you to Brenda Vesey and Gunner Agust
     16       A. Do you have a document you can         16   Beinteinsson.
     17    show me?                                     17          Who's Gunner Agust Beinteinsson?
     18       Q. No. I'm just asking you if you         18      A. Gunny, he was the corporate head
     19    have a recollection as to how much you       19   of HR for Actavis Group or Actavis
     20    were paid as part of your severance          20   whatever they were called at that time, at
     21    agreement when you left the company.         21   the time of the transaction with Watson.
     22       A. I believe it was one year of           22      Q. And, was this your final
     23    salary and --                                23   performance self-evaluation?
     24           MS. BAIG: We'll have this             24          MR. DIAMANTATOS: Objection to


                                           Page 87                                           Page 88
      1       form.                                      1   or objective, unlike in past years.
      2       A. Yes.                                    2          Actually, I take that back. 1.3
      3       Q. And, under "Individual                  3   has the second source program. That's
      4    Objectives" on the second page it says 1.1    4   what I was referring to. That was -- that
      5    and then it says SIV/FTF.                     5   was another objective. So, Objective 1.1
      6           What does that stand for?              6   was around the development group, product
      7       A. The FTF stands for first to             7   portfolio, the Hafrun's business, Hafrun's
      8    file.                                         8   part of the business.
      9           The SIV, again, Claudio provided       9      Q. And there's a reference to the
     10    me very specific targets. Claudio was the    10   weight being 30 percent there?
     11    CEO at the time. So, Siggi was not with      11      A. Yes.
     12    the company anymore.                         12      Q. And that's a reference to what?
     13       Q. Claudia who?                           13      A. So, as I mentioned, so, every
     14       A. Claudio Albrecht. He was the           14   employee, if performance management is
     15    CEO of Actavis Group.                        15   done well, has a salary, has a bonus
     16           He provided me very -- he was --      16   target, and in that bonus target will have
     17    Claudio was very fixed on making sure that   17   a portion based on company results and a
     18    we had our most important products with      18   portion based on individual specific
     19    dual API raw material qualified suppliers.   19   metrics. So, this is actually my portion
     20    So I think that's what the SIV stands for,   20   of that individual specific metrics.
     21    but I'm not a hundred percent certain.       21          So, Claudio, as my boss,
     22    But the FTF stands for the first to file.    22   specifically said I want to make sure
     23           So, here's an instance where the      23   we're working on first to files, that
     24    financial result is not the first metric     24   you're doing second source programs.


                                                                     22 (Pages 85 to 88)
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                                           Page 89                                           Page 90
      1    Alathur was a facility in India. The          1   printout is, 'cause this is at the end of
      2    Moxduo product at the time.                   2   the year. And, if you look at comments, I
      3           Those were -- and so, with this,       3   put comments in it.
      4    he and I had discussed, negotiated --         4          So, I would say that's probably
      5    Claudio was less of a negotiator. He was      5   more of a -- or it could have been, again,
      6    Austrian, so he pretty much told you what     6   I think this thing is -- since this was an
      7    it was going to be. Some negotiation.         7   online system, if you didn't actually go
      8    And then, yes, then I would use this,         8   in and use it, it would show as not
      9    since they affected my personal               9   started.
     10    performance, I made certain that my team     10      Q. I see.
     11    was aware of what I was being measured on.   11      A. For the evaluator.
     12    So, of course, then cascade in a line so     12      Q. So that's inaccurate? The "not
     13    everybody could contribute to the business   13   started" part is inaccurate, to your
     14    results, as well as attainment of my         14   understanding, right?
     15    personal objectives.                         15          MS. WELCH: Objection to form.
     16       Q. And then under "Status" it says:       16      A. Yes.
     17    Not started.                                 17          And this was done in -- this was
     18           Is that right?                        18   done in 2013. Yeah, so it would have been
     19       A. Which one?                             19   after the fact.
     20       Q. Right next to the 30 percent           20      Q. Okay. And on the next page --
     21    figure.                                      21   or, under 1.2 you have a reference, or
     22       A. I think they all say "not              22   there is a reference to Moxduo.
     23    started." That may have something to do      23          Do you see that?
     24    with whatever the system or whatever this    24      A. Yes.

                                           Page 91                                           Page 92
      1       Q. And that was something that was         1          So we had a lot of prelaunch
      2    initiated, but not followed through on.       2   activities in investment, but all
      3           Is that right?                         3   activities on hold until the 2013 appeal.
      4           MS. WELCH: Objection to form.          4   So we were still -- the company was
      5       A. Well, again, Moxduo was a               5   looking at pursuing that, but in reality,
      6    product that we had licensed in as for our    6   it never -- it never -- it was never
      7    specialty side of the business. We had        7   approved and it was abandoned once Watson
      8    partnership with a company called QRX         8   took over the business.
      9    Pharma and we actually -- QRX Pharma had a    9      Q. Do you know why it was not
     10    PDUFA date. I mentioned before what a        10   approved?
     11    PDUFA date stood for was a fixed date when   11          MR. DIAMANTATOS: Objection;
     12    the agency was going to determine if the     12      foundation.
     13    NDA, the new drug application, would be      13      A. Again, there was an advisory
     14    approved. That PDUFA date was in June or     14   board panel, and they ultimately, I guess,
     15    July of 2012. What happened was actually     15   they did not believe the clinical data
     16    the agency did review the application. It    16   supported the application's approval.
     17    was not approved.                            17      Q. And, Claudio Albrecht's comments
     18           So, in here, the -- the metric        18   in relation to that?
     19    was actually basically get it approved and   19      A. "Change waiting."
     20    be launched, and since it didn't happen      20      Q. He states that he's changing the
     21    and if you look target base, that was a      21   waiting. Is that right?
     22    hundred. The actual achievement was zero.    22          And he gave you a performance
     23    So we did not achieve. And if you look at    23   rating of 90 percent because the base
     24    my comments: On track prior to PDUFA.        24   business/Kadian more than compensated for


                                                                     23 (Pages 89 to 92)
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                                          Page 93                                          Page 94
      1    the Moxduo delay?                            1   somewhere between 250 and 300.
      2            Is that right?                       2      Q. And, do you know what that
      3            MR. DIAMANTATOS: Objection to        3   was -- well, let's start with were you
      4       form; foundation; calls for               4   entitled to a bonus at Alpharma?
      5       speculation.                              5      A. Yes.
      6       A. I'm not sure those are his             6      Q. And, do you know roughly how
      7    comments or my comments 'cause it's under    7   much of a bonus you received during your
      8    Douglas Boothe's comments.                   8   years at Alpharma?
      9       Q. I see.                                 9          MS. WELCH: Objection to form.
     10       A. So I suggested a 90 percent           10          MR. DIAMANTATOS: Objection.
     11    outcome even though against the actual --   11      A. Well, again, the bonus was a
     12    the actual objective was, but it was a --   12   target percentage of your base salary
     13       Q. And, do you know whether you          13   subject to achieving goals. And there
     14    were given the 90 percent?                  14   were, again, there were years where it was
     15       A. I think all -- and, honestly, I       15   zero and there were years where it was
     16    believe all of this was somewhat            16   slightly above. And you saw the 2009
     17    perfunctory because as part of the          17   where it was maybe 105 percent of target.
     18    separation agreement, I was paid at         18          So, my bonus target was around
     19    target.                                     19   30 percent when I started. When I was --
     20       Q. Do you recall what your salary        20   I think when I made C -- when I was COO it
     21    was when you started at Alpharma?           21   was maybe 40, and I believe I negotiated
     22       A. No.                                   22   with Claudio a 50 percent bonus target for
     23       Q. Do you recall roughly?                23   the short-term incentive plan.
     24       A. Base salary 275,000-ish, 250,         24      Q. So, do you recall whether or not

                                          Page 95                                          Page 96
      1    you received a bonus of 30 to 40 percent     1      A. Alpharma's plan, as most
      2    for each of the years that you worked at     2   corporations will have, a combination of
      3    Alpharma?                                    3   stock options and/or restricted stock.
      4           MR. DIAMANTATOS: Objection to         4   Alpharma was a publicly-traded company.
      5       form.                                     5      Q. And, so, do you recall how much
      6       A. Again, Alpharma was two years.         6   you earned while at Alpharma through the
      7    So 2004, 2005. I don't specifically          7   long-term incentive plan?
      8    recall the 2004. 2005 was during the         8           MS. WELCH: Objection to form.
      9    transaction, so I believe the company        9      A. No.
     10    paid, again, at -- at target, so 30         10      Q. Do you recall roughly?
     11    percent.                                    11      A. Again, the -- as part of the
     12           But I don't have the data. So        12   transaction, any sort of shares would have
     13    if you want to show me the data, I can      13   been vested, but I don't recall what the
     14    confirm or provide an explanation.          14   Alpharma shares were. There was some --
     15       Q. And that was for short-term           15   maybe a hundred thousand dollars over the
     16    incentive plan.                             16   two-year period.
     17           Was there also a long-term           17      Q. And, when you moved to Actavis,
     18    incentive plan at Alpharma?                 18   do you recall what your starting salary
     19       A. Yes.                                  19   was?
     20           MR. DIAMANTATOS: Objection to        20      A. Well, again, when Actavis
     21       form.                                    21   acquired Alpharma, basically my starting
     22    BY MS. BAIG:                                22   salary was my Alpharma salary. So it --
     23       Q. And, what was the long-term           23   that's, again, around 275, 280, 300-ish.
     24    incentive plan at Alpharma?                 24      Q. And, did that change during your


                                                                    24 (Pages 93 to 96)
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                                           Page 97                                           Page 98
      1    time at Actavis?                              1   zero and in 2007, based -- or, sorry.
      2       A. Yes.                                    2   2009, based on the documents here, it
      3       Q. And, what did it change to?             3   looks like it was between a hundred and
      4            MS. WELCH: Objection to form.         4   105 percent of target.
      5       A. I believe I -- when -- when I           5      Q. And, do you have a recollection
      6    was made chief commercial or chief            6   as to whether or not you received a bonus
      7    operating officer, it bumped up to a          7   in 2010 and '11?
      8    higher number, might have been 350. When      8      A. I believe I did.
      9    I was CEO of Actavis from 2008, maybe         9      Q. Do you know if it was at target?
     10    started at 400, and I believe by the time    10      A. No, I don't recall. It was
     11    I left in 2012 it was around 450 base.       11   around there. Either slightly above or
     12       Q. And, do you recall what the            12   slightly below, but it wasn't zero and it
     13    bonus structure was?                         13   wasn't, you know, it wasn't max'd. It was
     14            MR. DIAMANTATOS: Objection to        14   probably around the target number.
     15       form.                                     15      Q. If it was at the target number,
     16    BY MS. BAIG:                                 16   wouldn't it be max'd, or no?
     17       Q. Or how much you earned as a            17      A. No. Like I -- as I explained
     18    bonus for your years at Actavis?             18   before, if -- if the target was a hundred
     19            MR. DIAMANTATOS: Objection.          19   and the business did 105, then the bonus
     20            MS. WELCH: Objection to form.        20   might pay at a 105 percent of the target.
     21       A. Again, I mean, my target would         21      Q. Okay.
     22    be -- was either 40 or 50 percent and        22      A. Subject to a cap, which I
     23    subject to the business performance.         23   believe is 120 percent.
     24            I know in 2008 the bonus was         24      Q. And, was there a long-term

                                           Page 99                                         Page 100
      1    incentive plan at Actavis?                    1   result of the long-term incentive plan
      2       A. We created a program for the            2   from 2008 to 2012?
      3    U.S. associates, yes.                         3          MR. DIAMANTATOS: Objection to
      4       Q. And, what was that?                     4      form.
      5       A. It was actually called -- it was        5      A. Yes.
      6    a phantom stock plan. Actavis was a           6      Q. And, do you recall roughly how
      7    privately-held company. So, and again,        7   much per year?
      8    one of the reasons we had this was both as    8      A. Well, the way the program was
      9    an incentive for long-term growth and         9   set up was there were annual grants and it
     10    investment, but also as a retention          10   would take three years to vest. So, if we
     11    vehicle. The company was going through       11   started in 2007 or 2008, I earned nothing
     12    all sorts of challenging situations with     12   until 2010 or 2011.
     13    integration with some of the facilities.     13          And the way the program was set
     14    So we wanted to make certain we had a        14   up was they were phantom shares, so they
     15    program that rewarded, incentivized people   15   weren't real shares. We pegged it to a
     16    for investments in the business longer       16   number like a one dollar per unit and the
     17    term, as well as to stay around to           17   share value would go up or down based on
     18    participate in the business growth and to    18   company performance, and the number of
     19    address and fix and invest in future         19   grants, number of shares that would vest
     20    growth.                                      20   would be based on company performance,
     21       Q. And, when was that long-term           21   that performance being the EBITDA target.
     22    incentive plan created?                      22      Q. So, do you recall how much you
     23       A. 2008, I believe.                       23   earned in the 2011/2012 time frame as a
     24       Q. And, so, did you earn money as a       24   result of the long-term incentive plan?


                                                                   25 (Pages 97 to 100)
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                                         Page 101                                          Page 102
      1        A. No, but I'm sure you could show        1   best estimate?
      2    me a document, I'd be happy to comment on     2          MR. DIAMANTATOS: Objection;
      3    it.                                           3      mischaracterizes the witness's
      4        Q. Do you recall whether it was           4      testimony.
      5    more than a hundred thousand dollars?         5   BY MS. BAIG:
      6        A. Yes.                                   6      Q. Yes?
      7        Q. Was it?                                7      A. Yes.
      8           What's the best range that you         8          Again, you can happily show me a
      9    can give me in terms of your best             9   document, I'd be able to comment more.
     10    recollection as to what you earned from      10   And, again, part of it was --
     11    the long-term incentive plan between 2011    11      Q. I'm just asking for your best
     12    and 2012?                                    12   recollection.
     13           MS. WELCH: Objection to form.         13      A. Also, part of it was with the
     14        A. Over $500,000.                        14   transaction. Those shares that had been
     15        Q. For each year?                        15   granted, some portion of those vested or
     16        A. No.                                   16   accelerated vesting, which is pretty
     17        Q. Total?                                17   typical in a -- in a transaction. So, it
     18        A. Yes.                                  18   may have been compressed into a shorter
     19        Q. Do you know whether it was over       19   time frame rather than paid out over time,
     20    a million dollars?                           20   so it may have showed a higher number than
     21        A. It could have been. I don't           21   what would have been normally planned for
     22    believe so.                                  22   or expected.
     23        Q. So it was some -- somewhere           23      Q. And, so, what was -- what was
     24    between 500,000 and a million, is your       24   the component of -- what was -- what was


                                         Page 103                                          Page 104
      1    the metric of the long-term incentive         1          MS. BAIG: Sure.
      2    plan?                                         2          THE VIDEOGRAPHER: We're going
      3           MS. WELCH: Objection to form.          3      off the record.
      4       A. I believe it was EBITDA growth.         4          The time is 10:36 a m.
      5       Q. And for you it would have been          5          (Recess taken.)
      6    EBITDA growth of the U.S. company.            6          THE VIDEOGRAPHER: We're going
      7           Is that right?                         7      back on the record.
      8       A. For all the U.S. associates who         8          The time is approximately 10:55
      9    were part of the phantom stock plan.          9      a m.
     10    There were probably 50 or so. It was         10   BY MS. BAIG:
     11    directors and above. It actually took        11      Q. Do you recall what opioids
     12    some specific high potentials. We would      12   Alpharma sold while you were there?
     13    also put the that in the plan. Because,      13      A. Again, so, Alpharma had a brand
     14    again, it was both a performance plan as     14   group that sold a Kadian product, which is
     15    well as a retention plan, and since it was   15   morphine sulphate extended-release. The
     16    over a three-year period of time, we were    16   generic part of the business, classified
     17    making investments in people in 2007 and     17   wasn't opioid.
     18    2008 and those were paying out in 2010 and   18          I don't -- I don't think we had
     19    2011, and that plan carried over at least    19   a significant generic pain med. We had
     20    until the Watson transaction. Pretty         20   tramadol, but that's not an opioid.
     21    typical compensation structure.              21   That's an NSAID, I believe.
     22           MS. WELCH: If you're moving to        22          If you have a document or a
     23       a new document, can we take a short       23   product catalog or some document from 2003
     24       break?                                    24   or 2004, I'd be happy to review and


                                                                 26 (Pages 101 to 104)
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                                         Page 105                                          Page 106
      1    comment.                                      1          I think those were the primary
      2       Q. Do you recall what opioids              2   ones. There may have been others.
      3    Actavis sold while you were there?            3      Q. Do you have any experience
      4       A. Again, so, during my tenure at          4   working with a company selling drugs to
      5    Actavis, we -- we brought -- I mean, we       5   treat the addiction to opioids?
      6    acquired the Kadian asset. So that was        6          MS. WELCH: Objection to form.
      7    sold, you know, manufactured, distributed,    7      A. Could you repeat the question,
      8    marketed sold 2009 through 2012.              8   please?
      9           We did sell generic versions of        9      Q. Do you have any experience
     10    I mentioned the -- the OxyContin             10   working with a company selling drugs to
     11    authorized generic product. We had that      11   treat the addiction of -- to opioids?
     12    brief period of time late 2009, 2010.        12          MS. WELCH: Same objection.
     13           We did sell a -- we got an            13      A. No.
     14    approval on a generic version of Opana ER,   14          MS. BAIG: We'll have this
     15    which would have been oxymorphone.           15      marked as Exhibit 5. The document is
     16           We had -- we had a filing on          16      Bates stamped ACTAVIS0958177 through
     17    Avinza. We never brought that to market.     17      '181. It starts as an email from
     18    Which was the morphine sulphate.             18      Michael Perfetto to you, November
     19           Oxycodone IR, which is                19      18th, 2011. And the subject line is
     20    Roxicodone. That was the product that was    20      "Suboxone Walgreens offer."
     21    sold from our Little Falls facility and      21          (Boothe Exhibit 5, email chain
     22    then our Elizabeth facility.                 22      ending November 18, 2011, Bates No.
     23           We did not do Vicodin. We did         23      ACTAVIS0958177 to 0958182, was marked
     24    not do Percocet generics.                    24      for identification, as of this date.)


                                         Page 107                                          Page 108
      1     BY MS. BAIG:                                 1      asked and answered.
      2         Q. Do you know what Suboxone is?         2      A. If that's what you tell me it
      3         A. I'm just looking at the document      3   is. That's my understanding.
      4     first.                                       4      Q. No. I'm just asking if you have
      5             (Perusing document.)                 5   any understanding of that independent of
      6             Okay. Yeah.                          6   this deposition.
      7         Q. Do you know what Suboxone is?         7          MR. DIAMANTATOS: Same
      8         A. Yes.                                  8      objection.
      9         Q. What is it?                           9   BY MS. BAIG:
     10         A. Well, the brand is Suboxone.         10      Q. Of what I said in this
     11     The generic is buprenorphine or             11   deposition.
     12     buprenorphine naloxone, and that's a        12      A. I think the Suboxone has
     13     product that is actually used -- I          13   multiple indications. It's the naloxone
     14     believe, one of its indications is for      14   portion I thought was for abuse, for drug
     15     treatment for substance abuse.              15   addiction or for -- or treatment, like.
     16         Q. Including opioid abuse, right?       16      Q. So, do you recall that Actavis
     17         A. Again, I don't know exactly what     17   was selling Suboxone?
     18     it's -- what it's labeled indication is     18      A. I don't believe we got this
     19     for.                                        19   product approved. This was the product
     20         Q. Do you have an understanding         20   that we had in the plan. It was called --
     21     that Suboxone is used to treat opioid       21   we had two versions. There's a -- there's
     22     abuse?                                      22   the plain old -- there was the standalone
     23             MR. DIAMANTATOS: Objection.         23   buprenorphine and then there was the
     24             MS. WELCH: Objection to form;       24   buprenorphine naloxone combination, which


                                                                 27 (Pages 105 to 108)
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                                         Page 109                                          Page 110
      1    is the Suboxone, which was in our plan for    1   you know, limited inventory, we want to
      2    approval, but, for a whole host of            2   make certain we had enough to support the
      3    reasons, I do not believe it was approved     3   accounts we were going after to get a
      4    ever during my tenure at Actavis.             4   sense for the market dynamics.
      5       Q. So, if you look at the second           5          This was pretty common to ask
      6    page halfway down in an email from Michael    6   for information from accounts on products,
      7    Dorsey to Ara Aprahamian and others, the      7   especially near in for launch.
      8    subject line is "Suboxone Walgreens           8      Q. So, if you had -- if you look at
      9    offer."                                       9   the sentence on the very top of that page
     10           Do you recall having a Walgreens      10   it says: We have a ton of inventory with
     11    offer for Suboxone? I mean, it would have    11   60 percent share target of a much higher
     12    had to be approved in order to have a        12   base of business in CY 11 budget and it's
     13    Walgreens offer, correct?                    13   going short soon.
     14       A. No.                                    14          Does that suggest to you that,
     15           MR. DIAMANTATOS: Objection to         15   if you have inventory, that it would have
     16       form; assumes facts.                      16   been approved, or no?
     17    BY MS. BAIG:                                 17          MR. DIAMANTATOS: Objection to
     18       Q. No? How come?                          18      form; foundation; calls for
     19       A. Again, we -- it's in the normal        19      speculation.
     20    course of business. We would actually        20      A. I mean, again, we -- as part of
     21    solicit for business in anticipation of      21   a launch -- so, first of all, if the
     22    product approvals. So we would have a        22   product was approved, to be helpful, if
     23    sense as to what the -- the demand would     23   you just could tell me. I don't recall.
     24    be from certain customers. So if we had,     24   But if it was unapproved, it's typical to

                                         Page 111                                          Page 112
      1    make -- first, you have to make -- you        1   show me the document, I could provide
      2    have to validate the product. So in order     2   better commentary. I don't specifically
      3    to validate the product, you have to make     3   remember it being approved in this time
      4    three batches. So that's inventory right      4   frame.
      5    there. But it's not available because the     5      Q. Okay. And, do you remember it
      6    product's not approved, so it would be        6   being approved at all?
      7    under quarantine. So that's the               7      A. Again, I don't believe it was
      8    inventory.                                    8   approved during my time at Actavis. It
      9           It was a practice that we had at       9   may have been approved later in the time.
     10    Actavis was we wanted to be prepared with    10   But I believe it was subsequently was
     11    inventory in anticipation of launch so we    11   approved under Watson or Actavis after
     12    can get to market on day one. Not all        12   2012.
     13    generic companies had that approach. Some    13          But, again, that's very easy to
     14    will wait until they have approval, and      14   check. You can check the orange book.
     15    then they will go and validate because of    15      Q. Okay. And, when you stated
     16    the concern potentially of the inventory     16   here: Yes, no need to be shy on this one.
     17    going short date.                            17   Full bore. You would have been referring
     18           This was an item which we             18   to just moving -- moving forward with the
     19    thought had high value. It was in our        19   approval process in the Walgreens offer?
     20    target. We anticipated we have approval.     20      A. That's two separate things.
     21    So part of the business plan would be to     21          So, again, the approval process
     22    make inventory.                              22   for a new drug or even with a new drug is
     23           And, like I say, if we had it         23   with the regulatory organization and with
     24    approved, it would be helpful, you could     24   the FDA from a commercial preparation. So


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                                         Page 113                                          Page 114
      1    Mike's responsibility was sales and           1      Q. And, so, what did you mean by:
      2    marketing for the generics. In his plan       2   Yes, no need to be shy on this one. Full
      3    would have been a target for revenue for      3   bore?
      4    this product subject to it being approved,    4      A. I was -- I was agreeing with
      5    and part of that would be prelaunch           5   Mike, head of sales, that he should go out
      6    planning to understand potentially which      6   there, he should be out talking with
      7    customers were interested in the product.     7   customers and try to find potentially more
      8    There may have been multiple generics who     8   than our target 'cause that would be a way
      9    were coming to market, which is, again,       9   potentially to exceed our goals.
     10    why it was important to be ready on day      10          But, again, just because a
     11    one.                                         11   customer provides usage and provides even
     12           I don't specifically recall the       12   pricing and such, that doesn't mean you
     13    dynamics. But, if you look at the chart,     13   have the business, and it doesn't really
     14    it looks like we had a pretty aggressive,    14   count until you have the product approved
     15    you know, high target for the percentage     15   and you have their signed order, til you
     16    of the generic market we were going to       16   actually -- so, experience would be
     17    supply. So, 40 percent or 40 -- or 60        17   sometimes you have to talk to 30 people or
     18    percent gives me an indication that we       18   ten accounts to get six to commit.
     19    were thinking it was going to be us first    19      Q. And, Perfetto's response to you
     20    or us with an authorized generic or          20   was: I need not be told. Just get me
     21    possibly us with another competitor. So,     21   product at market formation and I will
     22    that's one of the success metrics in the     22   make you look like a hero.
     23    space is you be prepared for launch and      23          Do you see that?
     24    get your product out when it's approved.     24      A. Yes.

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      1       Q. And then he goes on to say: PS.         1   the 42 percent is, that I guess our
      2    Kadian was a very solid launch with 42        2   authorized generic was marketing 42
      3    percent locked down prior to an AG. We        3   percent of the available prescriptions
      4    can't be on red alert for 18 months.          4   after -- after the generic market formed.
      5           Do you see that?                       5      Q. I see.
      6       A. Yes.                                    6          And, what's AG refer to in that
      7       Q. What does 42 percent locked down        7   same sentence?
      8    mean?                                         8      A. AG stands for authorized
      9           MR. DIAMANTATOS: Objection;            9   generic.
     10       form; foundation; calls for               10      Q. And, what was your understanding
     11       speculation.                              11   of -- of red alert in that context?
     12       A. So, in this time frame, this is        12          MR. DIAMANTATOS: Objection to
     13    dated November of 2011. So, at some point    13      form; foundation.
     14    prior to that, there was a generic           14      A. I would -- my read of this is,
     15    approval on Kadian. So, we were -- we,       15   again, Mike being the head of sales,
     16    Actavis, was selling the -- we're selling    16   knowing that the Suboxone product had been
     17    the branded version of Kadian. And it's a    17   in our pipeline, we had expected to be
     18    typical practice for brand companies, and    18   approved earlier than this date. So,
     19    so again, we had a brand asset, that when    19   essentially, he was preparing to go to
     20    a generic -- when a generic was approved     20   market. We had product. The approval was
     21    that the brand company comes out with a      21   being delayed. So, essentially, the
     22    what's called an authorized generic. And     22   organization was ready to go, on red alert
     23    so, that's what we had prepared materials,   23   to launch the product and we kept waiting
     24    again, and that's what -- so, that's what    24   for the -- the final approval indication,


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                                                     Page 117                                      Page 118
      1    which, again, didn't happen for quite some            1   document.
      2    time.                                                 2          (Perusing document.)
      3            That's, again, very typical in                3          Okay.
      4    the generic space. There's lots of                    4      Q. Were you responsible for setting
      5    products over my time at Actavis and                  5   budget for the Actavis companies?
      6    subsequent companies where we would                   6      A. Could you repeat that?
      7    prepare for launch and whatever reason the            7      Q. Were you responsible for setting
      8    launch would be delayed.                              8   the budget for the Actavis companies?
      9            MS. BAIG: Let's have this                     9      A. Yes and no. Again, Actavis
     10      document marked as Exhibit 6. It's a               10   Group was the parent. Actavis U.S. was
     11      document that's Bates stamped                      11   the U.S. portion of it. So I participated
     12      ALLERGAN_MDL_01397096 through '7159.               12   in the development of the budgets for the
     13      I'll note that '7159 is a multipage                13   U.S. portion of Actavis. And, again,
     14      document. It starts as an email from               14   there was a negotiation between corporate
     15      Kevin Bain to Chris Quigley.                       15   and the division. And then within
     16            (Boothe Exhibit 6, email chain               16   Actavis, we had the lines of business, as
     17      ending October 18, 2006, with                      17   I mentioned before, solid oral dose or
     18      attachment, Bates No.                              18   semisolid to liquid, or it could have been
     19      ALLERGAN_MDL_01397096 to 01397159, was             19   by facility, Elizabeth or Lincolnton or
     20      marked for identification, as of this              20   Owings Mills.
     21      date.)                                             21          So, once we had the direction
     22    BY MS. BAIG:                                         22   from corporate for the U.S. targets, then
     23      Q. Who is Kevin Bain?                              23   yes, I, myself and my leadership team
     24      A. I'm just looking at the                         24   would then cascade that through the

                                                     Page 119                                      Page 120
      1     organization.                                        1   the IT systems had caught up, so, with
      2        Q. Okay. And, who is Kevin Bain?                  2   integration.
      3        A. Ken Bain was the chief financial               3       Q. Okay. And Gary DePaolo?
      4     officer of Actavis at the time of this               4       A. Gary DePaolo.
      5     email in 2006. Actavis U.S.                          5       Q. What's his position?
      6        Q. Okay. Thank you.                               6       A. At that time, Gary was the
      7            And Chris Quigley?                            7   controller for the U.S. business, reported
      8        A. Chris Quigley was in the finance               8   to Kevin.
      9     organization. He was basically what would            9       Q. Okay. And, this is a budget
     10     be called an FP&A, financial planning and           10   presentation.
     11     analysis. So, the finance portion of                11          Did you create this document or
     12     working on the budgeting and the targets            12   participate in the creation of this
     13     and such.                                           13   document?
     14        Q. And I see next to his name it                 14       A. And, again, I -- it's dated
     15     says AFCRA Alpharma.                                15   October. So I don't know if it's final.
     16            Is that just because he moved                16   It's probably a draft. Looks like it was
     17     over from Al --                                     17   anticipation of a presentation. Look at
     18        A. What's that?                                  18   page 2 where everybody was participating,
     19        Q. It's 2006.                                    19   all functional and other leads.
     20            Is this an Alpharma document?                20          So, what's the question,
     21            MS. WELCH: Objection to form.                21   specifically?
     22        A. October 18, 2006, the generic                 22       Q. Did you participate in creating
     23     portion of Alpharma was part of Actavis.            23   this document?
     24            That doesn't necessarily mean                24       A. I'm not sure I specifically


                                                                         30 (Pages 117 to 120)
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                                         Page 121                                          Page 122
      1    participated in creating the document, but    1   team had proposed, which is a very typical
      2    I certainly was a participant in this --      2   practice across pharmaceutical companies
      3    this review or meeting dated October 19th.    3   and all companies.
      4       Q. Okay. And, what was the purpose         4      Q. And, if you look at page 11 of
      5    of it? Just to review the budget for the      5   the Power Point it identifies "Quarterly
      6    U.S. company?                                 6   sales by major product."
      7           MR. DIAMANTATOS: Objection to          7          Is that right?
      8       form.                                      8      A. Yes, page 11. Yeah.
      9       A. Well, as I mentioned before, the        9      Q. And it identifies oxycodone
     10    way the budgeting process worked was I       10   tablets third on the list.
     11    mentioned the November date was usually      11          Do you see that?
     12    when we had a conversation with corporate.   12      A. Yes.
     13    So, since this was October, this would       13      Q. Is that the third largest
     14    have been an internal activity to            14   product at that time?
     15    understand from all the different            15          MR. DIAMANTATOS: Objection to
     16    stakeholders the components that would       16      form.
     17    lead into our U.S. target bone -- target     17      A. Again, so, the 2007 I believe is
     18    budget, what we would present to corporate   18   a forecast.
     19    as our proposal for budget. And, again,      19          2006, this is dated October of
     20    then in November there would be a            20   2006. So, some portion of the 2006
     21    corporate review and there would be, I can   21   numbers are also a forecast. But, based
     22    guarantee you there would be changes and     22   on the first half of the year, right, it
     23    more likely the changes would be the         23   was the third largest individual generic
     24    targets would be set higher than what the    24   product sold.

                                         Page 123                                          Page 124
      1        Q. And, do you know for oxycodone         1   Not Launched 2007 Versus LT 2007."
      2     tablets why there would be such a large      2          What's your understanding of
      3     discrepancy in sales between the first       3   what that means?
      4     half of the year and the second half of      4          (Pause.)
      5     the year for 2006?                           5      Q. I'm looking at the page numbers
      6             MS. WELCH: Objection to form.        6   on the Power Point, page number 24.
      7        A. You'd -- I don't specifically          7      A. I'm just trying to look at the
      8     recall.                                      8   context so I can provide a more complete
      9             If you have any information, I'd     9   answer.
     10     be happy to review it.                      10          Products not launched -- so,
     11        Q. You don't recall why sales would      11   again, I don't specifically recall what LT
     12     have gone down for quarters 3 and 4 of      12   2007 was, some sort of a long-term
     13     2006?                                       13   planning document.
     14             MS. WELCH: Objection to form.       14          But, this is saying as of
     15        A. Sitting right here in 2019, I         15   October -- as of October 2006, products
     16     don't specifically recall activities of     16   not launched 2007 versus L -- all right.
     17     2006.                                       17         So, my interpretation of this
     18        Q. Okay.                                 18   would be these are products that may have
     19        A. Again, I don't know if Q3 and Q4      19   been in an earlier version of some sort of
     20     might not even be actuals. It's not clear   20   planning assumption, the LT 2007, that
     21     from the chart if those are actuals or      21   based on this document we are not
     22     those are projections.                      22   including as revenues in this proposed
     23        Q. And, if you move to page 24           23   2007 budget.
     24     there's a heading on that page "Products    24          And that could be for a whole


                                                                 31 (Pages 121 to 124)
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                                         Page 125                                          Page 126
      1    host of reasons. One could be that,           1   opportunity to file, in advance of patent
      2    again, the product approval is delayed.       2   expiry, to potentially bring lower cost
      3    For example, the oxycodone ER would have      3   affordable generic products to market to
      4    been a Paragraph IV. So the litigation        4   provide access to affordable medicines for
      5    was ongoing. There might not have been a      5   patients.
      6    decision. Could have been related to the      6           Paragraph IV process enables,
      7    fact that --                                  7   with the filing, an automatic 30-month
      8       Q. What do you mean by Paragraph           8   stay of approval that the FDA cannot
      9    IV?                                           9   approve -- assuming, by the way, that the
     10       A. Paragraph IV is a process when         10   brand company opts to sue you, that's
     11    you're a generic pharmaceutical company      11   their right to do or not do, during that
     12    and you file an abbreviated new drug         12   period of time, during that 30-month
     13    application, or an ANDA, there's different   13   period of time, the FDA cannot approve
     14    classifications of how you file it with      14   application. That supposedly was set back
     15    the FDA. And a Paragraph IV is basically     15   in the day as an appropriate time for any
     16    you are filing an abbreviated new drug       16   pending litigation activities to be
     17    application against an NDA product, or a     17   resolved. Not necessarily the case and
     18    new drug application, where this new drug    18   has yet to be the case. But that's what a
     19    has existing intellectual property, or IP.   19   Paragraph IV is.
     20            So, the Paragraph IV process was     20      Q. So, what does the $16.6 million
     21    created in 1984 as part of the               21   next to oxycodone ER represent?
     22    Hatch-Waxman Drug Competition and Patent     22      A. Again, in this chart, my
     23    Restoration Act, and what that means is      23   understanding would be that our budget
     24    that it enabled generic drug companies an    24   here, proposed budget does not include any

                                         Page 127                                          Page 128
      1    revenue -- or, includes some number of        1      A. Yes.
      2    revenue for oxycodone ER, but it's 16.6       2      Q. And, what is this showing?
      3    million less than what was in an earlier      3          MS. WELCH: Objection to form.
      4    long-term plan, the LT 2007.                  4      A. Well, again, this is a proposed
      5           That's my understanding, but I         5   budget. So, what the top part 8 plus 4
      6    may -- may or may not be correct.             6   plan would have been sort of the run rate
      7       Q. And if you look at page 34 of           7   base business assumption. The oxycodone
      8    the Power Point.                              8   ER tabs, it's a minus 17 million, and the
      9       A. Page 34 of the Power Point.             9   comment there is "delayed IP matter." So,
     10           (Pause.)                              10   if in a prior version there's an
     11           Okay.                                 11   expectation of revenue for this product,
     12       Q. What does AMID, A-M-I-D, refer         12   this draft budget is saying it's going to
     13    to?                                          13   be 16.562 million less. I don't know -- I
     14       A. AMID (different pronunciation.)        14   don't know if that was the full amount or
     15           That was the Actavis -- Actavis       15   if the budget was 30 million and it's down
     16    Iceland acquired two companies in the        16   to 14. I don't specifically recall. But
     17    United States. They acquired the Alpharma    17   basically it's saying it's a vary -- it's
     18    generics business and they acquired a        18   a variation from an earlier planning
     19    company called AMID. It's also a generic     19   assumption.
     20    manufacturer based in northern New Jersey.   20          MS. BAIG: We'll the next
     21       Q. Okay. And here you see there's         21      document marked as Exhibit 7. It's
     22    a reference to a 2006 8 plus 4 plus and a    22      Bates stamped Allergan_MDL_01474505
     23    further reference to oxycodone ER tabs and   23      through '4557 appeared it's entitled
     24    oxycodone?                                   24      "Development and Manufacturing


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                                          Page 129                                          Page 130
      1       Services Agreement."                        1       a m.
      2           (Boothe Exhibit 7, Development          2           (Recess taken.)
      3       and Manufacturing Services Agreement        3           THE VIDEOGRAPHER: We're going
      4       effective February 1, 2008, Bates No.       4       back on the record.
      5       ALLERGAN_MDL_01474505 to 0147557, was       5           The time is 11:23 a m.
      6       marked for identification, as of this       6   BY MS. BAIG:
      7       date.)                                      7       Q. What's your understanding as to
      8           THE WITNESS: Okay.                      8   what this agreement is?
      9    BY MS. BAIG:                                   9       A. It's a -- what we called a --
     10       Q. Do you have an understanding of         10   it's a development and manufacturing
     11    what this agreement is?                       11   service -- it's basically an agreement
     12       A. It's a -- lots of pages. Could          12   between Actavis and Alpharma to address
     13    I have a chance to review it?                 13   the supply and other components of two
     14       Q. Sure.                                   14   products which were one was in active
     15           What I'll tell you is that in          15   manufacturing and one was in development
     16    the first paragraph of the second page, do    16   at the Elizabeth, New Jersey facility,
     17    you see that?                                 17   which was part of Actavis, and its
     18       A. Can I review the document?              18   obligations and arrangements with Alpharma
     19       Q. Yeah.                                   19   to support manufacturing of these two
     20           MS. BAIG: Let's go off the             20   products for Alpharma.
     21       record.                                    21           The reason that this was in
     22           THE VIDEOGRAPHER: We're going          22   place was because when Alpharma sold the
     23       off the record.                            23   generics business to Actavis, the facility
     24           The time is approximately 11:22        24   in New Jersey went with the generics


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      1     business, but the -- the brand proprietary    1    I hired her in 2004.
      2     items, we were Kadian and then a              2       Q. Okay. And, did she report to
      3     development item, which I think became        3    you for her entire time at Alpharma?
      4     Embeda, stayed with Alpharma, but they        4       A. No.
      5     were manufactured, they were developed,       5       Q. Did she -- when did she report
      6     there were resources that were commingled.    6    to you at Alpharma?
      7     So this was basically like a transition       7       A. 2004.
      8     services agreement to clarify roles and       8       Q. Just 2004?
      9     responsibilities, payments, other sorts of    9       A. I believe so.
     10     things, between the two companies at that    10       Q. Okay. And, when you were at
     11     facility.                                    11    Actavis, Jinping McCormick reported
     12        Q. When you were at Actavis, it was       12    directly to Mike Perfetto.
     13     the -- the director of generic marketing     13           Is that right?
     14     reported to you.                             14       A. I believe that's my
     15             Is that right?                       15    recollection.
     16        A. Which time frame?                      16       Q. And Perfetto reported to you?
     17        Q. At any time -- time frame when         17       A. Yes.
     18     you were at Actavis, did the director of     18       Q. And, when you were at Actavis,
     19     generic marketing report to you?             19    did the director of branded marketing
     20             MS. WELCH: Objection to form.        20    report to you?
     21        A. No.                                    21       A. No.
     22        Q. So, Jinping McCormick never            22       Q. So, Jennifer -- was Jennifer
     23     reported directly to you?                    23    Altiers [sic] the director of branded
     24        A. She did when I was at Alpharma.        24    marketing?


                                                                  33 (Pages 129 to 132)
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                                         Page 133                                          Page 134
      1           MR. DIAMANTATOS: Objection to          1   consultant, she would be taking direction
      2       form.                                      2   from someone at the company; would she
      3       A. Jennifer Altier was with Actavis        3   not?
      4    2011 or 2012. I believe she was a             4          MR. DIAMANTATOS: Objection to
      5    contractor or a consultant. I'm not sure      5      form.
      6    we actually ever made her a full-time         6      A. Again, I'm uncomfortable
      7    employee.                                     7   answering that 'cause there's all sorts of
      8           But, again, if you have a              8   legal implications about who's considered
      9    document, I'd be happy to review it and       9   employees back from the micro SOS.
     10    comment on it.                               10          So, if someone was not an
     11       Q. And, did Jennifer Altiers report       11   employee of the company, how their
     12    to Perfetto?                                 12   relationship in reporting would be
     13       A. No.                                    13   something that I'd rather have someone
     14       Q. Who did she report to, to your         14   who's more familiar with employment law
     15    knowledge?                                   15   comment on.
     16       A. Well, again, I'm not sure she          16          But she was brought in to do
     17    was an employee. So if she wasn't an         17   specific projects.
     18    employee, she didn't report to anybody.      18      Q. Did you have another marketing
     19    She would have been brought on a contract    19   director for brand name drugs?
     20    basis as a consultant.                       20          MR. DIAMANTATOS: Objection to
     21           But she was involved with the         21      form.
     22    Kadian brand side after we had brought       22      A. Yes.
     23    that back at Actavis.                        23      Q. Who was that?
     24       Q. Well, even if she was a                24      A. Nathalie Leitch. I don't know

                                         Page 135                                          Page 136
      1     what her specific title was, but she was     1   selection, portfolio, business
      2     responsible for the proprietary side of      2   development, and then new ventures, and
      3     the Actavis business.                        3   one of the new ventures when we acquired
      4        Q. And, who did she report to?            4   the Kadian asset from Alpharma at the end
      5        A. She reported to Terry Fullem.          5   of 2008, I put Terry in responsible for
      6        Q. And, who did Terry Fullem report       6   the specialty products as well as our
      7     to?                                          7   injectable portfolio which we were
      8        A. Me.                                    8   developing.
      9        Q. And, what was Terry Fullem's           9      Q. Were there any other marketing
     10     position?                                   10   directors while you were at Actavis other
     11        A. His responsibility changed over       11   than Natalie Leitch?
     12     time.                                       12          MS. WELCH: Objection to form.
     13            So, a specific time zone, time       13      A. Again, I mean, we had marketing
     14     area you want me to comment on?             14   people.
     15        Q. What were his positions while         15          So, director like by title or
     16     you were at Actavis?                        16   director in terms of they were involved in
     17            MS. WELCH: Objection to form.        17   marketing?
     18        A. So, again, starting in 2007 --        18      Q. I mean leading the marketing for
     19     or, sorry. 2006 with Actavis, Terry was     19   brand name drugs.
     20     the general manager of the semisolids and   20          MR. DIAMANTATOS: Objection to
     21     liquids part of the business, 2007. And     21      form.
     22     then in 2008 or 2006, I don't               22      A. Just Nathalie, is my
     23     specifically -- either way, ultimately I    23   understanding.
     24     put Terry responsible for product           24      Q. And she reported to Terry Fullem


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                                         Page 137                                         Page 138
      1    in what time frame?                           1   was generic drugs.
      2       A. From the -- I believe from the          2      Q. I think you mentioned for the
      3    time she joined the company. I don't know     3   opioids that Actavis was selling when you
      4    when that was. Until the time that the        4   were there Kadian, generic OxyContin,
      5    Watson transaction closed.                    5   generic Opana ER, oxycodone IR.
      6       Q. Generally speaking, do you have         6          And I'm wondering if Actavis was
      7    an understanding as to which drugs brought    7   also selling fentanyl at any time while
      8    in more money to the company: the branded     8   you were there?
      9    drugs or the generic drugs?                   9      A. Yes, we did sell fentanyl
     10          MS. WELCH: Objection to form.          10   product, correct.
     11       A. What's the question?                   11      Q. And, when did you do that?
     12       Q. Generally speaking, do you have        12      A. We acquired a company in late
     13    an understanding as to which drugs brought   13   2006. They had the fentanyl product in
     14    in more money to the company: the branded    14   their portfolio. The product was approved
     15    drugs or the generic drugs?                  15   in two thousand and -- early late 2006 or
     16          MS. WELCH: Same objection.             16   early 2007. So we began marketing it
     17       A. In which time frame?                   17   around that time, as soon as it was
     18       Q. While you were at Actavis.             18   approved.
     19          MS. WELCH: Same objection.             19      Q. And, which company was that?
     20       A. Well, again, if -- if -- I             20      A. The company was called Abraca.
     21    believe Kadian was under 200 million. The    21   It was in Florida.
     22    business was between 600 and 900-plus        22      Q. Did you ever have any
     23    million.                                     23   involvement with a drug called Norco?
     24          So, predominantly, the business        24      A. What's it called?

                                         Page 139                                         Page 140
      1       Q. Norco?                                  1      A. The marketing team would
      2            MR. DIAMANTATOS: Objection to         2   consist -- would frequently update what
      3       form.                                      3   was called market share reports, which
      4       A. What's the generic compound             4   would be the data from the IMS or the
      5    name?                                         5   Wolters Kluwer crew that would then show
      6       Q. I don't have the answer to that.        6   prescription level data and again for the
      7            I'm just asking you if you            7   generics would be share prescriptions
      8    recall working on a drug named Norco.         8   between if it was Actavis or Watson or
      9            MR. DIAMANTATOS: Objection to         9   Teva or whomever else was in the space.
     10       form.                                     10   That's the market share reports, and I
     11       A. No.                                    11   would say that's probably what she meant
     12       Q. Did you review market research         12   by market research.
     13    and market share reports for -- for the      13          But that doesn't mean, again, in
     14    portfolio of products regularly?             14   her role that she wasn't looking and
     15            MS. WELCH: Objection to form.        15   trying to see what was going on in the
     16       A. What do you mean by market             16   space. That was her -- that was her
     17    research?                                    17   responsibility.
     18       Q. You know that Jinping McCormick        18      Q. And, would you review some of
     19    testified that she did a good deal of        19   that as well? Would she present it to
     20    market research, and I'm wondering if you    20   you?
     21    reviewed that.                               21          MS. WELCH: Objection to form.
     22            MS. WELCH: Objection to form.        22          MR. DIAMANTATOS: Assumes facts.
     23            MR. DIAMANTATOS: Objection to        23      A. Again, the market share report
     24       form.                                     24   was -- was shared with lots of people in


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                                         Page 141                                          Page 142
      1    the organization. It was a regular thing.     1   and financial evaluations for various of
      2    It might have been done weekly or monthly.    2   the products.
      3           So, yes, I would receive those.        3      A. At times, yes.
      4    I won't admit that I looked at them every     4      Q. Including opioid products,
      5    time.                                         5   correct?
      6           And, as part of our budgeting          6      A. Could you be more specific?
      7    process, the market share and the market      7      Q. Did you look at financial
      8    research or the data about specific           8   evaluations and marketing evaluations for
      9    molecules, specific prescription growth or    9   opioid products?
     10    decline, competitive forces were all         10         MS. WELCH: Objection to form.
     11    critical inputs to our forecast, our         11      A. What do you mean by financial
     12    budgets and, quite frankly, our everyday     12   evaluations?
     13    supply/demand planning activities.           13      Q. Jinping McCormick testified that
     14       Q. Which you also reviewed,               14   she put together a number of financial
     15    correct?                                     15   evaluations and marketing evaluations.
     16           MS. WELCH: Objection to form.         16      A. But what does that mean,
     17    BY MS. BAIG:                                 17   evaluations?
     18       Q. Reviewed the marketing and             18      Q. Do you have an understanding as
     19    financial evaluations for the products?      19   to what that means, or no?
     20           MS. WELCH: Objection to form.         20      A. I'm asking you, so.
     21       A. Could you be more specific?            21      Q. Right. But you're the one being
     22       Q. I'm just asking if you                 22   deposed.
     23    generally, as part of your -- your job       23         Do you have an understanding as
     24    responsibilities, you reviewed marketing     24   to whether or not you reviewed any

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      1    financial evaluations for your opioid         1   an understanding as to what a financial
      2    products during your tenure at Actavis?       2   evaluation is.
      3            MS. WELCH: Objection to form.         3          MR. DIAMANTATOS: Objection to
      4       A. I'd be happy to review on a             4      form.
      5    document if you -- I don't specifically       5          MS. WELCH: Objection to form.
      6    recognize the -- what Jinping testified to    6          MR. DIAMANTATOS: Asked and
      7    as what marketing or financial evaluation     7      answered; argumentative.
      8    meant.                                        8      A. Yeah, I do.
      9       Q. Okay. So you don't have an              9      Q. Okay. What's your
     10    understanding as to what a financial         10   understanding?
     11    evaluation is?                               11      A. But you asked specifically about
     12           MR. DIAMANTATOS: Objection to         12   opioid products, and I'm not aware if we
     13       form; mischaracterizes the witness's      13   did those or didn't do those. So if you
     14       testimony.                                14   show me --
     15       A. That's not what I said.                15      Q. That's fine. Then you can just
     16       Q. Do you have an understanding as        16   testify --
     17    to what a financial evaluation is?           17          THE COURT REPORTER: Only one
     18            MR. DIAMANTATOS: Objection;          18      person can speak at a time.
     19       form; asked and answered.                 19   BY MS. BAIG:
     20       A. If you put one in front of me,         20      Q. My question is do you have an
     21    I'd be happy to review it.                   21   understanding as to what a financial
     22       Q. I'm just asking you, as you sit        22   evaluation is, and what is your
     23    here today with your many years of           23   understanding?
     24    experience, as to whether or not you have    24          MR. DIAMANTATOS: Objection;


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                                         Page 145                                          Page 146
      1       form; argumentative; asked and             1           MS. WELCH: Objection to form.
      2       answered.                                  2      A. Yes.
      3       A. Again, a financial evaluation           3      Q. You reviewed annual budget and
      4    could be some set of potential revenues,      4   three-year plan processes?
      5    costs, some sort of a P&L, some sort of an    5      A. Yes.
      6    MPV. There's all sorts of different           6      Q. Did you have to approve
      7    models. They could be product specific.       7   marketing expenses?
      8    They could be class specific. They could      8           MS. WELCH: Objection to form.
      9    be region specific. I don't know what --      9      A. No. I mean, certainly to a
     10    inputs could be GDP growth. There's all      10   certain level of authorization. So
     11    sorts of things that could go into a         11   certainly we had a delegation of
     12    financial evaluation. It could be some       12   authority. We had an authorization
     13    sort of a model. There could be scenarios    13   process. Certain levels of expenses could
     14    on it.                                       14   be approved depending on your -- your --
     15           But I -- you asked me                 15   your authority level, at a director level
     16    specifically about what Ms. McCormick, and   16   or at a manager level, at a VP level or at
     17    I just asked if you could show me an         17   a senior VP level and ultimately to me.
     18    example, I could comment on it.              18           So, depending on the amount of
     19       Q. Did you review marketing               19   the expense, either my team would do them
     20    forecasts for pipeline products?             20   or I would do them.
     21           MS. WELCH: Objection to form.         21      Q. Are you aware of what marketing
     22       A. Yes.                                   22   tools were used by Actavis to drive sales
     23       Q. Did you review sales projections       23   of its generic drugs, including opioids,
     24    for products, including opioids?             24   while you were at the company?

                                         Page 147                                          Page 148
      1           MS. WELCH: Objection to form.          1   provided by third parties such as IMS,
      2       A. What do you mean by marketing           2   look at script datas, and then would look
      3    tools?                                        3   at -- that would help to inform from a
      4       Q. Do you have a general                   4   trend perspective what the available
      5    understanding of what a marketing tool is?    5   scripts would be.
      6       A. I'd be happy if you provided            6           The marketing team also was
      7    some, I could comment if I thought that       7   involved in prelaunch activities. So the
      8    was a marketing tool or not.                  8   extent of which when we were putting a
      9           I mean, generic drugs generally        9   product to market, we would have to make
     10    don't do a lot of marketing.                 10   certain that it was registered and that we
     11       Q. Actavis did have a generics            11   had labeling for it, that we actually
     12    marketing department; did it not?            12   participated in trade events, that we
     13       A. Yes.                                   13   sometimes we would put an advertisement,
     14       Q. And, did that department have          14   or form of an announcement. Really not
     15    work to do?                                  15   advertisement. Announcement that products
     16       A. Yes.                                   16   were available. We had a product catalog
     17       Q. And, what are the marketing            17   that was available in both hard copy and
     18    mechanisms that the company used to market   18   electronic.
     19    its generic drugs?                           19           But the bulk of the marketing
     20           MS. WELCH: Objection to form.         20   team, and I'm using quotes for marketing
     21       A. Again, the marketing department        21   'cause most of the activity that the
     22    predominantly did forecasting. So, the       22   marketing activity does in a generic drug,
     23    marketing team, as Ms. McCormick led,        23   it's not unique to Actavis, is mostly
     24    would look at the marketing information      24   product forecasting and then working very


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      1     closely with supply chain organization to     1      A. The last part about the
      2     make certain that the supply chain            2   internally, I mean, so what we would do,
      3     organization knew the forecast, the volume    3   again, potentially is we would put a print
      4     forecast, so they could build accordingly.    4   ad, so therefore an advertisement, to
      5        Q. But internally, you referred to         5   announce a product approval or a product
      6     that team as a marketing team, correct?       6   becoming available. All those materials
      7        A. Me and probably every other             7   would also go through a marketing, a
      8     generic organization. Very common             8   regulatory and a legal review consistent
      9     nomenclature.                                 9   with DDMAC.
     10        Q. And, with respect to the               10      Q. And, did you have something
     11     announcements that you alluded to,           11   called sizzle slides?
     12     internally you referred to them as           12      A. What are sizzle slides?
     13     advertisements, correct?                     13      Q. My question to you is are you
     14        A. That's not what I said.                14   aware of sizzle slides?
     15        Q. I'm asking you.                        15      A. Could you show me one?
     16        A. Could you repeat the question,         16      Q. I'm just asking you if you have
     17     please?                                      17   an understanding of what a sizzle slide
     18        Q. A moment ago you referred to           18   is, if you ever heard of that term, or if
     19     announcements that the marketing             19   they were used at Actavis.
     20     department used to announce its drugs.       20           MS. WELCH: Objection to form.
     21     Internally those were referred to as         21           MR. DIAMANTATOS: Objection to
     22     advertisements.                              22      form.
     23            Isn't that right?                     23      A. Again, if you could show me one,
     24            MS. WELCH: Objection to form.         24   I could comment on it.

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      1          I'm not specifically remembering         1      Q. So you don't remember?
      2    it.                                            2          The answer is -- it's a
      3       Q. So you've never heard the term           3   yes-or-no question.
      4    "sizzle slide," that you recall right now?     4          Do you recall hearing that term
      5           MR. DIAMANTATOS: Objection to           5   before or not?
      6       form; mischaracterizes the witness's        6          MR. DIAMANTATOS: Objection to
      7       testimony.                                  7      form in instructing the witness how to
      8       A. In the context of what? What;s           8      answer the question.
      9    a sizzle --                                    9      A. No.
     10       Q. Marketing drugs.                        10      Q. Do you recall that one of the
     11            MR. DIAMANTATOS: Same                 11   marketing tools used at Actavis to market
     12       objection.                                 12   generic drugs was email blasts to
     13       A. I'd be happy to respond or              13   pharmacists?
     14    comment if you show me something.             14          MS. WELCH: Objection to form.
     15       Q. My only question to you right           15      A. Yes.
     16    now is have you heard that term "sizzle       16      Q. Do you recall that one of the
     17    slide"?                                       17   marketing tools used by Actavis to promote
     18            MS. WELCH: Objection to form.         18   its generic drugs was targeting certain
     19            MR. DIAMANTATOS: Asked and            19   magazines for advertisements?
     20       answered.                                  20          MS. WELCH: Objection to form.
     21       A. From whom?                              21          MR. DIAMANTATOS: Assumes facts.
     22       Q. From anyone.                            22      A. Can you repeat that question,
     23       A. You'd have to show it to me so I        23   please?
     24    could comment on it.                          24          MS. BAIG: Could you read it


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                                          Page 153                                          Page 154
      1        back, please?                              1       A. Yes.
      2             (The requested portion of the         2       Q. Do you recall the generics
      3        record was read by the Court Reporter.)    3    marketing division using telephone
      4        A. Yes.                                    4    campaigns to market drugs?
      5        Q. And, what magazines do you              5           MS. WELCH: Objection to form.
      6     recall were targeted for advertisements?      6       A. Telephone campaigns to market
      7             MS. WELCH: Objection to form.         7    drugs, what does that mean?
      8        A. It would be like industry               8       Q. I'm just asking if you have an
      9     publications, U.S. Pharmacist, Chain Drug     9    understanding of what that is or whether
     10     News.                                        10    it was used.
     11             Again, I mean, targeting, we         11           MS. WELCH: Objection to form.
     12     weren't targeting. We would write a check    12       A. No.
     13     and place an ad. So I don't know if          13       Q. You don't recall there being
     14     that's really targeting.                     14    telephone campaigns of any sort?
     15             But we would pick the ones we        15       A. Again, if you could provide me
     16     thought would had the greatest reach to      16    something to review.
     17     the intended customer audience.              17           I don't specifically recall
     18     Potentially pharmacists. Not doctors, by     18    right now.
     19     the way, pharmacists.                        19       Q. Do you recall that there were
     20        Q. And, was it the generics               20    direct mailers that were sent out --
     21     marketing division that was responsible      21       A. Yes.
     22     for that?                                    22       Q. -- to pharmacists?
     23        A. For what?                              23       A. Yes.
     24        Q. For placing ads in magazines.          24       Q. Were direct mailers sent out to

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      1    others?                                        1   opioids?
      2           MS. WELCH: Objection to form.           2         MS. WELCH: Objection to form.
      3       A. No.                                      3      A. I don't specifically recall
      4       Q. Do you recall --                         4   anybody.
      5       A. Not that I'm aware of.                   5         If you provide me, I can comment
      6       Q. Do you recall that there were            6   on them. But I know we used third
      7    fax blasts that were used to promote the       7   parties.
      8    generic drugs?                                 8      Q. You don't recall any third party
      9           MR. DIAMANTATOS: Objection to           9   that you might have used to market drugs?
     10       form.                                      10      A. Correct.
     11       A. I believe fax blasts were sent          11      Q. And, do you recall any sort of
     12    to wholesalers or distributors, yes.          12   telemarketing of generic drugs?
     13       Q. Do you recall there being coupon        13         MS. WELCH: Objection to form.
     14    programs that were used to market generic     14      A. No.
     15    drugs?                                        15      Q. Do you recall a company called
     16           MS. WELCH: Objection to form.          16   Media Media?
     17       A. No.                                     17      A. Media Media?
     18       Q. Do you recall working with any          18      Q. Mm-hm.
     19    third parties to market your generic          19      A. No.
     20    drugs?                                        20         MS. BAIG: We'll have this
     21           MS. WELCH: Objection to form.          21      document marked as Exhibit 14, please.
     22       A. Yes.                                    22          (Boothe Exhibit 8, email dated
     23       Q. Who do you recall working with          23      January 27, 2009, with attachment,
     24    to market generic drugs, including            24      Bates No. ALLERGAN_MDL_01100742 to


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                                          Page 157                                         Page 158
      1       01100752, was marked for                   1   branded Kadian, not generic.
      2       identification, as of this date.)          2           All those last questions were
      3            MR. DIAMANTATOS: You said             3   all about generic.
      4       Exhibit 14?                                4       Q. And, so, what do you recall
      5            MS. BAIG: Sorry. Exhibit 8.           5   about using the $50 coupon to promote
      6            And it is Bates stamped               6   Kadian?
      7       ALLERGAN_MDL_01100742 through '752.        7          MR. DIAMANTATOS: Objection to
      8       It starts as an email from Irene Katz      8       form.
      9       at Media Media.                            9       A. What was the question, please?
     10            THE WITNESS: Medimedia.              10       Q. What do you recall about using
     11            MS. BAIG: Sorry. Medimedia.          11   the $50 coupon to promote Kadian?
     12    BY MS. BAIG:                                 12          MS. WELCH: Objection to form.
     13       Q. Do you recall Medimedia?               13       A. The coupon was actually a --
     14       A. No.                                    14   it's not a rebate. It was a discount
     15       Q. Dated January 27th, 2009.              15   for -- for someone filling a prescription.
     16            And you'll see there's a             16   So I don't know if it counts as marketing
     17    reference in the first paragraph to a        17   Kadian. It was consistent with other
     18    Kadian coupon artwork.                       18   people in the space practices that they
     19       A. Yes.                                   19   were doing to have a patient assistance
     20       Q. Are you familiar with the use of       20   program or a co-pay card.
     21    a Kadian coupon?                             21          It's also not unique to opioids.
     22       A. Yes.                                   22   It's pretty common activity or tactic for
     23       Q. And, what was that?                    23   branded pharmaceuticals to offer some sort
     24       A. This is a co-pay coupon for            24   of patient assistance or discount program

                                          Page 159                                         Page 160
      1    for their prescriptions.                      1          MS. WELCH: Objection;
      2       Q. And Natalie Leitch oversaw this         2      foundation.
      3    program?                                      3          MR. DIAMANTATOS: Objection;
      4       A. Nathalie was, again, the                4      foundation.
      5    marketing director for Kadian. So yes.        5      A. Not necessarily. Medimedia may
      6       Q. And the Kadian -- in the first          6   have been the, you know, the front end
      7    line of the first page it states: We have     7   that created the artwork. I'm not certain
      8    updated the Kadian coupon artwork to          8   if they had a telephone desk. Or, I don't
      9    reflect the new phone number at the help      9   believe it was an Actavis employee who was
     10    desk.                                        10   there. It would have been part of the
     11       A. Yes.                                   11   support for this specific co-pay card
     12       Q. Was it that the Kadian coupon          12   program.
     13    would direct people to call a phone number   13      Q. So you don't know what
     14    in the event they needed help?               14   organization would have staffed the help
     15       A. Yes.                                   15   desk that was answering calls in response
     16       Q. And, who would staff the help          16   to the Kadian coupon?
     17    desk?                                        17      A. I don't specifically recall.
     18       A. I don't know if -- I don't             18      Q. And, what was the purpose of
     19    believe it was -- I think this               19   offering a $50 coupon for Kadian?
     20    Medimedia -- it was a third party, more      20          MS. WELCH: Objection to form.
     21    than likely.                                 21      A. I think I mentioned before it
     22       Q. So it would have been employees        22   was a discount to folks from a patient
     23    at Medimedia that would staff the help       23   assistance or a co-pay assistance to
     24    desk?                                        24   reduce their out-of-pocket costs


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      1    potentially on the prescription.               1   they're all page 50. I guess if you
      2       Q. And, what was the company's              2   scroll through a little bit, you can see
      3    purpose in offering that?                      3   the coupons themselves.
      4       A. To be in line with the other             4           Do you see it?
      5    promoted pain medications. The                 5      A. Which is the coupon?
      6    competition, my understanding at the time,     6      Q. Well, I'm assuming it's this one
      7    was also were offering coupons or patient      7   (indicating).
      8    assistance cards.                              8      A. This thing (indicating)?
      9           And, again, as I've said                9           That looks like a piece of
     10    previously, this was a very familiar          10   artwork of like a box or something.
     11    tactic across brand companies as -- as a      11      Q. You see at the top it says
     12    way to counterbalance the formulary tiers     12   "Kadian co-pay assistance program"?
     13    that PBMs and others had put in place for     13      A. Yes.
     14    branded products. Still goes on today.        14      Q. And then it says "Save up to $50
     15       Q. So you were trying to keep up           15   toward each prescription of Kadian"?
     16    with the competitors.                         16      A. Yes.
     17           Is that right?                         17      Q. And then it goes on to state
     18           MR. DIAMANTATOS: Objection to          18   that it's good for up to $600 for 12
     19       form.                                      19   months.
     20       A. We were trying to maintain a            20           Is that right?
     21    viable offering in light of the               21      A. That's what it says, yes.
     22    competition.                                  22      Q. So, an individual could use this
     23       Q. And for this particular coupon,         23   coupon for a refill of twelve months.
     24    if you look at pages 50 and -- well,          24           Is that right?

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      1             MS. WELCH: Objection to form.         1   12 months."
      2        A. Again, there -- well, again, I          2          Do you see that?
      3     don't know if it's one card or multiple       3      A. Yes.
      4     cards. There could be, you know, like         4      Q. Was one of the purposes of
      5     a -- like a prepaid phone card. I don't       5   offering the coupon for six -- sorry.
      6     know if it's one or twelve.                   6          MS. BAIG: Strike that.
      7             And, again, you don't get             7      Q. Was one of the purposes for
      8     refills on controlled substances.             8   offering a coupon for twelve months to
      9     Every -- every prescription is a new one.     9   encourage the long-term use of Kadian?
     10     So a patient has to go to the physician to   10          MS. WELCH: Objection to form.
     11     get -- to get a new prescription. There's    11      A. No.
     12     no refills on controlled substances, is my   12      Q. It wasn't to encourage twelve
     13     understanding. Especially on Class II        13   month use, which is what the coupon is
     14     narcotics, which is what Kadian was.         14   offered for?
     15        Q. But one patient could use this         15          MS. WELCH: Objection to form;
     16     coupon, or a series of coupons, for a        16      misstates the document.
     17     twelve-month period.                         17      A. No.
     18             Isn't that right?                    18      Q. As part of its marketing, did
     19             MS. WELCH: Objection to form.        19   Actavis target high prescribers of certain
     20        A. Subject to having a valid              20   of its drugs?
     21     prescription, or prescriptions, multiple     21          MS. WELCH: Objection to form.
     22     prescriptions.                               22          MR. DIAMANTATOS: Objection to
     23        Q. Understood.                            23      form.
     24             It says "Good for up to $600 for     24      A. I wouldn't call it part of its


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      1     marketing. As part of our sales               1   physician practices that have the most
      2     targeting, which again is common for all      2   patients and, therefore, the most
      3     pharmaceutical companies, you look at who     3   prescriptions, potential available
      4     are prescribing, and not just Kadian, but     4   prescriptions.
      5     who are prescribing drugs in that class.      5      Q. And, so, how did Actavis go
      6     This is in the pain class. And that's         6   about targeting high prescribers?
      7     essentially where you would target your       7           MS. WELCH: Objection to form.
      8     sales representatives to call on on a more    8           MR. DIAMANTATOS: Assumes facts.
      9     frequent basis. Although, depending on        9      A. Again, Actavis would get the
     10     the size of your sales organization, you     10   third party data coming from a Wolters
     11     could call on all physicians, you could      11   Kluwer or IMS. They sell those services
     12     call on a target subset of physicians, you   12   to all pharmaceutical companies and with
     13     can target on specialty physicians. That     13   that do the same thing that all other
     14     is, again, a very -- that is the common      14   pharmaceutical companies do is you stack
     15     practice in the space.                       15   rank them. You create what's called
     16        Q. Including in the opioid space,         16   deciles, which is in blocks of ten, and
     17     correct?                                     17   subject to the size of your sales force
     18            MS. WELCH: Objection to form.         18   and the geographic dis -- you know,
     19        A. It's the common practice in all        19   whatever, sped and how many folks you had
     20     the pharmaceutical space, all different      20   and the logistics of how many people
     21     therapeutic areas, all different class,      21   you're putting in the field would
     22     specialty sales forces or primary care       22   determine how often you can make certain
     23     forces are always -- the practice has been   23   calls. Frequent -- it's called reaching
     24     you align your sales force with the          24   frequency.


                                          Page 167                                          Page 168
      1           Again, it's what every branded          1   BY MS. BAIG:
      2    pharmaceutical company does, not just in       2      Q. All right. And, you see in the
      3    pain, but also in cardiovascular, in all       3   second paragraph you're proposing some
      4    the conditions.                                4   sort of initial communication piece to all
      5       Q. And, in order to do that,                5   (or at least the high decile physicians)
      6    Actavis would use the Wolters Kluwer data,     6   with a reminder about Kadian and to keep
      7    the IMS data, any other data you can think     7   to the brand messages, widest range of
      8    of?                                            8   dosing options, and PK profile (check the
      9       A. No. There's probably others,             9   marketing materials.)
     10    but those are the two that I'm most           10      A. Where is this?
     11    familiar with.                                11      Q. Second paragraph.
     12           MS. BAIG: Let's have this              12      A. Okay. Thank you.
     13       document marked as Exhibit 9. It's         13          Me. Okay. Yeah.
     14       Bates stamped ALLERGAN_MDL_01058383        14      Q. Does this refresh your
     15       through 58385.                             15   recollection that Actavis was
     16           (Boothe Exhibit 9, email chain         16   communicating with high decile physicians?
     17       ending March 10, 2009, Bates No.           17      A. Well, again, this time frame in
     18       ALLERGAN_MDL_01058383 to 01058385, was     18   March of 2009, I was proposing or
     19       marked for identification, as of this      19   suggesting. I'm not -- I don't believe we
     20       date.)                                     20   had our sales -- contract sales force in
     21           MS. BAIG: It starts as an email        21   place. And the context for these notes
     22       from you to Terrence Fullem and Kevin      22   were we had acquired the asset at the end
     23       Bain.                                      23   of 2008. We had no -- we had no field
     24           THE WITNESS: Okay. Yeah.               24   support. Alpharma had pulled everything.


                                                                  42 (Pages 165 to 168)
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                                          Page 169                                          Page 170
      1     We got none of that. And essentially what     1   propose some sort of communication.
      2     we were seeing was our scripts were going     2          If we went and put a
      3     down in the space, and we were hearing        3   communication piece out at some point down
      4     that basically of the other suppliers or      4   the road, it would have gone through an
      5     provides in the marketplace, including        5   internal review. It would have gone
      6     Alpharma and King or Endo or whatever,        6   through -- would have been provided to
      7     were basically saying the product had been    7   DDMAC. We would have had the activities
      8     discontinued. So we -- the belief was we      8   and I think we -- I know we ended up doing
      9     probably need to get some sort of message     9   that. I don't know if the message that
     10     out there that the product was still         10   went out had anything to do with high
     11     available.                                   11   decile physicians or if it talked about
     12        Q. The message going to physicians,       12   brand messaging or whatever. This was,
     13     correct?                                     13   again, very -- the initiation of
     14        A. In this instance, potentially to       14   activities to start putting together a
     15     a targeted number of physicians. This,       15   direct promotion capability, which we did
     16     again, this is just a proposal. This is      16   not have at the time at Actavis.
     17     not a actual activity. We did put            17      Q. But anything that had -- that
     18     activities in place. This is just sort       18   went out to high decile physicians or any
     19     of, I guess, the beginning of that           19   physicians would have gone to DDMAC for
     20     discussion.                                  20   review first?
     21        Q. And you don't recall whether           21      A. Again, the -- the process -- any
     22     this was implemented or not?                 22   communication to a physician would have to
     23        A. Again, there's nothing to              23   be on label and would have to be through a
     24     implement here. It just says I would         24   regulatory review, a legal review


                                          Page 171                                          Page 172
      1    potentially, some sort of internal review,     1   the past. I don't know if they used it
      2    and then it would go -- it would be            2   for years.
      3    submitted to DDMAC, which is the FDA group     3          And, again, but even that, and
      4    that any sort of deemed promotional            4   like the thing you had before where you
      5    material you would send to in the normal       5   see the Alpharma -- or, Actavis is put on
      6    course of business. So yes.                    6   it. Any time you make any adjustment to a
      7       Q. And, do you see the next                 7   piece of material, you do submit it to
      8    sentence you state: For sake of time, we       8   DDMAC. So we wouldn't have just send
      9    should not try to create any new copy as       9   stuff -- well, I don't know to speak for
     10    that will require internal and DDMAC          10   that.
     11    review.                                       11          But, yes, we would do -- any
     12           Do you see that?                       12   time you do something new, of course it
     13       A. Yes.                                    13   requires more iteration. So if you took
     14       Q. So, were you using materials            14   something that existed before that had
     15    that had come from Alpharma?                  15   been in the field for quite some time, my
     16       A. Again, in this specific email,          16   belief would have been it would be much
     17    this is just a proposal. So I -- at some      17   more -- it would have been faster to
     18    point, I believe we did utilize or            18   implement. That doesn't mean that's what
     19    repurpose the materials that Alpharma had     19   we did. So, this is just an email about
     20    used in the past. We -- we got that as        20   ideas.
     21    part of the -- the material with no           21      Q. So you don't recall whether it
     22    information about them and then we -- we      22   was implemented or not?
     23    may or may not have used some of that         23          MS. WELCH: Objection to form.
     24    material that Alpharma had been using in      24      A. I believe we did something. I'm


                                                                  43 (Pages 169 to 172)
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                                          Page 173                                           Page 174
      1     not certain what we did was what I had        1   subject matter expert. We have people in
      2     proposed in this.                             2   regulatory and the marketing teams and
      3            Again, by the way, it wasn't --        3   third parties and legal who actually are
      4     at the end of the day, it wasn't really my    4   the subject matter experts and they're the
      5     decision. It would be Terry's and the         5   ones who determine what does or doesn't
      6     brand team to come up with the best           6   get presented to -- to, in this instance
      7     recommendation for how to message to the      7   on brand products, to physicians.
      8     physician community.                          8           None of our generic stuff goes
      9        Q. Sure.                                   9   to physicians. It's targeted more to
     10            But Terry reports to you. So          10   the -- the channel, the wholesalers or
     11     ultimately you have to approve it.           11   pharmacists to be aware that our product
     12            Isn't that right?                     12   is available. They should ask for it.
     13            MS. WELCH: Objection to form.         13      Q. And, so, it goes on to state: I
     14        A. I wouldn't necessarily have to         14   believe there are approximately 20,000 key
     15     approve a letter to physicians.              15   prescribers. So if you figure 10 to $20
     16            Again, and, by the way, I'm not       16   per item, it should be under 500,000.
     17     the reviewer on that. Again, it would be     17           Correct?
     18     our PRC or whatever you'd call it,           18      A. That's what it says.
     19     promotional review committee. There's        19      Q. And, how would a prescriber
     20     different acronyms for it.                   20   be -- which prescribers are key
     21            Actually, I would not be              21   prescribers?
     22     reviewing and improving. I might be          22      A. It could potentially be
     23     signing off on the invoice subject to the    23   practices that prescribe a lot of pain
     24     expense level, but the content, I'm not a    24   medications or it could be practices that

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      1     have prescribed historically a lot of         1   FDA-approved medication, sort of a
      2     Kadian, which again go back to the third      2   specific medical need and a product that
      3     party data from Wolters Kluwer or from        3   had been prescribed quite often for quite
      4     IMS.                                          4   a long time.
      5             And, you know, again, in this         5      Q. And the purpose was to increase
      6     document, I am providing my perspective,      6   the number of scripts, correct?
      7     but it's not fact-based, I mean.              7      A. The purpose here, again in
      8        Q. And the purpose of that was to          8   March -- in March of 2009, was to try to
      9     increase scripts, correct?                    9   slow down the rate at which the scripts
     10        A. The purpose, based on these            10   for Kadian were declining. We had full
     11     emails, is we were not -- we were seeing a   11   expectation that the scripts for Kadian
     12     decline in our -- in our Kadian scripts      12   were going to decline over time. We had
     13     from the time we had acquired the asset      13   no sales organization. Alpharma had a
     14     because we did not -- we had no share of     14   sales organization of maybe 400 people who
     15     voice. We had no participation in -- in      15   were out there actively detailing this
     16     the market. So, the other folks who were     16   product of their class of products. Our
     17     also in the same space were telling          17   understanding was Endo had about 600 sales
     18     physicians, telling wholesalers that our     18   representatives. And, as you're
     19     product was discontinued, it was no longer   19   well-aware, we ended up putting a small
     20     available. So, we -- we believed it made     20   contract sales organization of about 18,
     21     sense to find some way to remind, to         21   initially 18 sales representative in the
     22     announce, to let physicians know that our    22   field. So 18 against 400 or 600. We had
     23     product was still available, that Kadian,    23   no aspirations that we were going to
     24     which, by the way, served a, you know, an    24   increase the scripts. We were trying to


                                                                  44 (Pages 173 to 176)
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                                          Page 177                                         Page 178
      1    slow down the rate in which prescriptions     1   down the rate at which the Kadian
      2    stopped. And, in fact, we had third           2   prescriptions were declining.
      3    parties who had come and provided us          3      Q. Did you find a partner to do
      4    presentations that potentially had all        4   that?
      5    sorts of different curves for if we did no    5      A. You didn't let me finish my
      6    promotion or certain levels of promotion,     6   answer.
      7    what would it -- what it might mean for       7      Q. Go ahead.
      8    scripts for this product.                     8      A. We opted to -- to not do that.
      9       Q. And, do you see the next                9   We -- you know, and the idea of a second
     10    sentence states: On a strategic front, I     10   slot is you find someone who's out in the
     11    would propose that we find a detail          11   space and you basically offer them the
     12    partner for a number two slot with script    12   ability to detail your product and you pay
     13    gain incentive program?                      13   them some sort of commission or some sort
     14       A. Yes.                                   14   of incentive. We did not go down that
     15       Q. And, so, who was the detail            15   path. So, again, these are ideas that
     16    partner, if anyone, that you used for --     16   were being floated.
     17    for this script gain incentive program?      17           We decided, as I mentioned, we
     18       A. We didn't.                             18   decided to engage in 18 -- a third party
     19       Q. You recall that you didn't find        19   called inVentiv, and we engaged initially
     20    anybody?                                     20   with 18 sales representatives who would be
     21       A. No. Again, I -- again, this            21   dedicated exclusively on Kadian.
     22    whole email that I wrote to Terry and to     22      Q. So inVentiv was the detail
     23    Kevin was basically some ideas as to maybe   23   partner?
     24    things we should look at to try to slow      24      A. Again, in this email, what I

                                          Page 179                                         Page 180
      1    meant by detail partner, that would have      1   really good sales type telemarketers.
      2    been another branded pharmaceutical           2           Do you see that?
      3    company.                                      3       A. Yeah. Yes.
      4       Q. I see.                                  4       Q. Does this refresh your
      5       A. We opted not to partner.                5   recollection that telemarketing was at
      6           We opted to basically contract         6   least considered?
      7    for our own. And that's what CSO stands       7           MS. WELCH: Objection to form.
      8    for is contract sales organization.           8      A. I believe the earlier questions
      9    InVentiv was a contract sales                 9   you were asking about telemarketing
     10    organization.                                10   related to generic products. This is not
     11       Q. I see.                                 11   a generic. This is a brand item.
     12       A. After the work we had done in          12           So yes, telemarketing was -- is
     13    the analysis, we decided that that was a     13   one of the multiple techniques that
     14    better path forward.                         14   branded pharmaceutical companies do. And
     15       Q. If you move a little further           15   the reason you do telemarketing, as I
     16    down in the email from Terrence Fullem to    16   described with the deciling is, at some
     17    you and Kevin Bain.                          17   point, your sales force can only
     18       A. Yep.                                   18   effectively call on a certain number of
     19       Q. Halfway through the first              19   doctors and your sales force is more
     20    paragraph he states: There are various       20   expensive and you basically use a
     21    telemarketing outfits available and one of   21   telemarketing to potentially cover
     22    the points we will have to make a judgment   22   additional doctors. It's less effective.
     23    call on is whether we want physician based   23   It's -- and basically you're sort of
     24    telemarketing such as Triple i provides or   24   balancing the investment in promotion with


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                                                     Page 181                                      Page 182
      1    the potential benefit from the customer,              1          Do you see that?
      2    from the physicians.                                  2       A. Yes.
      3          MS. BAIG: We'll have this                       3       Q. And those would be the 9,000
      4      document marked as Exhibit 10. It's                 4   physicians that were targeted high decile
      5      Bates stamped ALLERGAN_MDL_01725566                 5   physicians from the Wolters Kluwer or IMS
      6      through 5569. It's from you to                      6   data that we discussed?
      7      Natalie Leitch, Kevin Bain and                      7          MS. WELCH: Objection to form.
      8      Terrence Fullem and others dated March              8          MR. DIAMANTATOS: Foundation.
      9      11th, 2009.                                         9       A. That's not how I read it.
     10          (Boothe Exhibit 10, email dated                10       Q. How do you read it?
     11      March 11, 2009, Bates No.                          11       A. Again, my email says: My only
     12      ALLERGAN_MDL_01725566 to 01725569, was             12   reservation is with the number up to 9,000
     13      marked for identification, as of this              13   and 250,000 cards.
     14      date.)                                             14          The next thing it says: The
     15          THE WITNESS: Okay.                             15   physician segmentation at less than 4,000
     16    BY MS. BAIG:                                         16   physicians generates 70 percent of the
     17      Q. It appears to be an email string                17   scripts.
     18    addressing the $50 co-pay coupon that we             18          So, for my comment before about
     19    already discussed.                                   19   deciling, I am suggesting that this
     20          Correct?                                       20   program is bigger than it needs to be.
     21      A. Yes.                                            21   Doesn't need to be 9,000 physicians, based
     22      Q. And, in the first line it                       22   on the deciling, and then there's more to
     23    references a mass distribution to up to              23   it.
     24    9,000 physicians.                                    24       Q. Because the 4,000 physicians are

                                                     Page 183                                      Page 184
      1     generating 70 percent of the scripts, a              1   volume.
      2     lot of the scripts, right?                           2          Do you see that?
      3        A. Yes. And it -- I went on and                   3      A. Yes.
      4     based on whatever data someone had shared            4      Q. And to increase average length
      5     with me or 50 -- half the scripts were               5   of therapy persistence.
      6     under 2,000 physicians.                              6          Do you see that?
      7             So, looking at the cost benefit              7      A. Yes.
      8     potentially, this program could be even              8      Q. Does this refresh your
      9     2,000 prescription -- physicians. It                 9   recollection that one of the purposes of
     10     could be 1,000 physicians. It could be 20           10   the coupon program was to increase the
     11     physicians. It really depends on                    11   duration, the average length of therapy
     12     potentially what the --                             12   persistence?
     13        Q. How many scripts they're                      13      A. No.
     14     writing?                                            14      Q. Why not?
     15        A. Potentially.                                  15      A. Well, again, you're -- you're
     16        Q. If you look at the second page.               16   reading me back the proposal from third
     17        A. Yep.                                          17   party Triple i. That doesn't mean we did
     18        Q. It talks about the Triple i                   18   this or we used it.
     19     agreement, and under "Overview" it                  19      Q. This email is from Natalie
     20     discusses objectives in the first bullet.           20   Leitch, correct?
     21             Do you see that?                            21      A. Yes.
     22        A. Yes.                                          22      Q. So this is her understanding of
     23        Q. And it states as an objective:                23   what the objectives were.
     24     To increase new therapy starts and script           24          Is that right?


                                                                         46 (Pages 181 to 184)
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                                          Page 185                                        Page 186
      1       A. She could have cut and pasted           1      A. Yes.
      2    that from a Triple i presentation. I          2      Q. And then where she goes on to
      3    don't know for certain.                       3   state objectives and then after that she
      4       Q. So, do you think Triple i's             4   states: 9,000 physicians targeted.
      5    objectives in issuing the coupon that you     5           Do you see that?
      6    hired it to issue were different from your    6      A. That's what she wrote.
      7    objectives?                                   7           And, like I said, on the first
      8           MS. WELCH: Objection to form.          8   page, I didn't think that was the right
      9    BY MS. BAIG:                                  9   number. So this isn't the final -- this
     10       Q. From Actavis's objectives?             10   isn't the final agreement or the final
     11           MS. WELCH: Same objection.            11   document.
     12       A. Again, I'm not certain at the          12      Q. And it goes on to state that:
     13    time this email is written if we             13   Each physician in the targeted file will
     14    actually -- I don't think we had a coupon    14   receive call from a customer service rep
     15    program. I think this is related to          15   at Triple i to communicate acquisition of
     16    experience that Triple i had shared with     16   Kadian by Actavis and launch of new card
     17    us when they were doing the co-pay program   17   program.
     18    for Alpharma, or maybe with Dendrite was     18           Do you see that?
     19    another sort of.                             19      A. Yes.
     20       Q. Okay. Well, we see in the first        20      Q. And the new card program, is
     21    sentence: The Triple i agreement is          21   that the $50 coupon program for twelve
     22    undergoing one last internal review.         22   months?
     23           Is it your understanding that         23      A. I believe so, but I'm not
     24    that is a Triple i agreement with Actavis?   24   certain.

                                          Page 187                                        Page 188
      1        Q. And it states: Calls were              1       A. Again, this is what it says.
      2     initiated today.                             2   I'm not certain this is what we did
      3            Do you see that?                      3   'cause, as I note on the earlier chart, I
      4        A. Yes.                                   4   didn't agree, or I had some reservation,
      5        Q. Does that suggest to you that it       5   as I said, with the number of physicians
      6     was underway at this time?                   6   and the number of cards. We may have done
      7        A. Yes.                                   7   a much smaller program. We may have done
      8        Q. And it goes on to state that:          8   a bigger program. I don't know exactly
      9     43,000 pharmacies would receive an email     9   what we ended up doing.
     10     introducing the new program.                10       Q. Sure.
     11            Correct?                             11           It says in the first sentence
     12        A. Yes.                                  12   that this is one last internal review.
     13        Q. And the emails would be sent          13           Right?
     14     March 16th, 2009, which is two days after   14       A. That's what the email says.
     15     this email.                                 15   That doesn't mean that there weren't more
     16            Correct?                             16   internal reviews after the, quote, one
     17        A. Five days after the email, but        17   last internal review.
     18     yes. March 11th is the email.               18           And, look at the bullet point,
     19        Q. Thank you.                            19   it says cards can be used up to twice per
     20            It goes on to state that:            20   month and max at 12 uses. I don't think
     21     270,000 cards to be distributed to          21   that's the program that we put in place
     22     physicians' offices in three separate       22   because it was once per month is what --
     23     mailings.                                   23   or, one new prescription.
     24            Do you see that?                     24           So, again, there were definitely


                                                                 47 (Pages 185 to 188)
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                                          Page 189                                         Page 190
      1    changes to what was ultimately put in         1     Q. And the Triple i total program
      2    place which is what this email is             2   expenses estimated cost was 2.5 million?
      3    suggesting. It could have been the            3     A. Yes. Based on that proposal. I
      4    number; it could have been the amount; it     4   don't believe that that's what we ended up
      5    could have been the duration. It could        5   doing.
      6    have been all those things.                   6     Q. But you don't recall how it
      7       Q. Do you recall what the changes          7   changed, correct?
      8    were?                                         8     A. No.
      9       A. No.                                     9     Q. If at all.
     10       Q. The next bullet says: Patients         10          (Pause.)
     11    can also request a card directly from        11          MS. WELCH: Aelish?
     12    Triple i by calling their customer service   12          MS. BAIG: Aelish (different
     13    line or by completing/submitting a           13     pronunciation).
     14    registration form available on the Kadian    14          MS. WELCH: Aelish. Sorry.
     15    website.                                     15          Maybe ten more minutes and then
     16           Do you see that?                      16     a lunch break?
     17       A. Yes.                                   17          MS. BAIG: Sure. Whenever you
     18       Q. And then there's a note about          18     like lunch is fine. We can go now, if
     19    cards being able to be used up to two        19     you want.
     20    times per month up to a max of twelve uses   20          THE WITNESS: No, I'm okay.
     21    and that the cards expire December 31st,     21          MS. BAIG: Okay.
     22    2009.                                        22          So, this document is marked as
     23           Correct?                              23     Exhibit 11. It's Bates stamped
     24       A. Yes.                                   24     ACTAVIS965151 through '513, from

                                          Page 191                                         Page 192
      1       Natalie Leitch, starts from Natalie        1      Q. What's your understanding of
      2       Leitch to Jennifer Altier.                 2   what's meant here by generic MS writers?
      3           (Boothe Exhibit 11, email chain        3         What is MS?
      4       ending August 26, 2011, Bates No.          4         MR. DIAMANTATOS: Objection to
      5       ACTAVIS0965151 to 0965154, was marked      5      form; foundation.
      6       for identification, as of this date.)      6      A. I'd be guessing. I don't know.
      7    BY MS. BAIG:                                  7      Q. You don't have any understanding
      8       Q. It appears to be discussing             8   what MS is?
      9    generic MS writers.                           9         MS. WELCH: Objection to form.
     10           Do you see that?                      10   BY MS. BAIG:
     11       A. MS writers?                            11      Q. In this context?
     12       Q. I'm looking at the second page,        12         MR. DIAMANTATOS: And
     13    second paragraph: Our focus once again is    13      foundation.
     14    on the high volume generic MS writers. We    14      A. I thought it would be multiple
     15    now --                                       15   sclerosis, but I don't think that's it.
     16       A. Where is this?                         16   So no.
     17       Q. Second paragraph, second page:         17      Q. In the next paragraph it says:
     18    We now need to understand the MC coverage    18   We are pushing hard on the MC front.
     19    in these new territories to make certain     19         Do you know what that is?
     20    Kadian is not disadvantaged. The goal is     20         MR. DIAMANTATOS: Objection to
     21    to have folks in the field, assuming we      21      form; foundation.
     22    don't uncover problems relating to MC        22      A. I would take that as managed
     23    before the end of September.                 23   care.
     24       A. Okay.                                  24      Q. And a little further down it's


                                                                 48 (Pages 189 to 192)
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                                          Page 193                                         Page 194
      1    an email from you to Natalie Leitch noting    1   prescriptions?
      2    that you're losing momentum with respect      2      A. TRX I believe means total
      3    to Kadian.                                    3   prescriptions, yes.
      4           Is that right?                         4      Q. Target total prescriptions at
      5       A. That's what the email says: We          5   the post Embeda recall level. This meant
      6    are losing -- we are certainly losing our     6   targets needed to write an average of
      7    momentum here.                                7   1,306 Kadian prescriptions per day for the
      8       Q. And you're talking about Kadian         8   four months ending August. So far the
      9    sales?                                        9   team has managed to do this but only just.
     10       A. Doesn't explicitly say that.           10   They're trending at 1,301 per day.
     11    Again, yeah, so I don't know. More than      11          Do you see that?
     12    likely, but I don't know.                    12      A. Yes.
     13       Q. Do you recall there being a loss       13      Q. Okay. And, so, was this a
     14    in momentum in Kadian sales at around this   14   target of 1,306 Kadian prescriptions per
     15    time?                                        15   day? What was this target?
     16       A. You'd have to show me some             16          MR. DIAMANTATOS: Objection to
     17    documents.                                   17      form; foundation; assumes facts.
     18           I don't specifically recall.          18      A. I'm just reading the same thing
     19       Q. Do you see at the bottom of the        19   you're reading.
     20    first page in the email from Natalie         20          I'm not -- I'm not sure. You'd
     21    Leitch to you it states: Here's rundown      21   have it ask Nathalie, I guess.
     22    of where we're at and what's planned. The    22      Q. You have no understanding of
     23    team's objective coming out of the NSM was   23   what she meant by this?
     24    to maintain target - does TRX mean           24          MR. DIAMANTATOS: Objection.

                                          Page 195                                         Page 196
      1          MS. WELCH: Objection to form.           1      A. I'm not sure. That could be
      2          MR. DIAMANTATOS: Asked and              2   all, the total pool. I'm not sure it's an
      3      answered.                                   3   individual or all the --
      4    BY MS. BAIG:                                  4      Q. The pool, yes. The pool of
      5      Q. As you read it?                          5   targets.
      6      A. No.                                      6          Well, I don't know. Do you
      7      Q. Do you have any understanding of         7   know?
      8    who the targets were?                         8          MR. DIAMANTATOS: Same
      9          MR. DIAMANTATOS: Objection to           9      objections.
     10      form.                                      10      A. I don't know either, no.
     11      A. Not specifically, no.                   11      Q. Okay. Seems like a pretty high
     12      Q. But they would have been                12   target for an individual prescriber.
     13    prescribers, correct?                        13          Wouldn't you agree?
     14      A. The sales force would be calling        14          MR. DIAMANTATOS: Objection to
     15    on physicians. Yes, it be would              15      form; argumentative.
     16    potential -- potential prescribers.          16          MS. WELCH: Objection to form;
     17      Q. And, so, the hope was that each         17      foundation.
     18    potential prescriber would write an          18      A. I have no basis for that.
     19    average of 1,306 Kadian prescriptions per    19      Q. 1,306 prescriptions per day?
     20    day?                                         20          MS. WELCH: Same objections.
     21          MR. DIAMANTATOS: Objection.            21   BY MS. BAIG:
     22          MS. WELCH: Objection;                  22      Q. Would you agree that that would
     23      foundation.                                23   be awfully high for an individual
     24          MR. DIAMANTATOS: Assumes facts.        24   prescriber?


                                                                 49 (Pages 193 to 196)
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                                         Page 197                                           Page 198
      1           MR. DIAMANTATOS: Same                  1           Do you see that?
      2       objections.                                2      A. Yes.
      3           MS. WELCH: Objection to form;          3      Q. And then a little further down
      4       foundation.                                4   there's a question from you: What can we
      5       A. I have no basis to say one way          5   do to reestablish our script level over
      6    or the other.                                 6   26,000 per week?
      7       Q. Whether 1,306 Kadian                    7      A. Yes.
      8    prescriptions per day would be awfully        8      Q. And that was Kadian scripts?
      9    high for an individual prescriber?            9      A. It's not clear, but I think
     10           MS. WELCH: Objection to form;         10   that's a yes. But it could be Kadian and,
     11       foundation.                               11   by the way, generic Kadian. I believe in
     12           MR. DIAMANTATOS: Asked and            12   the August of 2011 time frame, there was
     13       answered; argumentative.                  13   generic Kadian and our authorized generic.
     14    BY MS. BAIG:                                 14   So it's potential or probable it was both
     15       Q. You don't know?                        15   combined, both branded Kadian and the
     16       A. No, don't know.                        16   generic Kadian if, at that time, the
     17       Q. Do you see on the -- at the top        17   generic Kadian was available.
     18    of the second page it states: We added       18      Q. Okay. And a little further down
     19    new high volume generic MS writers to each   19   you write: Have we scratched any ideas
     20    of the territories at the end of July.       20   around speakers forums?
     21    The response from these writers to our       21           Do you see that?
     22    message has been positive so far. We're      22      A. Yes.
     23    looking to this segment to drive growth      23      Q. And, had you scratched any ideas
     24    over the coming months.                      24   around speakers forum at that time for the

                                         Page 199                                           Page 200
      1     promotion of Kadian?                         1   invested. That's why we used a contract
      2        A. I don't know.                          2   sales organization. We tried to, again,
      3        Q. You don't recall learning that?        3   slow down the rate at which prescriptions
      4        A. I think that's why I asked the         4   were declining. That was our plan.
      5     question had we. I was asking Nathalie,      5      Q. The contract sales organization
      6     this is something the team was               6   inVentiv?
      7     considering. I don't know if they did or     7      A. Correct.
      8     didn't or if they were or they weren't.      8      Q. And, do you recall using
      9        Q. Okay. Do you recall whether or         9   speakers forums for other opioid products?
     10     not Actavis used speakers forums to         10          MS. WELCH: Objection to form.
     11     promote Kadian at any time?                 11      A. We didn't -- I don't think we
     12        A. I don't believe we ever did.          12   ever -- well, we had plans to potentially
     13        Q. Okay. Do you recall any               13   do some sort of speaker forum on the
     14     discussions about that?                     14   Moxduo product, but that never got
     15        A. There may have been discussions       15   approved by the FDA. So the programs
     16     I may or may not have been part of. But,    16   never went into -- into place. We had
     17     again, at the end of the day, I don't       17   done prelaunch planning on that. And
     18     believe we ever did speakers forums for     18   those are the only two items, both the
     19     this product.                               19   Kadian brand and the potential Moxduo,
     20             I mean, we had a very finite        20   which would have been in promotional
     21     period of time from when we acquired the    21   activities of Actavis. Moxduo was never
     22     asset to when we expected the generic       22   approved, and I don't believe we ever did
     23     market to form. It's about six quarters.    23   speaker forums on Kadian.
     24     So I -- we never were significantly         24          MS. BAIG: Okay. Good time to


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                                         Page 201                                          Page 202
      1      take lunch.                                 1          (Boothe Exhibit 12, email chain
      2          MS. WELCH: Okay.                        2      ending February 20, 2013, with
      3          MS. BAIG: How much time would           3      attachment, Bates No. ACTAVIS1025294
      4      you like?                                   4      to 1025297, was marked for
      5          MS. WELCH: 45 minutes.                  5      identification, as of this date.)
      6          MS. BAIG: Sure.                         6   BY MS. BAIG:
      7          THE VIDEOGRAPHER: We're going           7      Q. Do you recall an organization
      8      off the record.                             8   named Technekes?
      9          The time is 12:29 p m.                  9      A. No.
     10          (Luncheon recess taken.)               10      Q. You haven't heard of them?
     11                 - - -                           11      A. Nope.
     12        AFTERNOON SESSION                        12      Q. Okay. It appears this is an
     13                 - - -                           13   email string about Kadian. Starts off:
     14          THE VIDEOGRAPHER: We're going          14   Erin and Liz. Please find attached the
     15      back on the record.                        15   updated list of Kadian field targets to
     16          The time is 1:17 p.m.                  16   now be called on by Technekes.
     17          MS. BAIG: So, we'll have this          17      A. So, this document is dated 2013.
     18      document marked as the next exhibit,       18      Q. Correct.
     19      please.                                    19      A. I was no longer with the company
     20          It's Bates stamped                     20   at this time.
     21      ACTAVIS1025294 through '297. It            21      Q. Aha.
     22      starts as an email from Jennifer           22          What -- this is February 20th,
     23      Altier to Erin Faucette and Liz Reese      23   2013, and you left at the end of 2012.
     24      at an organization named Technekes.        24          Is that right?


                                         Page 203                                          Page 204
      1       A. Correct.                                1   document that would be generated from IMS?
      2       Q. Okay. If you'd just take a look         2           MS. WELCH: Objection to form;
      3    at the second page of the document.           3      foundation; speculation.
      4            Did you ever see a document like      4      A. I don't know.
      5    this when you were at Actavis? It appears     5      Q. Okay. So, I believe you
      6    to be a list generated perhaps by one of      6   testified earlier that Actavis was using
      7    the data organizations that you've talked     7   Kadian sales rep to detail opioids to
      8    to -- talked about earlier generating a       8   doctors, correct?
      9    list of physicians.                           9      A. Yes.
     10            (Pause.)                             10      Q. And -- and that those sales reps
     11       A. What's the question, sorry?            11   came from inVentiv?
     12       Q. Have you ever seen a document          12      A. Yes.
     13    like this attachment here starting on the    13      Q. And, who trained the inVentiv
     14    second page?                                 14   sales reps?
     15            MR. DIAMANTATOS: Objection to        15           MS. WELCH: Objection;
     16       form.                                     16      foundation.
     17       A. Not that I can recall.                 17      A. There was --
     18       Q. Okay. And my read of this email        18      Q. Well, if anyone trained them,
     19    is that this is a document that has been     19   who trained them?
     20    identified -- that is identifying high       20      A. They were inVentiv --
     21    prescribers that is being used to generate   21           MS. WELCH: Objection.
     22    Kadian field targets to be called on by      22      Objection to form; argumentative;
     23    Technekes.                                   23      foundation.
     24            Does this appear to be a type of     24           Go ahead.


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                                         Page 205                                          Page 206
      1       A. So, again, the -- the decision          1   and the oversight and that would be the
      2    to utilize inVentiv was that they were a      2   marketing team. It would be the
      3    professional contract sales organization      3   compliance team. It would be regulatory,
      4    who had infrastructure, had compliance,       4   and, again, our compliance officer and it
      5    had training, had car service, had expense    5   would be legal.
      6    reimbursement, had Sunshine Act, and then     6      Q. So, all of those teams would
      7    they would source experienced professional    7   have been involved in preparing materials.
      8    pharmaceutical sales reps, and we would       8           Is that what you're saying?
      9    provide content. Again, in the instance       9   That could have been used by the sales
     10    of Kadian, it was the label information.     10   reps?
     11    And then they would, again, be in the        11           MS. WELCH: Objection to form.
     12    field.                                       12      A. Potentially.
     13            So, I -- the answer to your          13      Q. Okay. But which teams would be
     14    question is some of the materials came       14   involved with in-person training of sales
     15    from Actavis and some of the materials       15   reps, if any?
     16    were -- were reviewed and agreed to with     16      A. Again, all those four. I mean,
     17    inVentiv. So a combination of both.          17   my recollection is that, in addition to
     18       Q. Okay. And, who at Actavis would        18   the initial training, there would be
     19    have had involvement with training           19   regular sales meetings or things that
     20    inVentiv employees?                          20   pharma companies call them POAs or RSMs.
     21       A. Well, again, you -- I believe          21   In all those meetings, there would always
     22    that inVentiv trained their employees, but   22   be a regulatory person, a legal person, a
     23    again, that Actavis personnel were           23   compliance person involved.
     24    involved in the materials and the content    24           So, if there was any training


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      1    done outside the initial training, it         1   were in attendance were from which of the
      2    was -- it was overseen with appropriate       2   different organizations.
      3    qualified Actavis personnel.                  3      Q. Okay. Right.
      4       Q. Okay. And, do you know who --           4          But without a document in front
      5    which people from Actavis would have been     5   of you, you cannot tell me any names of
      6    involved in that?                             6   any people that would have been in
      7       A. Again, you'd have to ask me, you        7   training the inVentiv sales -- salespeople
      8    know, a specific event or a specific          8   face-to-face?
      9    meeting.                                      9          MS. WELCH: Objection to form.
     10           I -- like I say, it would be          10   BY MS. BAIG:
     11    someone from our regulatory organization,    11      Q. Correct?
     12    someone from our legal organization,         12      A. Again, subject to the specific
     13    someone from our branded side sales          13   time and place. I mean, again --
     14    organization, and compliance.                14      Q. I'm just -- I'm not talking
     15       Q. Okay. But you can't tell me any        15   about a specific meeting. I'm talking
     16    names of any people at this point.           16   about generally training the inVentiv
     17           Is that right?                        17   sales force.
     18           MS. WELCH: Objection to form.         18          Who at the company would have
     19    BY MS. BAIG:                                 19   done that?
     20       Q. That would have been involved --       20          And you've given me a number of
     21       A. That's not what I said. I just         21   departments a few times. I'm just
     22    said if you gave me a specific meeting or    22   wondering if you know which individuals
     23    instance, I could probably look at the       23   from any of those departments would have
     24    materials, let you know who -- which who     24   actually had the responsibility for doing


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                                         Page 209                                           Page 210
      1    that.                                         1    involvement in training Kadian sales reps,
      2      A. Like I say, I know who the               2    right?
      3    people were in the specific groups and        3       A. Absolutely not.
      4    subject to the time, I could confirm.         4       Q. And you wouldn't have had any
      5    You're asking me to provide specifics, and    5    involvement in reviewing materials which
      6    absent a specific instance, I'm less          6    were presented to Kadian sales reps, or
      7    familiar with the specifics.                  7    would you?
      8           I know who ran the regulatory          8           MS. WELCH: Objection to form.
      9    group. I know who ran the legal group. I      9       A. I may have seen them, but I
     10    know who was the sales marketing people.     10    wouldn't have been involved in reviewing
     11    You obviously mentioned Ms. Leitch, so she   11    them or definitely not involved in
     12    would have been involved.                    12    approving them.
     13      Q. Would Ms. Altiers -- Altier have        13           And, again, I -- well, go ahead.
     14    been involved as well?                       14       Q. Were you aware that the Kadian
     15      A. She may or may not be. Like I           15    marketing department was using Alpharma
     16    say, she wasn't an employee. She -- I        16    marketing materials?
     17    believe we brought her in to Actavis in      17           MR. DIAMANTATOS: Objection;
     18    2011 or 2012. I -- so, at some point, she    18       form; assumes facts.
     19    would have been involved, but I don't        19       A. When we first acquired the
     20    believe initially.                           20    asset, we did utilize -- when we decided
     21           And you didn't provide a              21    to go with some materials into the
     22    specific time or instance. So in 2009,       22    physicians, we did utilize or repurpose
     23    Miss Altier was not involved.                23    the existing Alpharma materials that had
     24      Q. You wouldn't have had any               24    been, to our understanding, had been in

                                         Page 211                                           Page 212
      1    the field for quite some time, had been,      1   from the FDA.
      2    you know, through a promotional review,       2           MS. BAIG: All right. Let's
      3    had been through Alpharma's legal,            3      have this document marked -- marked as
      4    regulatory, compliance departments and had    4      the next exhibit. It's Bates stamped
      5    been submitted to DDMAC. And then when we     5      ALLERGAN_MDL_00026060 through '092.
      6    repurposed those things, and I believe we     6      It starts as an email from Jennifer
      7    added the Actavis logo because we had a       7      Altier to Tom Johnson.
      8    limited period of time to utilize the         8           So, this is Exhibit Number 13.
      9    Alpharma trade dress. We also then            9           (Boothe Exhibit 13, email dated
     10    submitted the revised logo, none of the      10      August 2, 2012, with attachment, Bates
     11    content changed, to the best of my           11      No. ALLERGAN_MDL_00026060 to 00026092,
     12    knowledge, also to DDMAC.                    12      was marked for identification, as of
     13       Q. And, at some point, was Actavis        13      this date.)
     14    required to change its marketing materials   14   BY MS. BAIG:
     15    for Kadian?                                  15      Q. The subject is "Slides for
     16            MS. WELCH: Objection to form.        16   today's conference call." The attachments
     17       A. There was a -- there was a time        17   noted are "Kadian detail aid suggestions
     18    when Actavis received a warning letter       18   revised, Kadian detail pieces and
     19    based on the materials that had come from    19   comments."
     20    Alpharma, and we responded to that warning   20           And, if you flip through, you
     21    letter that we modified -- we modified the   21   can see it starts Kadian detail at --
     22    materials, but your question was were we     22   sorry. Kadian detail aid expansion August
     23    required. We weren't required. We made       23   2nd, 2012. Ivan T. Shaw's name is on it.
     24    the decision to comply with the request      24           Do you know who Ivan Shaw is?



                                                                  53 (Pages 209 to 212)
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                                          Page 213                                          Page 214
      1         A. I'm still reviewing the                1   team in conjunction with regulatory,
      2     document.                                     2   compliance and legal would develop, again
      3             (Perusing document.)                  3   submit it to DDMAC, and once it was
      4             Two different documents here.         4   determined to be able to share with the
      5         Q. Well, there's two attachments          5   sales organization, would be provided to
      6     noted. If you -- if you look at the           6   the sales organization as a content piece
      7     subject line and the attachments indicated    7   to aid them in discussions with
      8     on the first page.                            8   physicians.
      9         A. Okay. Yeah.                            9      Q. Do you know whether this -- if
     10         Q. All right. Who's Ivan Shaw; do        10   you flip through to the next page after
     11     you know?                                    11   the first page of the Power Point you see
     12         A. I have no idea.                       12   current detail at -- aid August 9th, 2010.
     13         Q. Okay. What's your understanding       13          Do you see that?
     14     of what this document is?                    14      A. Yes.
     15             MS. WELCH: Objection to form.        15      Q. And, I mean, I'll tell you that
     16         A. This is the first time I've seen      16   my read is that this is some sort of
     17     it, so.                                      17   expansion to the current detail aid, and
     18             It says Kadian detail aid            18   I'm wondering if this was done as a result
     19     expansion.                                   19   of the communications with DDMAC that you
     20         Q. What is a detail aid expansion?       20   just referenced.
     21             MS. WELCH: Objection to form;        21          MR. DIAMANTATOS: Objection to
     22         foundation.                              22      form.
     23         A. A detail aid would be something       23          MS. WELCH: Objection to form;
     24     that the -- the branded marketing or sales   24      foundation.


                                          Page 215                                          Page 216
      1    BY MS. BAIG:                                   1      Q. Well, I'm just reading the front
      2       Q. Or if this is something                  2   page where it says "Expansion." It says
      3    different.                                     3   "Kadian detail aid expansion."
      4           MS. WELCH: Same objections.             4      A. That means it could be bigger
      5           MR. DIAMANTATOS: Assumes facts.         5   piece of paper. That's an expansion,
      6       A. I'd say it's something different         6   potentially.
      7    because this is in 2012 and what I was         7      Q. Is that how you read this
      8    speaking to was in 2009 or 2010.               8   document?
      9       Q. Okay. Do you have an                     9      A. Do you want me to read every
     10    understanding as to how the detail aid was    10   page? I'll take my time and go through it
     11    being expanded?                               11   and provide you my feedback.
     12           MS. WELCH: Objection to form;          12      Q. I'm just wondering how you read
     13       foundation; assumes facts not in           13   detail aid expansion.
     14       evidence.                                  14          Is that a term -- a term of art,
     15    BY MS. BAIG:                                  15   that you're aware of, or not?
     16       Q. If it was.                              16      A. Again, I'm not sure what --
     17           MS. WELCH: Same objections.            17      Q. It's not a term of art I'm aware
     18       A. No.                                     18   of.
     19       Q. And you don't recall any sort of        19      A. Great.
     20    expansion of the detail aid at around that    20      Q. What's ABM?
     21    time, correct?                                21      A. Where is that?
     22       A. I don't even know what you mean         22      Q. ABM comment. It's on page 1 of
     23    by expansion.                                 23   the second document, which is '085, the
     24           But no.                                24   Bates number ending in '085.


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                                          Page 217                                          Page 218
      1        A. I don't know.                           1          Do you see that?
      2        Q. And if you see the next page,           2     A. That's what it says.
      3     there's a reference to the co-pay card and    3     Q. Do you know if there was ever a
      4     brochure.                                     4   movement from a $50 co-pay off with a
      5        A. Yes.                                    5   maximum of $600 to a maximum of $1200?
      6        Q. And that's the $50 coupon that          6          MS. WELCH: Objection to form;
      7     we talked about earlier.                      7     foundation.
      8             Is that right?                        8     A. No.
      9             MS. WELCH: Objection to form;         9     Q. So you don't know if there was
     10        foundation.                               10   ever a newer co-pay card that reads $1200
     11        A. I'm not sure.                          11   off per year?
     12             It's in 2012, so I don't know if     12     A. Yes.
     13     that's the program that was still in place   13          If you want to show it to me, I
     14     or not.                                      14   could take a look at it, but I'm not
     15        Q. And, do you see at the top it          15   familiar with that.
     16     states, the top of that page it states:      16     Q. Okay. You don't recall the
     17     My only suggestion would be to go back to    17   co-pay card changing in that way ever?
     18     the co-pay card that says $50 off as it      18     A. I don't specifically remember,
     19     gave a clear concise message. With the       19   but if you have something to show me, I'd
     20     new co-pay card that reads $1200 off per     20   be happy to review it.
     21     year, offices are confused by the            21     Q. Do you remember generally the
     22     breakdown per month. By the time the         22   co-pay card being expanded or changed in
     23     patient receives the co-pay card, the $50    23   any way, or no?
     24     off per prescription is lost.                24          MS. WELCH: Objection to form;

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      1       foundation.                                 1   generic drug was still available for
      2       A. Not that I'm aware of.                   2   medically necessary patients, because the
      3           (Pause.)                                3   Endo team was out. They had discontinued
      4       Q. Do you recall that Kadian sales          4   and said it was no longer available.
      5    reps were used to market oxymorphone ER at     5      Q. And you were doing that so as to
      6    all?                                           6   maximize the company's results, correct?
      7           MS. WELCH: Objection to form.           7           MS. WELCH: Objection to form.
      8       A. Oxymorphone ER, I believe there          8      A. We were doing that to let
      9    was a period of time when we asked the         9   physicians know that that product was
     10    Kadian sales team to send a message, or to    10   still available because others were saying
     11    deliver a message of availability that        11   that it had been discontinued, it was no
     12    that product was still available. I don't     12   longer available.
     13    think that would be -- in my world,           13           And, again, it was an
     14    constitute as marketing or promotion. It      14   FDA-approved medicine for medical
     15    was a availability reminder.                  15   necessity.
     16           We had a situation where the           16      Q. And, was the sales team -- did
     17    brand company, which was Endo, had removed    17   the sales team receive compensation that
     18    the -- certain strengths of their branded     18   was tied to increasing scripts for
     19    oxycodone ER. They had multiple other         19   oxymorphone ER?
     20    strengths. And we were the only generic       20           MS. WELCH: Objection to form;
     21    selling, or one of a few generics selling     21      foundation.
     22    those other strengths. We wanted to make      22      A. Not that I'm aware of.
     23    certain that the physician community was      23           It was, again, it was a reminder
     24    made aware that that approved available       24   as part of visiting a physician's office


                                                                  55 (Pages 217 to 220)
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                                          Page 221                                          Page 222
      1    with a primary focus on Kadian. Then it        1      A. Which page?
      2    was a reminder of -- there may have been a     2      Q. The fourth page in.
      3    leave-behind, I don't know, to say the         3          In which she asks for a time
      4    product was still available.                   4   slot for oxymorphone ER training at your
      5           MS. BAIG: Let's have the next           5   upcoming sales meeting.
      6       document marked as Exhibit 14.              6          Do you see that?
      7           It's Bates stamped                      7          MS. WELCH: What's the Bates
      8       ACTAVIS0506794 through '814. It             8      number?
      9       starts as an email from you to Michael      9          MS. BAIG: The Bates stamp
     10       Perfetto dated July 15th, 2011. The        10      number ends in '798.
     11       subject is "Sales rep training             11   BY MS. BAIG:
     12       material draft."                           12      Q. Middle of the page.
     13           (Boothe Exhibit 14, email chain        13      A. Mm-hm.
     14       ending July 15, 2011, with attachment,     14      Q. Do you see where Jinping is
     15       Bates No. ACTAVIS0506794 to 0506814,       15   asking for a time slot for oxymorphone ER
     16       was marked for identification, as of       16   training at your upcoming sales meeting?
     17       this date.)                                17      A. Yes.
     18           THE WITNESS: (Perusing document.)      18      Q. Okay. And it suggests that Ara,
     19           Okay. Yeah.                            19   I believe that's Ara Aprahamian, would
     20    BY MS. BAIG:                                  20   deliver the training if no one objects.
     21       Q. If you look at the fifth page           21          Do you see that?
     22    in, you see an email from Jinping             22      A. Yes.
     23    McCormick to Nathalie Leitch and Terrence     23      Q. What was Ara's position again?
     24    Fullem.                                       24      A. Ara was in our pricing and

                                          Page 223                                          Page 224
      1     contracts group, part of our sales            1   bank.
      2     organization under Mike Perfetto. Generic     2           Do you see that?
      3     sales organization.                           3      A. Yeah.
      4        Q. And then, if you move to the            4      Q. Does that suggest to you that --
      5     page before in the email from Michael         5   that there was going to be a bonus plan
      6     Perfetto to Jinping and others, there's a     6   for the sales reps for their sales of
      7     query: Have we all agreed upon the bonus      7   oxymorphone ER?
      8     plan for this?                                8           MR. DIAMANTATOS: Objection to
      9            Do you see that?                       9      form; foundation.
     10        A. Yes.                                   10      A. Again, that was -- it appears
     11        Q. And there's a suggestion of            11   that that's what Mike was proposing. I'm
     12     ideas. I now -- he goes on to state: I       12   not certain if we ever put it into
     13     know I suggest a few different idea.         13   applies.
     14            Do you see that?                      14           And again, Mike ran the generics
     15        A. Yeah.                                  15   team. So these may be for generics sales
     16        Q. And he states: I would prefer a        16   rip, which again, he had five sales
     17     contest for the top five or ten reps based   17   representatives under his group calling on
     18     on percentage group of scripts on this       18   the generic accounts. It's not clear to
     19     product.                                     19   me if this is for the Kadian team or not.
     20            Do you see that?                      20   It's a proposal. It may or may not have
     21        A. Yeah.                                  21   happened.
     22        Q. And he goes on to state: But           22           And, again, you got Nathalie and
     23     I'm open to any and all ideas that           23   Terry and others involved. So, I don't
     24     maximize our results with not breaking the   24   specifically recall if we did this or not.


                                                                  56 (Pages 221 to 224)
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                                          Page 225                                          Page 226
      1    So if there's a document that shows that       1         You don't recall whether it
      2    we did it, or -- I'd be happy to comment       2   happened or not?
      3    on it.                                         3     A. I don't have any specific
      4        Q. So, do you see in the next email        4   recollection, but --
      5    on the next page he's asking Natalie and       5     Q. And, do you see on the second
      6    Terry for a slot at their meeting.             6   page of the entire document at the very
      7            Does that suggest to you that          7   bottom it says: Nathalie suggested a
      8    it's a meeting with Kadian sales reps and      8   regional TEAL contest.
      9    not the generic sales reps?                    9     A. Where is that?
     10            MR. DIAMANTATOS: Objection.           10     Q. At the very bottom of the second
     11            MS. WELCH: Objection;                 11   page.
     12        foundation.                               12     A. Okay. Yep.
     13        A. Where is that?                         13     Q. And it goes on to state: There
     14        Q. On the next page where he's            14   are four teams.
     15    asking Nathalie -- sorry. Where Jinping       15         Do you see that?
     16    is asking Nathalie and Terry: Can you         16     A. Yes.
     17    please schedule a time slot for               17     Q. Does that -- does that give you
     18    oxymorphone ER training at your upcoming      18   any indication as to which teams are being
     19    sales meeting?                                19   involved in this promotion of oxymorphone?
     20        A. Again, that was Jinping who was        20         MR. DIAMANTATOS: Objection to
     21    in the generic marketing group asking.        21     form --
     22        Q. Yeah.                                  22          MS. WELCH: Objection to form.
     23        A. It may or may not have happened.       23         MR. DIAMANTATOS: -- foundation;
     24        Q. Sure.                                  24     assumes facts.


                                          Page 227                                          Page 228
      1        A. Yeah, I mean, I read this and           1           Does that suggest to you that it
      2     this here are all ideas being generated.      2   was put into place?
      3     Look at the first chart, you see: Meeting     3      A. That's not from me. That's from
      4     is with the 25th. The piece will need to      4   Mike to me.
      5     send through regulatory and legal for         5      Q. Yes.
      6     review and approval.                          6           Does that suggest to you that
      7            So, the extent to which we did         7   this program was put into place?
      8     or didn't ever do this was subject, again,    8      A. It may have been. It may not
      9     to regulatory and compliance approval as      9   have been.
     10     well. We may have done it. We may not        10           I -- if you had the agenda from
     11     have done it. I don't specifically           11   that sales meeting, maybe we could both
     12     remember.                                    12   know the truth.
     13        Q. So, if you go back to the top of       13      Q. So you don't recall one way or
     14     page 2 in the email from Michael Perfetto,   14   another whether the Kadian sales force was
     15     do you see where he states: Fine. I          15   tasked with promoting oxymorphone ER?
     16     don't want to think -- I don't want to       16           MS. WELCH: Objection to form;
     17     overthink this. I approve. Just do it.       17      misstates testimony.
     18            Does that suggest to you that         18      A. I mean, as I said earlier,
     19     this was put into place?                     19   there -- I do have a recollection at some
     20        A. No.                                    20   point we -- we leveraged or utilized the
     21        Q. And, do you see at the beginning       21   Kadian sales team to provide information
     22     of the very first page in your email to      22   that it was available, our FDA-approved
     23     Michael Perfetto it says: FYI only, but I    23   first-in-market generic for these
     24     think it's good.                             24   strengths because the Endo product had --


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                                          Page 229                                         Page 230
      1    Endo discontinued those two strengths. So     1          So, I have no knowledge this is
      2    if there's no -- physicians aren't aware      2   the draft, this is the final, this is what
      3    that the strengths are available, they        3   was or wasn't done. And if it was done,
      4    won't write the script, and therefore         4   you know, again with our legal, compliance
      5    there will be no prescriptions coming to      5   and regulatory review, then fine.
      6    the generic side of the business.             6      Q. And, would you have seen and
      7        Q. And a little further down on the       7   approved any draft that went to the sales
      8    first page, do you see from Jinping           8   reps before it went to them?
      9    McCormick to Perfetto and others it           9      A. No.
     10    states: Attached please find a draft         10          MS. WELCH: Objection to form;
     11    oxymorphone training material for sales      11      asked and answered.
     12    reps?                                        12   BY MS. BAIG:
     13        A. Yeah.                                 13      Q. That would have been Jinping
     14        Q. And, if you flip through three        14   McCormick?
     15    or four pages, do you see an attachment      15      A. No.
     16    that appears to be a Power Point entitled    16      Q. Who would that have been?
     17    "Introduction of Oxymorphone Hydrochloride   17      A. Again, any set of materials that
     18    Extended Release Tablets CII Sales           18   would have gone or been shared with our
     19    Training Class"?                             19   Kadian sales organization -- by the way,
     20        A. Again, if this is connected with      20   again, if it was for internal or if it was
     21    that email, I think it's clearly says this   21   something that went to a -- as part of a
     22    is a draft. We'll need to go through         22   promotional material to a physician, which
     23    regulatory and legal for review and          23   this appears to be something of a
     24    approval.                                    24   potential promotional material, or a sell

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      1    sheet, as it's called, would go through       1          MS. WELCH: Objection to form;
      2    some sort of a internal review involving      2      foundation.
      3    legal, compliance, regulatory and the         3      A. This is, again, more like on the
      4    commercial team and submitted to DDMAC.       4   generic side. So this to me is actually
      5       Q. And, if you turn the page, you          5   something that Jinping would have
      6    see an example, I believe, of a sell          6   developed. This is something that
      7    sheet. It says "Front and back."              7   potentially we would have put into one of
      8           Do you see that?                       8   the advertising journals that we talked
      9       A. Page 4?                                 9   about before, like Drug Store News or U.S.
     10       Q. Yes.                                   10   Pharmacists.
     11       A. Yep.                                   11          So, this is deemed a promotional
     12       Q. Is that a sell sheet that would        12   material 'cause it has information about
     13    have been left with prescribers?             13   product and it has the PI. This would
     14           MR. DIAMANTATOS: Objection to         14   also go through an internal review and
     15       form; foundation.                         15   ultimately, again, regulatory, compliance,
     16       A. I don't know. Again, I -- it           16   legal, marketing and submitted to DDMAC.
     17    has the PI on it, but that may or may not    17   Any communication such as this would go
     18    be what -- if it was a leave-behind or       18   through that.
     19    not, I don't know.                           19          So, this in the vernacular of
     20       Q. What do you mean by PI?                20   Actavis meant that this is a material that
     21       A. That's the prescriber                  21   was for the generic side. And we may have
     22    information in the label.                    22   repurposed it potentially, as you're
     23       Q. What was the purpose of sell           23   asking, and provided it to the sales
     24    sheets typically, or how were they used?     24   organization, but I'm not clear if we did


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                                          Page 233                                         Page 234
      1     that. I'm not clear -- it's not clear to      1   specifically recall.
      2     me if we did, if they had the ability to      2      Q. But the top 10,000 prescribing
      3     then just for their own knowledge or if it    3   doctors, that data would have come from
      4     was something that we were actually going     4   IMS?
      5     to leave potentially at a physician's         5          MS. WELCH: Objection to form.
      6     office or not.                                6          MR. DIAMANTATOS: Foundation.
      7        Q. Okay. And, do you see the next          7      A. Could have been IMS or Wolters
      8     page where it says "Marketing Support"?       8   Kluwer, whomever, we -- you know, we or
      9        A. Yes.                                    9   others would use to get prescribing
     10        Q. And there's three bullets. The         10   information. Those are the third party
     11     first one is: A two-wave direct mail         11   groups that sell that kind of data, yes.
     12     campaign to the top 10,000 prescribing       12          And it could be, again, total
     13     doctors. The first wave is planned to        13   class. It could be all pain medications.
     14     coincide with our launch to bring            14   It could be opioids. It could be lots of
     15     awareness to prescribing doctors. A          15   things. I don't know who was this group
     16     follow-up mailing is planned for four        16   here.
     17     weeks post-launch.                           17      Q. And the second bullet is:
     18            Do you see that?                      18   Journal advertising to cover both
     19        A. Yes.                                   19   prescribers and pharmacists.
     20        Q. Do you recall whether or not a         20          Do you see that?
     21     two-wave direct mail campaign to the top     21      A. Yes.
     22     10,000 prescribing doctors was               22      Q. And it references practical pain
     23     implemented?                                 23   management and pharmacy times, which I
     24        A. It may have been. No, I don't          24   think we referred to earlier.

                                          Page 235                                         Page 236
      1            Correct?                               1          Do you see that?
      2       A. Yes.                                     2      A. Where is that?
      3       Q. And then it also references an           3      Q. The first line in the box.
      4    email campaign reaching a pharmacy             4      A. Okay. Yes.
      5    audience of 87,000.                            5      Q. Did you have an understanding as
      6            Correct?                               6   to what proper patient selection meant?
      7       A. Yes.                                     7      A. That's really a decision for a
      8       Q. So, if this went forward as              8   physician to make.
      9    proposed here, is it your understanding        9          This is a standard black box
     10    that it's this sell sheet that's being        10   warning for all Class II narcotics. You
     11    sent to a pharmacy audience of 87,000? Or     11   would see this on other Class II
     12    what actually is being sent?                  12   narcotics.
     13            MS. WELCH: Objection to form;         13          The physician determines what
     14       foundation; speculation.                   14   proper patient selection is.
     15       A. Yeah, I don't know what -- what         15      Q. Did you have an understanding as
     16    was or wasn't sent.                           16   to how a physician would go about
     17       Q. Do you see on the next page it          17   determining proper patient selection?
     18    has the oxymorphone boxed warning?            18      A. Absolutely not.
     19       A. Page 7?                                 19          MS. WELCH: Objection to form.
     20       Q. Yeah.                                   20          MR. DIAMANTATOS: Foundation.
     21       A. Yes.                                    21   BY MS. BAIG:
     22       Q. And there's a warning. It says:         22      Q. And, do you see under the second
     23    Potential for abuse. Importance of proper     23   bullet under "Potential For Abuse" it
     24    patient selection and limitations of use.     24   states: This should be considered --


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                                          Page 237                                         Page 238
      1    well, it's about oxymorphone. And then it     1     Q. Oxymorphone, sorry.
      2    states: This should be considered when        2          Was that the generic for
      3    prescribing or dispensing oxymorphone         3   Opana ER?
      4    hydrochloride extended-release tablets in     4     A. Oxymorphone hydro --
      5    situations where the physician or             5   hydrochloride extended-release tablets
      6    pharmacist is concerned about an increased    6   would be the generic for Opana ER.
      7    risk of misuse, abuse, or diversion.          7     Q. And Opana ER was no longer on
      8           Do you see that?                       8   the market?
      9       A. Yes.                                    9     A. Again, in 2011? I'm just
     10       Q. Do you know how the physician or       10   reading from the materials here.
     11    pharmacist was supposed to gauge whether     11          Opana ER, which is the Endo
     12    there was an increased risk of misuse,       12   product, had multiple different strengths
     13    abuse, or diversion?                         13   ranging from I think as low as five
     14           MS. WELCH: Objection to form;         14   milligrams to maybe up to 40 or 60, and
     15       foundation.                               15   these two specific strengths, which were
     16       A. Not specifically. Although,            16   7-and-a-half and 15 milligrams, Actavis
     17    again, I don't know what time this is.       17   had FDA approval for a generic of it, and
     18    There was either a risk map or some sort     18   Endo had removed the product. So we
     19    of REMS probably associated with class of    19   wanted -- again, we wanted to make sure
     20    products by this point.                      20   physicians were aware, physicians and
     21       Q. And hydromorphone was the              21   pharmacists were aware that there was an
     22    generic of Opana ER.                         22   available medically -- FDA-approved and
     23           Is that right?                        23   medically available product for their
     24       A. I think it's oxymorphone.              24   patient population subject to their

                                          Page 239                                         Page 240
      1    decisions on dispensing and prescription      1   lower cost alternative to their branded
      2    writing.                                      2   product.
      3       Q. So, was it your understanding           3      Q. And, why do you think that that
      4    that Opana ER was still on the market in      4   might be inconsistent with Endo's
      5    certain strengths?                            5   experience -- with Endo's understanding?
      6       A. Yes.                                    6          MS. WELCH: Objection;
      7       Q. Until when?                             7      speculation.
      8       A. Opana ER was on the market until        8      A. Yeah, I don't want to speak for
      9    late 2018.                                    9   Endo, but it was a common practice that
     10       Q. The brand name?                        10   brand companies would discontinue
     11       A. Yes.                                   11   strengths or discontinue products in
     12       Q. Did you have an understanding as       12   advance of the generic market formation.
     13    to why the certain -- why certain            13      Q. And, if you look at the second
     14    strengths of Opana ER were withdrawn from    14   to last page before the "thank you" page.
     15    the market?                                  15      A. Yep.
     16           MS. WELCH: Objection;                 16      Q. Do you see under "Compensation
     17       foundation.                               17   and Incentive" there's three bullet
     18       A. I have my understanding, but it        18   points. One is team award, one is
     19    may be inconsistent with Endo's              19   individual award, and one is renewable
     20    understanding.                               20   upon review of overall performance.
     21       Q. Well, what's your understanding?       21          Do you see that?
     22       A. My understanding is Endo removed       22      A. Yep.
     23    their strengths because they didn't want     23      Q. And it suggests that for the
     24    the generics to come in with an approved     24   team award the top regional team with the


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                                         Page 241                                          Page 242
      1    highest cumulative prescription written       1   launched across all of our multiple dose
      2    for the period of August through October      2   forms and classes and therapeutic areas.
      3    of 2011 each member of the team would win     3      Q. Did you use these types of sell
      4    $500.                                         4   sheets for branded drugs as well?
      5           Correct?                               5      A. I don't believe we did, but I'm
      6       A. Yes.                                    6   not a hundred percent certain.
      7       Q. And for the individual award it         7          And, again, we only had one
      8    states that the top two performers from       8   brand product. It was called Kadian.
      9    each team with the highest cumulative         9      Q. And, are you familiar with the
     10    prescription written for the period of       10   term "pocket guide"?
     11    August through October 2011 each award is    11      A. I've heard of it, but I'm not,
     12    $1,000.                                      12   you know, intimately familiar with it.
     13           Correct?                              13      Q. What's your understanding of
     14       A. Yes.                                   14   what a pocket guide is?
     15       Q. Do you recall whether sell             15          MS. WELCH: Objection;
     16    sheets were used for both branded and        16      foundation.
     17    generic drugs?                               17      A. I think it's a smaller version
     18           MS. WELCH: Objection to form;         18   of, again, approved promotional materials
     19       foundation.                               19   so it could fit into a pocket.
     20       A. Again, in this draft materials,        20      Q. And, do you recall whether
     21    the shell -- the sell sheet that's shown     21   Actavis used pocket guides for its branded
     22    here, from my recollection, would be         22   and generic opioids?
     23    representative of what we would do with      23      A. Not specifically. We may --
     24    all generic products being approved and      24   again, you said branded and generic.

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      1     Again, none of the generic products would    1   FDA-approved generics, would be either the
      2     be detailed to physicians with, you know,    2   large direct chains, like a CVS, a
      3     some exception. This may have been a         3   Walgreens, a Rite Aid, a large wholesaler
      4     limited exception. But generally, the        4   like a McKesson, a Cardinal,
      5     generic products are not -- there's no       5   AmerisourceBergen, mail orders, Express
      6     activity calling on physicians. It's         6   Scripts, Medco, things like that, those
      7     purely a key account sale to the major       7   are our customers. And yes, there would
      8     chains or wholesalers and then reminder      8   be -- we would put programs in place
      9     notices or communications to pharmacists.    9   potentially to incentivize them through
     10        Q. Did Actavis also use pricing and      10   additional rebates to take a bigger basket
     11     incentive programs to try to maximize       11   of our available offerings. You know, at
     12     sales?                                      12   any given time, we may have had 200, 250
     13        A. Pricing and incentives programs       13   or 300 SKUs available, and at a given
     14     with whom?                                  14   time, we may have 50 of those or 60 of
     15        Q. With its key clients.                 15   those or a hundred of those on contract at
     16            MS. WELCH: Objection to form.        16   those different accounts.
     17        A. What do you mean by key clients?      17          So, part of, you know, Mike and
     18        Q. Well, do you have an                  18   the team's opportunity and challenge was
     19     understanding of who some of the key        19   to maybe get additional distribution on
     20     clients were, let's say, in the generics    20   our FDA-approved generic products and
     21     division?                                   21   somehow or potentially, like you said,
     22            MS. WELCH: Objection to form.        22   incentive programs and such would be an
     23        A. So, our customers in the generic      23   incentive providing an additional discount
     24     division, people who bought our             24   to our customers to take more of our


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                                         Page 245                                           Page 246
      1    products.                                     1      A. Could you be specific? What do
      2       Q. And those were typically                2   you mean by trade shows and promote its
      3    reflected in the customer agreements.         3   product?
      4           Is that right?                         4      Q. Well, by promote its product, I
      5       A. Yes. There would be customer            5   mean maximize sales.
      6    contracts and then basically you contract     6          By trade shows, my question is
      7    on a product-by-product basis and those       7   to you.
      8    individual products would have the key        8          Do you know whether Actavis
      9    terms and conditions. And there may be        9   participated in certain trade shows, or
     10    quarter end rebates or annual rebates        10   that the marketing and sales departments
     11    based on volume incentive tiers, so that     11   participated in certain trade shows?
     12    would be tracked throughout the course of    12          MS. WELCH: Objection to form.
     13    the year. Our finance organization would     13      A. Yes, the generic sales team did
     14    track those. They would accrue               14   attend trade shows, customer events. Yes.
     15    potentially for them if they were reached,   15      Q. What types of trade shows?
     16    and then we would make those payments 30     16          MS. WELCH: Objection to form.
     17    or 90 days after the time period had         17      A. There were multiple organization
     18    elapsed if the -- if the account achieved    18   who would organize they would call them
     19    the threshold.                               19   vendor events. They would call them
     20       Q. Did Actavis attend certain trade       20   technical exchanges. One was the NACDS,
     21    shows to promote its drugs?                  21   which is the National Association of Chain
     22           MR. DIAMANTATOS: Objection to         22   Drug Stores. They would have two events,
     23       form.                                     23   one in the spring, which was the annual
     24           MS. WELCH: Objection to form.         24   meeting; one in the fall, or late summer,

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      1    fall, which was the technical exchange.       1   fall tech conference, but I stopped going
      2    There was a thing called ECRM. I don't        2   to that at a certain point.
      3    know what ECRM stands for. That was more      3          I never went to ECRMs.
      4    of a regional event.                          4          There was HDMA, there was all
      5           Again, all on the generic side.        5   bunch of different ones, but no, I did not
      6           Our branded team would not             6   attend those.
      7    attend any. There's no trade shows            7      Q. Who would attend ECRM?
      8    that -- well, that they would attend. I       8      A. Again, ECRM would probably be in
      9    mean, sometimes there was a brand             9   Mike Perfetto's organization the sales --
     10    component, but we didn't actually have a     10   the sales team. They would attend those
     11    sales group or a team that would go to       11   because it's much more regional, smaller
     12    those things.                                12   distributors and wholesalers and such.
     13           Those are the trade events that       13          Then Mike and pretty much most
     14    I'm familiar with. There might be others,    14   of his commercial group, including Jinping
     15    but those are the ones I'm familiar with.    15   and Ara and the sales team, would attend
     16       Q. And, did you attend any of             16   the NACDS fall tech.
     17    those?                                       17          Mike and I, and depending on the
     18       A. I, in the normal course of             18   year or the circumstance, we may bring one
     19    business, I would attend several of those.   19   or two people along with us, would attend
     20    I would do the NACDS annual meeting most     20   the NACDS annual meeting which was always
     21    likely in April.                             21   in Palm Beach or in Scottsdale, Arizona.
     22           Early in my tenure when I             22      Q. And how much HDMA?
     23    mentioned our Alpharma days or early         23      A. Again, either Mike or his sales
     24    Actavis days, I would attend the NACDS       24   team or folks -- HDMA was -- that's -- I


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      1    think that's a wholesaler. So depending        1   described to me. I've never been to them.
      2    how Mike had assigned accounts to the          2     Q. And, how about HDMA, were there
      3    sales team, they would attend. You know,       3   booths there?
      4    there are other events that were specific      4     A. I don't know.
      5    to GPOs. So the guy that had the GPO           5         MS. BAIG: Let's have this
      6    account would probably go to those.            6     document marked as Exhibit 15.
      7           But, again, that's my                   7     ALLERGAN_MDL_00676546 through '6582.
      8    recollection of the events.                    8     It starts as an email from Mike
      9       Q. And, did Actavis set up booths           9     Perfetto to you dated February 25th,
     10    at these trade shows?                         10     2012. Subject is "Final
     11       A. At NACDS, again, the fall tech          11     Presentation." Attachments
     12    you would actually pay for exhibit space      12     "Leadership summit presentation
     13    to be on the floor. So we actually we had     13     final."
     14    an exhibit booth like companies would have    14         (Boothe Exhibit 15, email chain
     15    20-by-20, whatever, and we would do those.    15     ending February 25, 2012, with
     16           At the NACDS annual meeting, you       16     attachment, Bates No.
     17    basically bought a table, so you had the      17     ALLERGAN_MDL_00676546 to 00676585, was
     18    privilege to sit outside in the sun, which    18     marked for identification, as of this
     19    was nice most of the time except when it      19     date.)
     20    rained, to meet with customers. You           20         THE WITNESS: There's the leaky
     21    bought a table. I believe ECRM and the        21     bucket.
     22    other ones, I don't think you bought a        22   BY MS. BAIG:
     23    booth, but you actually rotated through       23     Q. And, if you turn to the second
     24    the customers areas, as my -- as it was       24   page, you see there's a Power Point that


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      1     starts: Realizing our vision. Building a      1     different divisions, groups, locations
      2     global leader in generic pharmaceuticals.     2     would all meet in one location, and as
      3            And it has Mike Perfetto's name,       3     part of that, there were presentations,
      4     Jinping -- and Jinping McCormick's.           4     you know, information sharing across the
      5        A. Nice looking at the pictures of         5     group, a chance for interaction, a chance
      6     the people. I haven't seen these in a         6     for networking, a chance to share best
      7     long time. Even me.                           7     practices.
      8            Okay. Sorry.                           8            And, at this meeting, which was,
      9            What's the question?                   9     again, held in Innsbruck, actually, we
     10        Q. So, what is this document?             10     did, or Mike and Jinping did a
     11        A. So, again, this was a document         11     presentation about the generic
     12     that looks like Mike and Jinping             12     organization for all of Actavis Group. So
     13     developed. I'm not certain where it was      13     it was an internal presentation developed
     14     utilized.                                    14     for an internal audience, is my
     15            Leadership summit. So, I              15     understanding of this document.
     16     believe this was something that -- yes.      16        Q. When you say an internal
     17     So, this was in February of 2012, Actavis    17     audience, what do you mean by that?
     18     Group the global company, would have an      18        A. Just within Actavis, Actavis
     19     annual meeting. It was, again, talk about    19     Group.
     20     last year's results, talk about goals and    20        Q. Okay. And, if you look to the
     21     objectives, and we called it the             21     page that ends in '573, the heading is
     22     leadership summit, or we called it lots of   22     "Top 10 Generic Products for 2011."
     23     different things. But effectively a          23        A. Yep.
     24     subset of the senior leaders of all the      24        Q. It appears that the top two


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                                          Page 253                                          Page 254
      1    generic products at that time were            1   Support Advertising."
      2    oxycodone tabs and fentanyl patch.            2          Do you see that?
      3           Is that right? According to            3      A. Yes.
      4    this.                                         4      Q. And there's one that has a tree
      5       A. Yes.                                    5   on it.
      6       Q. And, does this show -- report           6          Do you see that?
      7    that oxycodone tabs' net sales growth for     7          MS. WELCH: Which Bates number?
      8    that year was 55 percent?                     8          MS. BAIG: It ends in '577.
      9           MS. WELCH: Objection to form.          9      A. Is that what that thing is to
     10       A. Yes. That's what the chart             10   the right? That thing?
     11    says, yep.                                   11      Q. Well, I could tell you --
     12       Q. And the fentanyl patch's sales         12          MS. WELCH: It's a different
     13    growth was 39 percent, correct?              13      number, '577.
     14       A. On a year-over-year basis, yep.        14      A. This page.
     15       Q. And those were the two top             15      Q. Ending '577.
     16    products at the time?                        16      A. Sorry. Yeah.
     17           MR. DIAMANTATOS: Objection to         17      Q. Was this what was referred to
     18       form.                                     18   internally as your tree ad?
     19       A. For the generics group. Over           19      A. I don't know.
     20    our total of $523 million in sales in        20          Was there an internal ad --
     21    2011, those were the top two, yes.           21   thing called tree ad?
     22       Q. And, if you turn about three           22      Q. I can just tell you that Jinping
     23    pages further, you see a document that has   23   told me about a tree ad, but I didn't have
     24    some pictures on it called "Marketplace      24   a picture of it. But now I'm looking at

                                          Page 255                                          Page 256
      1    this and I'm wondering if this is the tree    1      A. Right, but it wasn't like we
      2    ad.                                           2   negotiated. We didn't really get much
      3       A. It's got a tree in it.                  3   marketing. They -- that was part of
      4       Q. Did you ever contract with your         4   their -- McKesson if it was Progen
      5    distributor customers for marketing           5   generics in their fee structure, they
      6    services?                                     6   charged you for marketing fees, they
      7           MS. WELCH: Objection to form.          7   charged you for data fees, they charged
      8       A. I think the answer is yes, but          8   you for warehousing fees. That was all
      9    I'd be happy to comment to a document.        9   part of the program. And that was pretty
     10       Q. Do you recall entering into            10   typical for the large wholesalers.
     11    negotiations with big distributors like      11          On occasion we would contract,
     12    McKesson such that you would pay marketing   12   for example, to utilize their network of
     13    fees to them?                                13   pharmacists as part of their awareness ads
     14           MS. WELCH: Objection to form.         14   for new product launches, we would pay
     15       A. I think it's the other way             15   them so they could, through their network,
     16    around. I mean, the way the McKesson         16   share our information. That was when you
     17    contracts were is they charged you           17   asked the first question about did I
     18    marketing fees for the privilege of          18   contract for services, that's what I was
     19    selling product to them.                     19   referring to, is my understanding.
     20       Q. They were charging Actavis             20          MS. BAIG: Let's have this
     21    marketing fees?                              21      document marked as Exhibit 16.
     22       A. Mm-hm.                                 22          It's Bates stamped
     23       Q. So you would pay marketing fees        23      ACTAVIS0811957 through '959. It's an
     24    to --                                        24      email from you to Mike Perfetto on


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                                          Page 257                                          Page 258
      1       October 12th, 2011.                         1         THE WITNESS: I don't have a
      2           MS. WELCH: Where are you?               2      pen.
      3           THE WITNESS: What's that?               3         (Pause.)
      4           MS. BAIG: I was just stating            4         MS. BAIG: Okay. We'll come
      5       what it is.                                 5      back to that one. It's no problem.
      6           THE WITNESS: That's not the one         6   BY MS. BAIG:
      7       I have.                                     7      Q. Are you familiar with the
      8           MS. WELCH: That's not the one I         8   company Key OptiSource?
      9       have either.                                9      A. OptiSource?
     10           (Pause.)                               10      Q. Mm-hm.
     11           MS. WELCH: This has a 1969             11      A. I know who they are.
     12       bottom Bates number.                       12      Q. Who are they?
     13           MS. BAIG: No, I think you've           13      A. They're a distributor or a
     14       got the wrong one.                         14   regional wholesaler, is my understanding.
     15           THE WITNESS: Here you go               15      Q. Do they do mailing and
     16       (handing.)                                 16   telemarketing?
     17           MS. BAIG: Thank you.                   17      A. I don't know.
     18           (Pause.)                               18         MS. WELCH: Objection to form;
     19           MR. DIAMANTATOS: I wrote               19      foundation.
     20       Exhibit 16 on my copy, counsel. In         20      A. If they did, you can show me the
     21       case you want to switch it out with an     21   materials. Yeah.
     22       exhibit sticker.                           22      Q. Do you know whether they did
     23           MS. BAIG: Okay.                        23   mailing and telemarketing for Actavis?
     24           MS. WELCH: So did I.                   24      A. I don't specifically recall.

                                          Page 259                                          Page 260
      1        Q. Okay. Are you familiar with a           1   recollection as to whether or not they did
      2     company called Kerr Drug and Weiss?           2   any marketing for Actavis?
      3        A. No.                                     3         MS. WELCH: Objection to form.
      4            K-E-R-R?                               4     A. No.
      5        Q. Mm-hm.                                  5     Q. How about Morris Dixon?
      6        A. Kerr Drug?                              6     A. Morris Dixon also is a regional
      7        Q. Mm-hm.                                  7   wholesaler.
      8        A. Yes. I'm -- yeah, they, again,          8         So, you keep asking about
      9     a regional wholesaler distributor.            9   marketing for Actavis. So, if we had
     10            And Weiss, W-E-I-S-S?                 10   Morris Dixon --
     11        Q. Mm-hm.                                 11     Q. Sorry. Were you going to finish
     12        A. Weiss, that's the supermarket          12   your sentence?
     13     chain, Weiss Markets.                        13     A. I -- you didn't ask a question,
     14        Q. Okay.                                  14   so.
     15        A. Pennsylvania and Maryland and          15     Q. I was just wondering if you were
     16     New Jersey.                                  16   familiar with Morris Dixon.
     17        Q. And, do you know whether they          17     A. Yes.
     18     did marketing for Actavis at all?            18     Q. They're the regional wholesaler.
     19            MS. WELCH: Objection to form.         19         Do you know whether they did any
     20        A. Again, they were an account. So        20   marketing for Actavis, or you don't know?
     21     again, we possibly -- well, again, I don't   21         MR. DIAMANTATOS: Objection to
     22     know. If you show me a document, I can       22     form.
     23     comment on it.                               23         MS. WELCH: Objection to form.
     24        Q. But you don't have a                   24     A. What I was going to say is,


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                                          Page 261                                          Page 262
      1     again, these regional wholesalers, they       1   percentage of WAC, percentage of AWP. It
      2     have pharmacies who buy off of their          2   was sort of in their contract for the
      3     program. So, to the extent of which we        3   privilege of doing business with them.
      4     got a product award of Morris Dixon,          4          Some of these smaller accounts
      5     Morris Dixon may send a notice to its         5   are much smaller. They didn't have the
      6     pharmacies with here's the Actavis            6   ability to push their fees on to the
      7     product, it's available. Here's the           7   suppliers. But if we wanted to
      8     transfer price. That's the information        8   potentially communicate product
      9     that they would provide to their              9   availability or when we got a product
     10     pharmacies. If that constitutes marketing    10   award to the one of these accounts and we
     11     on behalf of Actavis, that answer would be   11   wanted to communicate to their members or
     12     yes, but that's not something that Actavis   12   their affiliates, we may have paid a -- a
     13     would have done or paid for.                 13   fee. It could have been $5,000 or some
     14        Q. But you would have marketing --        14   number. I don't know specifically. But
     15     so, how is that different from the           15   that's my recollection of how it worked
     16     marketing agreements we talked about just    16   with the smaller accounts versus the
     17     a few moments ago if you had -- where        17   larger accounts.
     18     you're paying a marketing fee to somebody    18      Q. I'm not talking about fees in
     19     like McKesson?                               19   general though. I'm talking about
     20        A. So, again, McKesson, one of the        20   something called marketing fees.
     21     largest big three wholesalers. Again,        21          Are you familiar with paying
     22     quite frankly, they set the terms. So, in    22   marketing fees to someone like McKesson?
     23     their contract, they charged us fees.        23          MR. BAILEY: Objection to form.
     24     Cardinal would do the same thing, a          24      A. Again, that's what I described.

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      1       Q. Okay.                                    1          (Boothe Exhibit 16, email chain
      2       A. So, in the contract, they                2      ending October 12, 2011, Bates No.
      3    charged a marketing fee as a percentage of     3      ACTAVIS0811957 to 0811960, was marked
      4    the total business. So if we're doing $10      4      for identification, as of this date.)
      5    million with them, they charge you one         5   BY MS. BAIG:
      6    percent, you're paying a hundred thousand      6      Q. It's an email from you to Mike
      7    dollars for marketing fees. You know, we       7   Perfetto dated October 12th, 2011, or it
      8    didn't really have a choice. It's like a       8   starts that way.
      9    franchise fee at like McDonald's or            9      A. (Perusing document.)
     10    something.                                    10      Q. Do you see on the last page at
     11       Q. So they didn't charge additional        11   the top there's a reference to "a new
     12    marketing fees for doing things like          12   sales slick out by week's end" and then it
     13    telephone campaigns or things like that?      13   says "Costco add"?
     14       A. Yes, we did. If we opted --             14      A. Yeah.
     15           MR. BAILEY: Objection.                 15      Q. What's your understanding of
     16       A. Yes. If we engaged with -- to           16   what a sales slick is?
     17    get access to their accounts that were on     17      A. I'm not sure.
     18    their programs, we would pay additional       18      Q. And, was Costco a place where --
     19    fees, and they call them marketing fees.      19   where there were direct ads?
     20       Q. Okay.                                   20          MS. WELCH: Objection;
     21           MS. BAIG: Let's have this              21      foundation; form.
     22       document marked as Allergan -- as          22      A. Costco was one of our customers.
     23       Exhibit Number 16, and this is Bates       23   They would -- they would purchase -- they
     24       stamped ACTAVIS0851197 through '11960.     24   had a generic formulary. So yes.


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                                         Page 265                                          Page 266
      1            And add is two Ds. A-D-D. So          1   a telemarketing program at Key OptiSource.
      2     that means, I would say, an addition         2          Do you see that?
      3     rather than an advertisement, is how I       3      A. Mm-hm.
      4     would read that.                             4      Q. OptiSource, I can't recall what
      5        Q. Costco addition?                       5   you said.
      6        A. Costco add, A-D-D. Yeah.               6          Do you recall OptiSource doing
      7            Again, this is from Michael           7   marketing for -- for Actavis?
      8     Dorsey, so I -- you know, you would have     8      A. Like I say --
      9     to ask him potentially what it meant.        9          MS. WELCH: Objection to form.
     10        Q. And then next line says               10      A. -- OptiSource --
     11     "fentanyl patch" and towards the end it     11          MS. WELCH: Sorry.
     12     says "new slick coming."                    12          THE WITNESS: That's all right.
     13            Do you see that?                     13      A. Again, it's regional wholesaler
     14        A. Mm-hm.                                14   or regional distributor. So they would
     15        Q. Were there ad slicks for the          15   have other pharmacies.
     16     fentanyl patch?                             16          So again, the space is you've
     17            MS. WELCH: Objection; form;          17   got -- everybody knows CVS, Walgreens,
     18        foundation.                              18   Wal-Mart, all that stuff, but most of the
     19        A. Again, the only thing I'm             19   prescriptions or most of the pharmacies
     20     familiar with are these we call them sell   20   are called independent, and they may or
     21     sheets, something like that. That may or    21   may not buying their -- getting supplied
     22     may not be what Mike here is referring to   22   their pharmaceuticals from one of the big
     23     as a slick.                                 23   three, Amerisource, Cardinal, McKesson.
     24        Q. And then there's a reference to       24   They may also get them from some of these

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      1    smaller accounts that may be networked and    1   whatever it says. The pharmacist has the
      2    affiliate. By the way, and they my buy        2   power, the decision as to what to
      3    them from multiple. They may go out and       3   dispense. And, of course, if our
      4    shop around see who's going to be transfer    4   product's not in that pharmacy, then our
      5    price. So telemarketing or these sorts of     5   product doesn't get dispensed.
      6    things are your -- we would be paying for     6      Q. So, is it your understanding
      7    OptiSource or whomever to reach out to        7   then that OptiSource would be doing a
      8    their affiliated accounts to make them        8   fentanyl patch telemarketing program to
      9    aware of our product and if we had a          9   pharmacies or to prescribers?
     10    contract with them, what the terms of        10      A. Definitely not to prescribers.
     11    that, what the price what has been marked    11   They do not contact -- again, prescribers
     12    as what the, again, the transfer costs.      12   are physicians.
     13            By the way, none of this is to       13           If anything, this, again, a
     14    end consumers. This is to make sure that     14   telemarketing program, my read of this,
     15    our product, or FDA-approved product was     15   again it's from Mike Dorsey. My read of
     16    available in these pharmacies. So when a     16   this is is that we were providing
     17    physician prescription came in or a          17   information to OptiSource and maybe paying
     18    patient walked in with a prescription that   18   for some program for OptiSource to let
     19    it would get filled with the Actavis         19   their member companies, their affiliated
     20    generic as compared to the Teva generic or   20   pharmacies know that our product was
     21    the Watson generic, 'cause that's the        21   available in 2011.
     22    space we were in. We were competing with     22      Q. And a little further down
     23    multiple generic suppliers. And when the     23   there's a reference to oxymorphone and a
     24    prescription comes in it just says           24   McKesson promotion. And again it states:


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                                          Page 269                                          Page 270
      1    Telemarketing and online will start next       1   availability of our product. That's
      2    week. Cardinal exploring program. NC           2   what -- that's what that means to me. And
      3    mailing Morris Dixon.                          3   that was common practice.
      4           Do you see that?                        4      Q. And, what does NC mailing refer
      5       A. Mm-hm.                                   5   to? Do you know?
      6       Q. So, my read of that is McKesson          6      A. NC is -- actually I think it's
      7    was engaged in a telemarketing and online      7   NC Mutual. It was another -- it was, one
      8    marketing program for oxymorphone on           8   of the, again, another regional wholesaler
      9    Actavis's behalf.                              9   distributor. So there must have been some
     10           Is that your understanding?            10   sort of mailing. So, again, we may have
     11           MS. WELCH: Objection to form.          11   paid for some thing for an NC Mutual to
     12       A. It reads: Oxymorphone McKesson          12   then send the Actavis sell sheet or some
     13    promotion telemarketing online will start     13   approved material to their affiliated
     14    next week.                                    14   pharmacies.
     15           So, again, McKesson is a               15      Q. On -- on the page just prior
     16    significant wholesaler. They have             16   there's a reference about a quarter of the
     17    multiple, multiple pharmacies that are        17   way down to oxycodone and it states: Will
     18    part of the Progen generics program, is       18   supply key accounts through the end of the
     19    what they called it then. So, it would        19   year based on historical demand. Do not
     20    appear that we contracted with McKesson to    20   share with anyone that we received our Q4
     21    provide to their -- their affiliated          21   allocation for oxycodone.
     22    pharmacies through their internal system      22          Do you see that?
     23    or network or T.V. or email system or         23      A. Yep.
     24    whatever some sort of notification of         24      Q. Why was it important not to

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      1     share with anyone that you had received       1   quota for the following year. That quota
      2     your Q4 allocation for oxycodone?             2   enables you then to purchase the raw
      3        A. So, as you're well-aware,               3   material, in this case it would be
      4     oxycodone is a scheduled narcotic, a Class    4   oxycodone, from the API suppliers who
      5     II. So, in order to manufacture your          5   produce that, companies like Mallinckrodt
      6     approved product, you need both FDA           6   and Cambrex and others who make controlled
      7     approval and you need DEA quota.              7   substances, which again it's a very, very
      8             The way DEA quota works is every      8   tightly controlled, all organized and
      9     company that sells controlled substances      9   controlled by the DEA. And what happens
     10     provides a forecast well in advance. The     10   sometimes, given the multi -- multi-source
     11     DEA reviews that forecast, has to -- with    11   nature of generic pharmaceuticals, given
     12     justification for your request for the       12   other folks who may or may not have also
     13     following year, which is based on your       13   approved products who may have overbuilt
     14     historical prescriptions, your historical    14   or underbuilt or had a production issue,
     15     sales out, any potential new product         15   had a quality issues, sometimes people run
     16     activity. You submit that to the DEA         16   out of their quota. You can't -- you
     17     usually the first quarter of the calendar    17   can't buy any of the following year's
     18     year. The DEA reviews it, assesses the       18   quota early. You can't place even an
     19     market, looks at your inventory levels,      19   order for the following year's quota until
     20     looks at your history, and sometimes         20   you have the actual DEA authorization.
     21     somewhere towards the end of the year,       21   So, what sometimes happened, I think this
     22     usually it can be as late as the end of --   22   is what this is in reference to, is when
     23     like literally 29th of December, you will    23   people run out of quota, and of course
     24     get a letter from the DEA authorizing your   24   which means the manufacturers run out of


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      1    their quota and they're used to supplying     1      A. Because it's in limited supply.
      2    a Cardinal or a CVS, Cardinal or CVS looks    2   So if it's in limited supply, then
      3    somewhere else for it.                        3   therefore the customer would be willing to
      4           I believe what -- 'cause I             4   pay more for it.
      5    remember these sorts of conversations. We     5      Q. I see.
      6    wanted to make certain that we were           6          On the first page in the first
      7    appropriately supplied so in the event        7   line there's a reference to: Any ability
      8    that somebody else ran out, we could          8   to drive more fentanyl at MHA based on the
      9    supply and utilize as an opportunity for      9   contracting data provided by Mike M?
     10    potentially a better transfer price to the   10          Do you know what MHA refers to?
     11    customer, if we didn't have them on our      11      A. Again, MHA is another account.
     12    accounts. We had contracted accounts and     12   I don't know what the acronym stands for,
     13    then accounts that weren't contracted. If    13   but another, again, regional wholesaler or
     14    somebody else ran out, they would come to    14   distributor.
     15    us, and we would sell at a different price   15      Q. And, so, you were asking if
     16    point.                                       16   there was ability to drive -- to sell more
     17      Q. So, why would it be a secret            17   fentanyl to MHA? Is that what the
     18    that you had received your allocation for    18   question is here?
     19    oxycodone? Wouldn't that be something        19      A. To provide, yes, to -- to
     20    that you would want to make known to the     20   possibly sell into or have MHA take
     21    customers?                                   21   more -- again, there's multiple suppliers
     22           MS. WELCH: Objection to form.         22   of fentanyl in 2011, generic. This is,
     23      A. Absolutely not.                         23   again, FDA-approved generic. There were
     24      Q. Why?                                    24   five or six different players. It was a

                                         Page 275                                          Page 276
      1    multi-source market.                          1      A. Yeah, I don't -- I don't know.
      2       Q. For the customer clients that           2          I mean, again, you talk about
      3    you had marketing agreements with, like       3   telemarketing. My recollection of these
      4    McKesson or some other regional ones that     4   sorts of things is an email or a fax or
      5    we just looked at, did Actavis review the     5   maybe a call to the -- to the pharmacies
      6    materials that were used for marketing by     6   in their chain to acknowledge that this
      7    those companies?                              7   product was available. That's what the
      8           MS. WELCH: Objection to form.          8   telemarketing was. There was no medical
      9       A. Well, if those companies were           9   claims. There was no -- it was -- again,
     10    sending their own materials out, then no.    10   it was business to business. It was the
     11    At least not that I'm aware of. If we        11   wholesaler or the distributor to its
     12    provided information to those companies,     12   aligned pharmacies.
     13    then yes, 'cause it would have gone          13      Q. Would you have reviewed those
     14    through our review and approval.             14   scripts?
     15       Q. And to the extent they were            15      A. No.
     16    doing telemarketing on your behalf, who      16      Q. Those scripts that were used for
     17    would have created those scripts? Actavis    17   purposes of telemarketing?
     18    or the company doing the telemarketing?      18      A. From --
     19           MR. DIAMANTATOS: Objection to         19          MS. WELCH: Objection to form.
     20       form.                                     20      A. Potentially from one of our
     21           MS. WELCH: Objection to form;         21   customers to their affiliated pharmacist?
     22       foundation.                               22      Q. Yeah, which you were contracting
     23           MR. DIAMANTATOS: Calls for            23   with your customers for.
     24       speculation.                              24      A. I -- what was that last part?


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                                         Page 277                                          Page 278
      1       Q. So, if you entered into a               1      A. Can you repeat the question,
      2    contract with one of your customers, like     2   please?
      3    McKesson, to do telemarketing of one of       3      Q. Can you identify all the
      4    your products, would you personally have      4   organizations that Actavis would have used
      5    reviewed the scripts that they were using     5   to market or promote its drugs, that you
      6    as --                                         6   can think of right now, its opioid drugs?
      7       A. No.                                     7          MS. WELCH: Objection to form.
      8       Q. -- part of that telemarketing?          8      A. The -- the -- sorry. One more
      9       A. Me personally, no.                      9   time.
     10       Q. Okay. Would your marketing             10          Just the firms that --
     11    department have reviewed those scripts, if   11      Q. The organizations that Actavis
     12    you know?                                    12   would have used, perhaps contracted with,
     13           MS. WELCH: Objection;                 13   to do marketing for its opioids.
     14       foundation.                               14          MR. DIAMANTATOS: Objection.
     15       A. I don't know. Possibly, but I'm        15          MS. WELCH: Same objection.
     16    not sure.                                    16      A. Again, we didn't market our
     17       Q. Can you identify all the               17   generic products. I think these questions
     18    organizations that Actavis would have used   18   are all about when we would enter into a
     19    to market or promote its drugs, that you     19   contract for distribution of our
     20    can think of right now?                      20   FDA-approved medicines with DEA and
     21          MR. DIAMANTATOS: Objection to          21   FDA-approved supply -- distributors, such
     22       form.                                     22   as McKesson, there would be a contract
     23           MS. WELCH: Objection to form.         23   price that determined the transfer price.
     24          MR. DIAMANTATOS: Time.                 24   We may have also then contracted for

                                         Page 279                                          Page 280
      1    marketing services that McKesson -- we pay    1   marketing agreements that you had with
      2    McKesson for them to communicate to its       2   McKesson. They're separate. They're
      3    member affiliate companies that our           3   separate or they might be a component of
      4    product was available.                        4   the overall agreement with McKesson, but
      5       Q. And that would have come out of         5   it's specific to marketing.
      6    your --                                       6          I'm just wondering what other
      7       A. And that's --                           7   types of organizations, apart from perhaps
      8       Q. Sorry. Go ahead.                        8   big distributors, you engaged to help with
      9       A. No. If that's what you mean by          9   promotion or marketing. We've talked
     10    marketing, that would be yes.                10   already about, on the brand name side,
     11           So, if you look at all the            11   we've talked about inVentiv.
     12    available licensed DEA-approved              12          Are there any others that you
     13    distributors and wholesalers, Cardinal,      13   can think of as you sit here right now?
     14    McKesson, AmerisourceBergen, there's many,   14          MS. WELCH: Objection to form.
     15    many smaller ones, direct chains like        15          MR. DIAMANTATOS: Objection to
     16    Wal-Mart, Walgreens, Rite Aid, CVS,          16       form.
     17    Express Scripts, Medco, those are the        17       A. It would certainly be helpful if
     18    firms that we contracted with for            18   you provide me a document, something to
     19    distribution of our FDA-approved             19   review.
     20    medicines.                                   20       Q. Sure.
     21       Q. But I'm not asking specifically        21          I'm just asking for your best
     22    about distribution. I'm asking more about    22   recollection right now as to --
     23    marketing.                                   23       A. And my best recollection --
     24           So, I've seen, for example,           24       Q. You can't think of any?


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                                          Page 281                                        Page 282
      1        A. -- in January of 2019 for              1     Q. Okay. Any marketing companies?
      2     facilities back in 2012, I'd be refreshed    2         MR. DIAMANTATOS: Objection to
      3     if you have a document that you can share    3     form.
      4     with me. I've provided you, to the best      4         MS. WELCH: Objection to form.
      5     of my recollection, my understanding.        5   BY MS. BAIG:
      6        Q. Okay. So you can't think of any        6     Q. Specific, you know, marketing
      7     right now, right?                            7   companies that are solely devoted to
      8             MS. WELCH: Objection to form;        8   marketing?
      9        misstates his testimony.                  9         MR. DIAMANTATOS: Objection to
     10             MS. BAIG: Well, he hasn't           10     form.
     11        actually told me whether he can think    11         MS. WELCH: Objection to form.
     12        of any or not. He's just told me that    12   BY MS. BAIG:
     13        he won't answer without a document.      13     Q. As opposed to big distributor or
     14             THE WITNESS: I told you.            14   small distributors?
     15     BY MS. BAIG:                                15     A. No.
     16        Q. I would just like to know if you      16         MR. DIAMANTATOS: Objection to
     17     can actually recall any right now.          17     form.
     18        A. I specifically recalled               18         MS. WELCH: When you're at a
     19     Cardinal, McKesson, AmerisourceBergen,      19     good point, can we take a five minute
     20     Walgreens, Rite Aid, Wal-Mart, Express      20     break?
     21     Scripts, Medco.                             21         MS. BAIG: Sure. Why don't we
     22             I think that's a pretty good        22     do that now.
     23     list from a recollection without any        23         THE VIDEOGRAPHER: We're going
     24     specific materials in front of me.          24     off the record.


                                          Page 283                                        Page 284
      1           The time is 2:39 p m.                  1   version of Adjudicated Discount Coupon
      2           (Recess taken.)                        2   Program Agreement, and it appears to be
      3           THE VIDEOGRAPHER: We're going          3   between Triple i Division of Medimedia
      4       back on the record.                        4   U.S.A. and Actavis Kadian LLC.
      5           The time is 2:53 p m.                  5      A. This is a different agreement.
      6           MS. BAIG: All right. Let's             6           THE WITNESS: There are multiple
      7       have this document marked as the next      7      agreements here.
      8       exhibit.                                   8           MS. WELCH: That's what I'm
      9           This is Bates stamped 01474262         9      wondering.
     10       through '4451.                            10           Is this a compiled exhibit of
     11           (Boothe Exhibit 17, Adjudicated       11      multiple agreements? We're just
     12       Discount Coupon Program Agreement,        12      trying to understand what it is.
     13       Bates No. ALLERGAN_MDL_01474262 to        13           MS. BAIG: My understanding is
     14       01474331, was marked for                  14      that this was produced as one
     15       identification, as of this date.)         15      document.
     16           THE WITNESS: It's stamped on          16           MS. ANTULLIS: It was produced
     17       the wrong side, but it's okay. I          17      as a family of documents. Looking at
     18       think it is.                              18      the first page, I assume it connects
     19           MS. WELCH: It's clipped.              19      them.
     20           It starts with '4262, correct?        20   BY MS. BAIG:
     21           MS. BAIG: Yes.                        21      Q. So, if you look at, actually,
     22    BY MS. BAIG:                                 22   the second page of the exhibit, there's a
     23       Q. The document at the top of the         23   list of documents.
     24    third page states it's the executed          24           Do you see that?


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                                          Page 285                                         Page 286
      1        A. This (indicating)?                     1   grouped together, or no?
      2        Q. Yes.                                   2      A. From what I've seen the first
      3        A. Yeah.                                  3   four, no.
      4        Q. Okay. And my understanding is          4      Q. Okay. Did you have a file at
      5     this is an agreement between Actavis and     5   Actavis that kept all -- all agreements
      6     Medimedia with respect to the coupon         6   together? Maybe a hard copy file?
      7     program for Kadian.                          7      A. Me? No.
      8             Is that your understanding?          8          Usually the -- all our -- I may
      9             MS. WELCH: Objection to form.        9   have kept specific agreements hard copy,
     10             And, are you talking about a        10   but generally any signed agreement, if you
     11        portion of the exhibit now?              11   see here you see like a legal stamp.
     12             MS. BAIG: I'm talking about the     12          My practice was I wouldn't sign
     13        discount coupon program agreement on     13   any agreement, by the way, unless there
     14        page 2.                                  14   was a legal stamp on it and the sign.
     15        A. Yeah, it only goes to '287.           15          So like this one here has the
     16     Then you've got other agreements that are   16   legal stamp (indicating.)
     17     different companies and different things.   17      Q. Which page number are you
     18        Q. All right. So, let's start with       18   looking at?
     19     this discount coupon program agreement.     19      A. It's Bates '4275. This is,
     20        A. Okay.                                 20   again, relates to this Triple i agreement.
     21        Q. Well, actually let's back up and      21      Q. Okay.
     22     look at the index.                          22      A. So, my practice was I wouldn't
     23             Do you have an understanding as     23   sign anything unless there was a legal
     24     to why all these documents would be         24   stamp on it and initials in there. And

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      1    then when I did sign things, I signed this    1   organized the way they are, I'm not
      2    one in March of 2009, then I may or may       2   entirely sure, but they were produced all
      3    not have kept a hard copy, but generally      3   together.
      4    the document of record legal would have       4           In any event, let's start with
      5    because they would have all the executed      5   the first one, the Adjudicated Discount
      6    signatures. Sometimes you'd sign them         6   Coupon Program Agreement. And this was an
      7    somewhere and the other party would sign      7   agreement, my understanding, correct me if
      8    them somewhere else and they would keep       8   I'm wrong, is that this was an agreement
      9    the integrated signature page.                9   with Medimedia - we touched upon it a
     10           So, again, I don't know why           10   little bit earlier - with respect to the
     11    these are all together 'cause this is        11   coupon program for Kadian.
     12    something and this is something and this     12           Is that your understanding?
     13    is something and you got travel policy       13       A. This looks like it's both a
     14    here. And I haven't even dug down to the     14   telemarketing physician outreach program,
     15    bottom, so.                                  15   as well as then the pharmacy e-blast, a
     16       Q. No, I understand. These were           16   discount coupon, web coupons, program
     17    produced by your counsel as a family of      17   execution discount coupon. So it's more
     18    documents. I assumed that they were          18   than -- it was a agreement with Triple i
     19    produced that way because there's one page   19   that covered several different marketing
     20    at the front which -- which indexes a        20   programs.
     21    number of them, so maybe it was a            21       Q. Okay. And, if you turn -- and
     22    particular file from -- these documents      22   you signed this agreement, correct, on
     23    were all, for the most part, produced from   23   March 18th, 2009?
     24    your custodial file. So why they were        24       A. I signed, yeah, through --


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                                         Page 289                                          Page 290
      1    through page 12, and I didn't check to see    1   A file of 9,000 physicians with phone
      2    if all the exhibits were referenced,          2   numbers will be provided by Actavis.
      3    but --                                        3          Do you see that?
      4       Q. Okay. And, if you look at               4      A. Yes.
      5    Exhibit A of this agreement, it's entitled    5      Q. And that would come from the IMS
      6    "Executive Summary."                          6   data?
      7            Do you see that?                      7      A. It may have come from there,
      8       A. Yes.                                    8   Wolters Kluwer, or some database that had
      9       Q. Okay. And there's a section             9   physician contact information. There's
     10    called "Program Overview."                   10   multiple vendors who provide that.
     11            Do you see that?                     11      Q. Was ValueTrak one of them? Or
     12       A. Yep.                                   12   ValueCentric?
     13       Q. And it references a physician          13      A. I don't know.
     14    outreach program, a pharmacy email blast,    14      Q. And, the third bullet underneath
     15    discount coupons, web coupon, project        15   the "Physician Outreach Program" states:
     16    flow, program execution, discount coupon -   16   Triple i customer service representatives
     17    up to $50 off each prescription.             17   will be trained on the approved call
     18            And those appear to be the key       18   script provided by Actavis.
     19    marketing services that are being included   19          Do you see that?
     20    here.                                        20      A. Yes.
     21            Would you agree?                     21      Q. So your understanding is that
     22       A. Yes.                                   22   Actavis provided Triple i with the script?
     23       Q. Okay. And, under the "Physician        23          MS. WELCH: Objection;
     24    Outreach Program," first bullet it states:   24      foundation.

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      1       A. Will be trained on the approved         1   Kadian point of sale coupon program.
      2    call script provided by Actavis. That's       2          Correct?
      3    what it says.                                 3      A. That's what it says.
      4       Q. And the next bullet states:             4      Q. And would Actavis be providing
      5    Each physician in the physician file will     5   the 43,000 pharmacies to Medimedia, or
      6    receive a phone call from a CSR to            6   would it be the other way around? Do you
      7    communicate the following.                    7   know?
      8           Do you see that?                       8          MS. WELCH: Objection;
      9       A. Yes.                                    9      foundation.
     10       Q. And it's: Acquisition of Kadian        10      A. I don't know.
     11    by Actavis, launch of new Kadian POS         11      Q. But Actavis certainly had the
     12    coupon program, and any additional program   12   data to provide the 43,000 pharmacy
     13    related to the product which Actavis has     13   stores, correct?
     14    assumed and chosen to continue.              14      A. No. I think it's actually that
     15           Do you see that?                      15   they had a list of the pharmacies.
     16       A. Yes.                                   16      Q. You don't think that Actavis had
     17       Q. Do you know what additional            17   pharmacy level data?
     18    programs are being referred to there?        18      A. For what?
     19       A. No.                                    19      Q. Pharmacy level -- to target
     20       Q. And it appears under the               20   pharmacies to receive this coupon pro --
     21    pharmacy email blast section that: 43,300    21   this coupon.
     22    pharmacies and stores will receive an        22      A. No.
     23    email blast at the launch of the point of    23          MS. WELCH: Objection to form.
     24    sale coupon program to introduce the new     24      A. I don't believe we did. I don't


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                                          Page 293                                         Page 294
      1    think we kept a record of pharmacies.         1   they had access to all the individual
      2       Q. You don't believe that Actavis          2   pharmacies.
      3    had a record of -- you don't believe that     3         So, I don't think in the normal
      4    Actavis had data which would allow it to      4   course of Actavis's business did we keep
      5    target certain pharmacies?                    5   an active or -- list of pharmacies.
      6       A. I don't believe so.                     6      Q. I see. But you received data
      7           MS. WELCH: Objection to form.          7   from another entity.
      8       A. Again, we didn't sell to                8         Is that right?
      9    individual pharmacies. Our product would      9         MS. WELCH: Objection to form.
     10    be distributed to FDA-approved and           10      A. Received what data?
     11    DEA-licensed wholesalers or direct chains.   11      Q. Data with -- with respect to the
     12    We didn't really distribute product at an    12   pharmacies to be able to target
     13    individual pharmacy level. That doesn't      13   pharmacies.
     14    mean we didn't have access to lists of       14         MS. WELCH: Objection to form.
     15    pharmacies or, again, who were the member    15      A. I read this that Triple i was
     16    pharmacies of the various regional           16   sending out the blast. We didn't send
     17    distributors.                                17   them out. So Triple i must have had or
     18           I mean, obviously if a CVS, I         18   they had their access to those pharmacies.
     19    mean, CVS stores are all -- this is, by      19   I'm not certain.
     20    the way, way before the advent of Google     20         It doesn't appear to me that
     21    Maps, I'm sure, but there are folks who      21   they provided us that list, but I'm not
     22    had lists of physical locations and many     22   certain. I don't think that they did.
     23    of the distributors, and that was one of     23      Q. And you don't believe that
     24    their -- one of their selling points is      24   Actavis could have a list of highest

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      1    dispensing pharmacies from Wolters Kluwer     1           Why didn't you just send it
      2    or IMS or any other data-providing            2   yourself?
      3    organization?                                 3       A. Well, again, this is to have a
      4           MS. WELCH: Objection to form;          4   customer service representative call. So
      5       calls for speculation.                     5   we contracted with Triple i to have their
      6           MR. DIAMANTATOS:                       6   customer service representatives call,
      7       Mischaracterizes the witness's             7   which takes effort, and we paid them a
      8       testimony.                                 8   per-call amount, rather than use our
      9       A. I'm not aware if they had those         9   own -- we didn't have an outbound
     10    services or if we contracted for them.       10   organization.
     11           Usually the Wolters Kluwer data       11       Q. And, do you know whether, after
     12    would be at a physician level, not at a      12   Medimedia sent the email blast to the
     13    pharmacy level, but they may have had that   13   43,300 pharmacies, whether Actavis had a
     14    service. We may have contracted for it.      14   list of which pharmacies received that
     15    I don't know if we did or we didn't.         15   email blast?
     16       Q. Okay.                                  16           MS. WELCH: Objection to form;
     17       A. If we had a list of pharmacies,        17       foundation.
     18    why would we use Triple i to then send       18       A. No. I mean, did they send us a
     19    faxes to them? We could send them            19   little -- you know, back in the days, I
     20    ourselves potentially. But I don't think     20   mean, who faxes now, but that little fax
     21    we had a list of pharmacies.                 21   confirmation receipt page? I don't know
     22       Q. Well, you had the list of              22   if they did or didn't send it back to us.
     23    physicians and you're still using Triple     23   I have no idea.
     24    i. I had the same question.                  24       Q. And under "Discount Coupons" it


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                                          Page 297                                          Page 298
      1     states: A list of physicians to be            1   in your information and you mail it back
      2     included in the point of sale coupon          2   and potentially that's what would -- you
      3     program will be provided by Actavis with      3   mail it back to Triple i and if they're on
      4     the assistance of Triple i.                   4   the list, they'll send them more cards,
      5            Do you see that that?                  5   potentially. That's how I read that.
      6        A. Yes.                                    6      Q. They'll send them more discount
      7        Q. And 280,000 discount coupons            7   coupons, correct?
      8     will be assembled into 28,000 units of 10.    8      A. Correct.
      9            Correct?                               9          Which is, I think, a card,
     10        A. Yes.                                   10   right?
     11        Q. And each pack of 10 discount           11      Q. And 10,000 discount coupons were
     12     coupons will contain a re-order business     12   placed into inventory for fulfilment of
     13     reply card.                                  13   physician requests.
     14            Do you see that?                      14          Correct?
     15        A. Yes.                                   15      A. Yes, that's what it says.
     16        Q. Do you know what a re-order            16      Q. And then with respect to the web
     17     business reply card is?                      17   coupon, do you have an understanding of
     18        A. I could speculate, but no, I           18   what the web coupon was?
     19     don't know exactly what that is.             19      A. It says: Set up a coupon
     20        Q. Do you have a general idea of          20   landing page for a printable one-page
     21     what that is, or no?                         21   coupon that offers up to $50 off the
     22        A. It's probably a index card that        22   patient's out-of-pocket expense.
     23     has a self-addressed stamp or whatever,      23      Q. So, did that mean that a patient
     24     like a post thing, and probably you fill     24   could go to the Internet and print out the

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      1     coupon?                                       1   identical to what's here?
      2        A. That's how I read it.                   2      A. No.
      3        Q. And then a few pages down you           3      Q. No, you don't know?
      4     see the final coupons.                        4      A. I don't know.
      5            Is that right?                         5      Q. Okay. And, if you turn the next
      6        A. What page?                              6   page, there's something titled "Kadian
      7        Q. The one ending in '283 and '284.        7   2009 In-Bound Calls Coupon NDC Utilization
      8        A. These are illustrative or               8   Report."
      9     illustrations of it.                          9          What does this show?
     10            I see FPO, so that means it's         10          MS. WELCH: Objection;
     11     obviously not the final. This is just a      11      foundation.
     12     placeholder for -- FPO is for placement      12      A. Well, it's -- it's reading that
     13     only, I believe.                             13   drug name, forms strength NDC,
     14        Q. So you don't know whether these        14   redemptions, NDC expense, coupon.
     15     were the final or not?                       15          This looks to be a --
     16        A. Well, again, this is a                 16   essentially what happened was we provided
     17     presentation deck. I mean, the final were    17   the coupons, and so when the patients went
     18     actual physical coupons. So this would       18   with their prescription that the doctor
     19     never be the final.                          19   had written to the pharmacy to get their
     20        Q. Sure.                                  20   prescription filled, then they would use
     21            It says at the top "Hard copies       21   the coupon and so they would get $50 off
     22     to be provided."                             22   their co-pay at the pharmacy level. If
     23            But, I guess my question is do        23   the co-pay was $50. If it was less than
     24     you know whether the hard copies were        24   $50, it would be free to them. If it was


                                                                  75 (Pages 297 to 300)
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                                          Page 301                                         Page 302
      1    more than $50, it would be whatever their     1   looks like it's the beginning of a new
      2    co-pay was minus the 50.                      2   agreement. It says "Supply Agreement."
      3           And this is essentially Triple i       3          Do you see that?
      4    was administering the program, would then     4      A. Yes.
      5    get information at the pharmacy level so      5      Q. And, who is Noramco Inc.?
      6    they could then basically pay the pharmacy    6      A. Let me just look at the
      7    back for the $50 or whatever the amount       7   agreement here briefly.
      8    was that was the coupon. So that way the      8          (Perusing document.)
      9    pharmacy is whole in the process.             9      A. So, Noramco, in this agreement
     10       Q. I see. So in the right-hand            10   here, Noramco is a raw material supplier,
     11    column where it says "Total paid to          11   what was called an API supplier. So a
     12    pharmacy," that's Actavis's payment to the   12   DEA-licensed, FDA-approved supplier of raw
     13    pharmacy to make them whole for the $50      13   materials. In this instance, it's
     14    coupons that were used?                      14   morphine sulphate, so the active
     15       A. That was Triple i's payment to         15   ingredient in both branded Kadian and
     16    the pharmacies for the program that we       16   generic Kadian or other generic morphine
     17    contracted for them to administrative.       17   products, potentially. This -- and they
     18       Q. Okay.                                  18   were our raw material supplier for, don't
     19       A. Which we paid Triple i for, so.        19   know if it says the specific drug in here
     20       Q. Okay.                                  20   or not.
     21       A. We didn't directly pay a               21          It says morphine sulphate.
     22    pharmacy. We, Actavis, did not directly      22      Q. If you move forward a few more
     23    pay a pharmacy.                              23   pages, you get to a new agreement. It's
     24       Q. And if you turn the page, it           24   called "Contract Sales Force Agreement by


                                          Page 303                                         Page 304
      1    and between inVentiv Commercial Services      1   practitioners, family practitioners and
      2    LLC and Actavis Kadian" dated May 1st,        2   general practitioners, pain specialists,
      3    2009.                                         3   podiatrists, orthopedic specialists,
      4           Do you see that one?                   4   physical medicine and rehabilitation
      5       A. Yep.                                    5   specialists, neurologists and
      6           MS. WELCH: Is that '304 at the         6   anesthesiologists; and, 2, other health
      7       bottom?                                    7   care professionals or paraprofessionals as
      8           MS. BAIG: Yes.                         8   indicated by Actavis from time to time
      9    BY MS. BAIG:                                  9   that are legally authorized to write
     10       Q. And this is the agreement with         10   prescriptions for the product located in
     11    respect to your use of the inVentiv          11   the territory pursuant to applicable laws.
     12    sales -- sales reps that we discussed        12          Do you see that?
     13    earlier?                                     13     A. Yes.
     14       A. Yes.                                   14     Q. And the product at issue is
     15       Q. And, if you turn to page 3             15   Kadian.
     16    there's a definition of prescribers or       16          Is that right?
     17    targeted prescribers.                        17     A. Branded Kadian, yes. Morphine
     18           Do you see that?                      18   sulphate extended-release, the brand, yes.
     19       A. Yeah.                                  19     Q. So, these were the types of
     20       Q. And it states that: Prescribers        20   prescribers that were being targeted by
     21    or targeted prescribers shall mean as        21   the sales force.
     22    identified by Actavis, 1, medical doctors    22          Is that your understanding?
     23    and doctors of osteopathy that are primary   23          MS. WELCH: Objection; form.
     24    care physicians, i.e. internal medicine      24     A. Yes.


                                                                 76 (Pages 301 to 304)
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                                         Page 305                                           Page 306
      1       Q. If you keep going many or pages         1   This would be their incentive compensation
      2    until you get to the one Bates stamped        2   program.
      3    01474358.                                     3      Q. And I think this is in line with
      4       A. '358. Okay.                             4   what you testified to earlier where it
      5       Q. It's an Exhibit C-1 to the              5   says halfway through: No bonus will be
      6    inVentiv agreement stating "Performance       6   earned until 85 percent of quota has been
      7    Compensation Plan."                           7   met.
      8           Do you see that?                       8           Is that right?
      9       A. Okay.                                   9      A. That was a different -- you were
     10       Q. And it states: 2009 Kadian Area        10   asking me more about how corporate bonuses
     11    Business Manager Incentive Compensation      11   were paid. Bonuses for me.
     12    Program.                                     12           This is, again, this is for the
     13           Correct?                              13   act -- the contracted sales
     14       A. Yep.                                   14   representatives that we contracted with
     15       Q. Who is this an incentive               15   through inVentiv. So, again, they had a
     16    compensation plan for? Do you know?          16   base salary and they had the opportunity
     17       A. Well, again, the -- so, now, ABM       17   to earn up to looks like $20,000. So
     18    stands for area business manager. I think    18   again, if I look at the mix, they were
     19    you asked that on an earlier chart.          19   probably -- it's probably in here
     20           So, the -- the resources we were      20   somewhere, whatever their actual salary
     21    contracting with inVentiv, their -- the      21   is, and then this potential bonus
     22    sales team were either area business         22   component, subject to performance of --
     23    managers or some -- so these would be the    23   performance against the quota. The quota
     24    folks who were calling on the physicians.    24   here defined as some level of


                                         Page 307                                           Page 308
      1    prescriptions written by their targeted       1          (Perusing document.)
      2    physicians.                                   2          Okay. I mean, I -- not that
      3        Q. Okay. I think that's it on the         3   it's material, but the document says
      4    next page.                                    4   February 1st and my signature was
      5           Do you see on the next page            5   September 1st. But that's another point.
      6    where it says: Table 1 Kadian ABM payout      6          But, a patient assist -- so, as
      7    versus percent to goal?                       7   I mentioned before in my testimony, so, a
      8        A. Okay.                                  8   patient assistant program is a common
      9        Q. Is that what you're referencing?       9   technique that pharmaceuticals companies
     10        A. Yes.                                  10   utilize to provide access for our
     11        Q. Okay. And if you turn to the          11   FDA-approved legally-dispensable product
     12    page that's Bates stamped '381 at the end    12   for those patients that may not have
     13    of the Bates stamp.                          13   insurance, may be below a certain
     14           Well, actually, you need to move      14   financial income level. Sometimes it's
     15    forward to '372, please. There's a           15   two Xs to Medicaid. So patients that may
     16    document that's titled "Patient Assistance   16   be prescribed this product that fall below
     17    Program Agreement."                          17   a certain level are eligible to receive
     18           Do you see that?                      18   either subsidized or free or much lower
     19        A. Yep.                                  19   priced product than those who apply for
     20        Q. Can you tell me what a patient        20   and are deemed eligible for the patient
     21    assistance program is?                       21   assistance program. That's not the same
     22        A. I'm just looking at this as           22   as the coupon program, which is a discount
     23    well, just so I make myself familiar with    23   off with a co-pay which, again, would be
     24    it.                                          24   for another -- you know, other patients


                                                                 77 (Pages 305 to 308)
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                                          Page 309                                          Page 310
      1    who have been prescribed legally our           1      form.
      2    FDA-approved product by the licensed           2      A. Well, if the product was free,
      3    physician.                                     3   then how -- it would be no. I mean, we
      4       Q. And, why did Actavis offer a             4   would -- we would -- it would be a loss,
      5    patient assistance program?                    5   actually.
      6       A. 'Cause it was the belief of our          6      Q. Unless it brought in new
      7    company, and I think a belief of most          7   customers that you expected to be paying
      8    branded ethical pharmaceutical companies,      8   later. I don't know the answer to that.
      9    to provide access to all our medicines         9          I'm just asking whether there
     10    even if the patient can't afford it,          10   was ever return on investment analysis for
     11    subject to certain financial criteria,        11   patient assistance programs?
     12    income criteria and other eligibility.        12          MR. DIAMANTATOS: Objection to
     13       Q. So, Actavis didn't profit off of        13      form.
     14    the patient assistance program?               14          MS. WELCH: Objection to form.
     15           MR. DIAMANTATOS: Objection to          15          MR. DIAMANTATOS: Vague;
     16       form.                                      16      foundation; argumentative.
     17       A. I think the purpose of the              17      A. Again, I mean, I'm not aware of
     18    assistant program is it was free or it was    18   any return on investment analysis, as you
     19    at a reduced cost.                            19   described.
     20       Q. Do you know whether ultimately          20          This was, again, this was a -- a
     21    Actavis would profit from patient             21   decision we made as a company, consistent
     22    assistance programs?                          22   with others who also provide patient
     23           MS. WELCH: Objection to form.          23   assistance programs, to provide access to
     24           MR. DIAMANTATOS: Objection to          24   our FDA-approved product that had a clear

                                          Page 311                                          Page 312
      1     and determined medical need that              1   development, business development, so.
      2     physicians could prescribe.                   2      Q. And, what does SOW refer to? Do
      3        Q. Was it considered part of               3   you know?
      4     commercial development?                       4      A. It's -- can you show me where it
      5            MS. WELCH: Objection to form.          5   is in the document?
      6        A. What do you mean by commercial          6      Q. Yeah, on the page with the Bates
      7     development?                                  7   stamp 01474383.
      8        Q. Would it have fallen under              8      A. Okay.
      9     commercial development program?               9      Q. It says at the top: Kadian
     10        A. Which means what?                      10   Capsules Patient Assistance Program SOW.
     11            MS. WELCH: Objection to form.         11      A. Sorry. Which Bates number
     12        A. I don't understand what you mean       12   again?
     13     by commercial development program.           13      Q. It ends in '383.
     14        Q. Well, I'm just looking at the          14      A. Okay. Well, the '382 says SOW,
     15     page where it says "Terrence Fullem is the   15   or says statement of work. So I'm
     16     VP of commercial development," and it        16   assuming SOW probably means statement of
     17     appears his name is on the patient           17   work.
     18     assistance program.                          18      Q. And it states just below that:
     19        A. Well, again, Terry, or Terrence        19   Estimated volume 100 to 150 new patients
     20     Fullem was responsible for all activities    20   per month.
     21     around the Kadian brand as part of his       21           Do you see that?
     22     multiple responsibilities. So, as I          22      A. Yes.
     23     testified earlier, he also had product       23      Q. And the program duration was for
     24     development, portfolio, corporate            24   twelve months.


                                                                  78 (Pages 309 to 312)
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                                          Page 313                                           Page 314
      1           Do you see that?                        1      Q. And it goes on to state: This
      2       A. Yeah.                                    2   Actavis patient assistance program would
      3           I just want to familiarize              3   be completely turnkey and would provide
      4    myself with this document since you're         4   program management and support in the
      5    diving in on it.                               5   following areas: front end support to the
      6           So, what's the question?                6   physicians calling in to enroll their
      7       Q. This program was for twelve              7   patients in the program, receiving
      8    months, according to this page?                8   applications, validating and capturing
      9       A. Yes, that's what it says.                9   practitioner requests, and then providing
     10       Q. Do you know whether it was              10   a personalized Actavis patient assistance
     11    extended or whether the patient assistance    11   program acceptance letter with direct
     12    program for Kadian was longer than for        12   shipment of Kadian to patient to follow.
     13    twelve months?                                13   The direct shipment will allow qualified
     14       A. I have no reason to believe we          14   patients to receive their monthly
     15    didn't continue it, but if you can show me    15   prescription directly shipped to their
     16    a document, I could confirm that.             16   home address for free.
     17       Q. And this is the Triple i                17          Do you see that?
     18    division of Medimedia who is implementing     18      A. Yes.
     19    this program for Actavis.                     19      Q. And, is that your understanding
     20           Is that right?                         20   of what the program involved?
     21       A. Is that who's --                        21      A. These are the services that
     22       Q. I see Triple i referenced at the        22   Triple i is going to do on behalf of
     23    top of page '384.                             23   Kadian as -- or, on behalf of Actavis as
     24       A. Okay. Yeah.                             24   part of this statement of work, yes.

                                          Page 315                                           Page 316
      1         Q. And, in connection with that,          1   patient into the program and that's why,
      2     Triple i was to design an Oracle database     2   again, not an area of expertise for
      3     to support the practitioner request.          3   Actavis. This is an area of expertise
      4            Do you see that?                       4   that Triple i performed this services for
      5         A. Yep.                                   5   multiple pharmaceutical companies, and
      6         Q. What is that?                          6   there are lots of other potential
      7         A. What's an Oracle database?             7   suppliers. That's who we opt -- I guess
      8         Q. Mm-hm.                                 8   we opted to pick of the available partners
      9         A. Sounds like a big spreadsheet,         9   for this. Lots of companies provide
     10     but you'd have to ask folks who know         10   patient assistance programs. So it's a
     11     Oracle better.                               11   common program all throughout the
     12         Q. But you don't know what -- what       12   pharmaceutical space for -- to
     13     it -- what the purpose of the Oracle         13   counterbalance the high cost of branded
     14     database was in this context?                14   prescription products for the population
     15         A. I think it's to capture the --        15   that's below a certain economic threshold,
     16     support the practitioner request. So, the    16   income threshold.
     17     request came in, it went into this           17      Q. And it goes on to state that:
     18     database, and I'm sure there's validation    18   Triple i will provide live operator phone
     19     confirmation that it was a legitimate        19   coverage for physicians and patients
     20     physician, that they were licensed, that     20   requesting Actavis patient assistance
     21     blah, blah, you know, all those sorts of     21   program services.
     22     things that would validate the request, as   22          Correct?
     23     well as whomever the patient is. I'm sure    23      A. Yes.
     24     there's some criteria for accepting the      24      Q. And, who would have written the


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                                          Page 317                                         Page 318
      1     scripts for those phone calls? Would that    1   states that: Patients will have Actavis
      2     come from Triple i, or would that come       2   PAP program eligibility once approved for
      3     from Actavis?                                3   twelve months but product will be limited
      4            MS. WELCH: Objection to form;         4   to a 30-day maximum supply at a time.
      5        foundation.                               5      A. Yes.
      6        A. I don't know. And I'm not              6      Q. Did other organizations offer
      7     certain what the scripts would be.           7   patients -- patient assistance programs
      8            Yeah, I don't know.                   8   for any of your opioid products for
      9        Q. And on the next page, do you see       9   Actavis? Do you know?
     10     "Implementation and Assumptions"?           10          MR. DIAMANTATOS: Objection to
     11        A. Which page?                           11      form.
     12        Q. It ends in '386.                      12          MS. WELCH: Objection; form.
     13        A. So you're skipping the page that      13      A. Could you just repeat that?
     14     talks about the program overview?           14      Q. Were there other organizations,
     15        Q. I think we talked about at least      15   apart from Medimedia, that provided
     16     a good part of it.                          16   patient assistance programs for Actavis?
     17            And, the program assumptions is      17      A. I don't believe so.
     18     that there was an estimate of               18          Again, we had the rest of the
     19     approximately 100 to 150 new orders         19   Actavis portfolio were all generic
     20     processed monthly at the mail-order         20   products, which by nature are low-cost,
     21     pharmacy. There are also 1700 patients in   21   affordable, FDA-approved products. So the
     22     the current program.                        22   only brand item that we had that was
     23        A. That's what it says.                  23   promoted was Kadian and this was the
     24        Q. Okay. A little further down it        24   patient assistance program specifically

                                          Page 319                                         Page 320
      1    for that one branded product.                 1          Who's Norman Stalsberg?
      2           So I think the answer is no.           2      A. So, Norm, Norman or Norm, was
      3           MS. BAIG: Let's have this              3   someone I knew. He worked for -- he
      4       document marked as Exhibit 16. Sorry,      4   actually may have worked for inVentiv, but
      5       18. It's Bates stamped ACTAVIS1132528      5   he was a supplier of contracted services
      6       through '530.                              6   for pharmaceutical companies.
      7           THE WITNESS: I think I messed          7      Q. You mean in his capacity at
      8      the order of this up a little bit.          8   inVentiv?
      9           MS. WELCH: It's all right.             9      A. I don't know if he was -- I
     10           THE WITNESS: If it matters.           10   can't tell from the email if this -- where
     11           MR. DIAMANTATOS: Don't worry          11   he was at at the time.
     12      about it.                                  12          Norm's someone I've known for
     13           THE WITNESS: Yeah. Sorry.             13   quite some time in the space.
     14           (Boothe Exhibit 18, email dated       14      Q. And, who is Gerard? There's a
     15       October 21, 2009, with attachment,        15   reference to him in the first line.
     16       Bates No. ACTAVIS1132528 to 1132530,      16      A. I'm trying to figure that out
     17       was marked for identification, as of      17   myself. There was a Gerard who worked at
     18      this date.)                                18   Actavis. That may be him, but it's not
     19           (Pause.)                              19   clear if that's that Gerard or a different
     20    BY MS. BAIG:                                 20   Gerard, or.
     21       Q. It's an email from Norman              21      Q. Do you know what division Gerard
     22    Stalsberg to you and Terry Fullem.           22   worked in at Actavis?
     23       A. Yep.                                   23      A. Gerard was in our -- Gerard
     24      Q. October 21st, 2009.                     24   Farrell or Ferrell or something, he was in


                                                                 80 (Pages 317 to 320)
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                                          Page 321                                          Page 322
      1     internal communications or customer --        1      A. Okay.
      2     internal comms. He had a, again, a            2      Q. He states: I got a copy of the
      3     communications role. He wasn't involved       3   raw physician file from Gerard and did
      4     in the marketing, selling, or he wasn't       4   some checking on my own.
      5     involved in the business, per se. He was      5          Do you see that?
      6     at headquarters. That Gerard. But this        6      A. Mm-hm.
      7     could be a very different Gerard.             7      Q. Okay. And then he goes on to
      8        Q. Do you know who Chris --                8   state: According to Gerard, the final
      9     Christine Ballo is?                           9   targeting file for the 18 reps was 1,641
     10        A. I know her as someone, again,          10   high Kadian prescribers. The top 1,641
     11     back in my recollection is she works at      11   prescribers actually account for 50.3
     12     inVentiv. So, at this time, this could       12   percent of total Kadian volume. So I
     13     have been Norm was at inVentiv and           13   think your 91 percent pullback is a bit
     14     Christine Ballo was at inVentiv, and         14   misleading.
     15     Gerard could have been at inVentiv as        15          Do you see that?
     16     well. It's not clear from the email.         16      A. That's what he wrote.
     17        Q. In any event, Norman appears to        17      Q. Do you know what he's referring
     18     be sharing with you that he got a copy of    18   to with respect to your 91 percent
     19     the raw physician file from Gerard and did   19   pullback?
     20     some checking.                               20      A. It's this attachment at the end.
     21            Do you see that?                      21      Q. You mean the Kadian physicians
     22        A. Where do you read that?                22   that are listed here?
     23        Q. In the first line. Well, the           23      A. No. This -- this page
     24     second sentence of the first line.           24   (indicating.)

                                          Page 323                                          Page 324
      1        Q. Okay. The page that says                1   anywhere basically if you're provided a --
      2     "Kadian monthly total prescriptions actual    2   a hundred -- and so, pullback is 75
      3     versus consultants predictions"?              3   percent reduction means if you took the
      4        A. Correct.                                4   number of sales reps that Alpharma had in
      5        Q. I see.                                  5   the field, which at the time was like 400,
      6            And there's a line here that's         6   and reduced it by 75 percent, this is what
      7     marked "Actual (91 pullback.)"                7   the consultants would have said that the
      8            Do you see that?                       8   expected trajectory of the scripts would
      9        A. Yeah.                                   9   happen, given the share of voice in the
     10        Q. What does that mean?                   10   market space, the way the physicians
     11        A. Well, again, so, there was a           11   respond to promotion, and then -- or 50
     12     time where a third party came in to, and I   12   percent or half or -- 75 -- 25 percent,
     13     think it was with inVentiv or some other     13   which is three-quarters. As I mentioned
     14     group, to provide us a prospectus. When      14   before, we only had 18 people. So
     15     we acquired the asset, we didn't have any    15   effectively, we had a 91 percent pullback.
     16     sales resources in the field, and we saw     16   I don't know if you do the math between
     17     that decline in prescriptions faster than    17   400 or whatever the number is and 18, but
     18     we had thought. That was -- I think we       18   that number of -- of salesperson that we
     19     had talked about that earlier in the         19   put in the field represented a 91 percent
     20     morning. So we engaged with a third party    20   reduction from the previous level of
     21     to give us a sense as to what, you know,     21   support and promotion that this asset had
     22     what are the options for the company and     22   gotten at Alpharma prior to us acquiring
     23     the third party did a presentation, which    23   the asset.
     24     again it got repurposed here, that said      24          And, so, this chart is basically


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                                         Page 325                                          Page 326
      1     saying, well, it's basically saying that     1   products, P2 would be the whatever amount
      2     with a 18-person sales organization, we      2   of time they had with the physician, their
      3     basically stabilized around 50,000           3   first detail position would be the first
      4     prescriptions.                               4   message that they were to give, and if
      5             Although, again, by the way,         5   they had an opportunity to go into a
      6     this is dated in October and the chart       6   second one, that would be P2.
      7     goes out through December. So some           7          I read this email as Mr.
      8     portion of this is an approximation or an    8   Stalsberg trying to justify some time
      9     estimate. I don't know what portion of it    9   earlier, either -- maybe it was his
     10     is real or actual. You'd have to ask Mr.    10   consultants who provided this information,
     11     Stalsberg for that.                         11   'cause our actual facts are showing a much
     12        Q. And when he states: It's              12   different outcome. So he's trying to
     13     believed that Alpharma had Kadian in a P2   13   provide some justification for why either
     14     detailing position and a significant        14   him or his third party or some other group
     15     number of low value Kadian prescribers in   15   provided that information which, as you
     16     their call list.                            16   can tell from here, we didn't believe or
     17             What is a P2 detailing position?    17   hold stock in and we went our own -- we
     18        A. Position 2.                           18   went our certain path.
     19             So, the way a sales organization    19          That's how I read this and
     20     that has multiple products in its bag, as   20   that's my recollection of the -- the
     21     they call it, or their -- a sales           21   background of the information.
     22     representative is targeted with promoting   22      Q. Okay. And he states that his
     23     or providing information about multiple     23   belief is that the current success that
     24     branded products, FDA-branded approved      24   Actavis was seeing could be attributed to

                                         Page 327                                          Page 328
      1    two things. One, the high value targets       1   indication that we were operationally
      2    mentioned above.                              2   effective.
      3           That would be the high                 3          And I'm tipping myself to a
      4    prescribers physician list.                   4   95-plus percent confident Gerard was an
      5           Is that right?                         5   inVentiv employee because now I think I
      6       A. Yep.                                    6   might know who that person might be.
      7       Q. 2, a P1 detailing position. And         7      Q. Okay. Do you know his last
      8    3, ongoing volume carryover of currently      8   name?
      9    non-targeted physicians.                      9      A. I knew you were going to ask me
     10           Is that consistent with your          10   that.
     11    understanding?                               11          No, but I think he's an inVentiv
     12       A. That's what he wrote.                  12   employee, or was at the time.
     13       Q. Did you have a different               13          MS. BAIG: Let's have this next
     14    understanding as to why you were seeing      14      document marked as Exhibit 19. It's
     15    success?                                     15      ACTAVIS0822310 through '321. It
     16           MS. WELCH: Objection to form.         16      starts as an email from Natalie Leitch
     17       A. Again, if I look at the data and       17      to you and others. The subject is
     18    I remember the results, we -- we felt        18      "Response to Kadian return goods
     19    very -- you know, with the commitment to     19      policy."
     20    the resources and partnered with inVentiv    20          (Boothe Exhibit 19, email dated
     21    and the sales representatives that they      21      June 12, 2011, with attachment, Bates
     22    chose and how we aligned them towards the    22      No. ACTAVIS0822310 to 0822331, was
     23    high value or high prescribing physicians,   23      marked for identification, as of this
     24    that these -- that these results were an     24      date.)


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                                          Page 329                                         Page 330
      1            THE WITNESS: Okay.                    1   According to fiscal year 2010 data, 8,715
      2     BY MS. BAIG:                                 2   units (bottles of 100s) were shipped to
      3        Q. Do you know who Chris Hepp is?         3   these chains. This translates to about
      4        A. Yeah.                                  4   13,000 prescriptions dispensed. I will
      5        Q. Who's is that?                         5   confirm with ValueTrak tomorrow that all
      6        A. So, Chris was one of the               6   Kroger and Safeway locations are captured
      7     regional -- or, regional sales manager or    7   in the above data so that we can have a
      8     district sales managers.                     8   clear idea of the volume we're doing
      9            So, I believe at this point, we       9   through these chains.
     10     had expanded the Kadian sales team from     10          Does this refresh your
     11     around 18, which was the initial number,    11   recollection at all as to what type of
     12     to around 60. So, in doing so, we put in    12   data you were receiving from ValueTrak?
     13     a layer of regional sales managers or       13      A. I didn't say anything about what
     14     regional sales directors, and there were    14   kind of data we were receiving from
     15     four of them, and Chris was one of them.    15   ValueTrak.
     16     He had the midwest, Chicago area-ish, or    16      Q. Correction.
     17     maybe out to Denver, it looks like. Or      17          I think I asked you about
     18     maybe he had the west. He had one of the    18   ValueCentric, and I think you said you
     19     four territories.                           19   didn't recall. I could be wrong, but I
     20        Q. And in the last paragraph of the      20   don't want to argue about it.
     21     first page it states: In the meantime,      21          I'm just wondering if you know
     22     I've had a look at ValueTrak data which     22   anything about the data that Actavis was
     23     shows the units shipped to retail           23   receiving from ValueCentric or ValueTrak.
     24     locations for Kroger and Safeway.           24          My understanding is that

                                          Page 331                                         Page 332
      1    ValueCentric is the company and ValueTrak     1   will happen is you'll sell it to McKesson
      2    is the data provider.                         2   at a hundred gross, and then what happens
      3        A. I think ValueTrak came on at           3   is when McKesson actually -- when the
      4    some point, they had a service where they     4   order comes in from the independent
      5    would provide you data leveraging the EDI     5   pharmacy into McKesson on the program and
      6    about shipments to -- not to -- again, it     6   McKesson ships it to the pharmacy, they
      7    may be the specific location, but it          7   will -- they will basically charge you
      8    certainly was to specific trains -- chains    8   back, charge back to Actavis, $70, which
      9    or accounts. It was actually something we     9   is the difference between the contract
     10    utilized both on the brand side, on the      10   price of 30 and the WAC price of 100.
     11    generic sides, as a means to validate.       11          So, the extent to which of let's
     12            A big issue in the generic side,     12   say that what was being allegedly charged
     13    it's called gross to net, or chargebacks,    13   back seemed to be a lot more than what was
     14    which I don't -- I could spend the next      14   actually being shipped out or whatever,
     15    six hours of this deposition describing      15   ValueTrak actually provided a service,
     16    how chargebacks work. But, effectively,      16   very, very important on the generic side,
     17    when you sell something into a -- into       17   to make certain that, quite frankly, the
     18    a -- into a wholesaler, like a McKesson,     18   wholesalers or distributors weren't
     19    and they have a contract price with a        19   playing any kind of games with it.
     20    independent pharmacy who's in their          20          I think we also utilized this
     21    program, you sell it into McKesson at        21   just as, likewise, a control mechanism on
     22    what's called WAC, say it's a hundred        22   all our products, Kadian being one of
     23    dollars, but you may have a contract price   23   them, but the gross to net of the
     24    with the direct pharmacy at $30. So what     24   chargeback issue was much less of an issue


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                                          Page 333                                          Page 334
      1    there because the contract price was           1   would be the DEA 222 form, the DEA form
      2    essentially the brand, AWP or WAC.             2   that any -- any order for any narcotic,
      3           But again, I don't believe we           3   Schedule II to Schedule V, requires a
      4    got the ValueTrak at this level of             4   special form. So, on one hand, the
      5    specificity, which was store specific. It      5   physician's writing prescriptions, so the
      6    was account specific as each account had a     6   physician is licensed, validated. He
      7    specific EDI code of some sort. So that's      7   writes a -- he or she writes a
      8    how ValueTrak was able to provide those        8   prescription, but the transfer of the --
      9    services, and we would track that way to       9   of the materials, the bulk materials in
     10    make certain that the chargeback data was     10   here, example bottles of 100 Kadian, no
     11    appropriate.                                  11   order can come -- can be released
     12       Q. ValueTrak allowed you to make           12   without -- without an accepted 222 form,
     13    sure the chargeback data was appropriate      13   which is the DEA form.
     14    because it allowed you to see the numbers     14          So, pharmacy in Maryland that's
     15    of drugs being shipped from your customers    15   connected with AmerisourceBergen would
     16    to their customers.                           16   send a 222 order in to both us and to
     17           Is that right?                         17   McKesson and through our CSOS program,
     18       A. Again, well, as I described it,         18   which is controlled substance ordering
     19    ValueTrak provided shipment data from --      19   program, and then the suspicious order
     20    from wholesalers to the next where --         20   monitoring program we had in place, as
     21    that's my understanding of ValueTrak, but     21   well as our partners had in place, they
     22    I won't profess to be an expert of it.        22   had their owns, would then validate and
     23           The reason that that is there,         23   look at those orders and determine whether
     24    and especially for controlled substances,     24   or not to release those orders.

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      1            But anyway, the ValueTrak would        1   product from our UPS distribution center
      2     just track the -- validate, if you will,      2   to the Cardinal national logistic center,
      3     the physical movement of those products.      3   and then Cardinal would then determine how
      4     We used it -- like I say --                   4   that product got distributed around the
      5        Q. From your customers like a              5   country. We had no visibility to what
      6     distributor, for example, to the              6   Cardinal did with once it got to into
      7     pharmacies?                                   7   their control other than we would have
      8        A. That's my understanding of              8   chargeback data so then we could see.
      9     ValueTrak.                                    9   'Cause the other issue was sometimes we
     10            And we used that to validate --       10   would contract for a price with a certain
     11     we used that to validate chargebacks. I      11   account. We'd send the product to
     12     believe we also used it to make certain      12   Cardinal. The account would say hey, how
     13     that, for example, there weren't shortages   13   come we don't have access to product. We
     14     in certain areas, potentially. Because,      14   were like we sent it to Cardinal. So
     15     again, when we sent it to a wholesaler, we   15   that's a question for those folks in the
     16     would generally send it -- the wholesalers   16   distribution chain.
     17     had national logistic centers or regional    17      Q. But you wanted visibility into
     18     logistic centers. So our contract with       18   where Cardinal was sending your drugs so
     19     Cardinal, for example, is every Cardinal     19   that you could see whether or not the
     20     order, and Cardinal supports the entire      20   chargebacks were correct?
     21     United States and Puerto Rico and other      21          MS. WELCH: Objection to form.
     22     parts of the world, but only licensed for    22      A. That's how I -- that's my
     23     us in the U.S. We would get one order for    23   understanding of why ValueTrak was in --
     24     Cardinal. We would ship all of our           24   in our infrastructure or whatever. We


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                                         Page 337                                          Page 338
      1    subscribed to that service.                   1      A. We didn't target high-dispensing
      2       Q. Okay. And, could you also               2   pharmacies.
      3    obtain data from ValueTrak that showed        3      Q. So when you did your email
      4    high-dispensing pharmacies for a certain      4   blasts to thousands of pharmacies, you
      5    drug, irrespective of whether it was your     5   just picked those randomly?
      6    product or a competitor's product?            6          MR. DIAMANTATOS: Objection to
      7       A. I don't think so.                       7      form.
      8           Like I say, as I described to          8          MS. WELCH: Objection to form;
      9    you my understanding of ValueTrak, again,     9      misstates testimony.
     10    I don't think it was retail at that level    10          MR. DIAMANTATOS: Argumentative.
     11    of pharmacy level. It was, again, based      11   BY MS. BAIG:
     12    on the EDI or the license code for the --    12      Q. Or did you select certain
     13    the pharmacy or the -- so that's, I          13   pharmacies to send your email blasts to?
     14    believe it was all based on the EDI          14      A. Well, the example you showed me
     15    systems and 222 forms, all stuff that was    15   with Keenmore [ph], or whatever it is, my
     16    at a more aggregated level, rather than at   16   understanding of that was that they had
     17    a individual location level.                 17   43,000 pharmacies in their program. So we
     18       Q. And, so, when -- we've already         18   sent them to all of the pharmacies in that
     19    talked about how it was that you were able   19   example.
     20    to target the highest prescribers, but how   20          That's my understanding of that
     21    were you able to target the highest          21   example. But if you have a more specific
     22    dispensing pharmacies? Through what data     22   one, I'd be happy to comment on it.
     23    set?                                         23      Q. No. But my question really is
     24           MS. WELCH: Objection to form.         24   just about your understanding.


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      1          Was your understanding that you         1          And if you had something you
      2    had no way to track high-dispensing           2   could show me, I could comment on it.
      3    pharmacies?                                   3      Q. So you don't remember one way or
      4          MS. WELCH: Objection to form.           4   the other whether Actavis was -- was
      5       A. Yes.                                    5   looking at high-dispensing pharmacies for
      6       Q. Okay.                                   6   purposes of promotion its own drugs?
      7       A. At Actavis. Other than,                 7          MS. WELCH: Objection to form;
      8    again --                                      8      misstates testimony.
      9       Q. No, but I don't just mean at            9      A. I don't believe we did that. I
     10    Actavis. I mean through anybody that -- I    10   don't recall us ever doing that, and I
     11    mean, you didn't have necessarily the data   11   don't think we had access to that
     12    on the high-prescribing doctors either.      12   information.
     13    You're getting data from a variety of        13          Again, we -- we would get orders
     14    service -- of companies.                     14   in through 222 forms from our accounts,
     15          And my question to you is              15   which were, again, were not pharmacy
     16    through any of those companies, or through   16   specific, and they would, again, they
     17    your own company, did you have visibility    17   would come either through the retail chain
     18    into what were the highest prescribing       18   or from the direct wholesaler. I believe,
     19    pharmacies?                                  19   actually, that they came in from the
     20       A. I don't --                             20   McKessons, the Cardinals of the world, but
     21          MS. WELCH: Objection to form.          21   also, again, anybody requesting a
     22       A. I don't specifically recall that       22   controlled substance would also have to
     23    or remember any of that. But that doesn't    23   submit their own 222 forms. Everybody has
     24    mean it doesn't exist.                       24   to be licensed by the DEA and in good


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                                         Page 341                                          Page 342
      1    standing. So, any order that came in, if      1      stamp ACTAVIS09716 -- sorry, '1969
      2    this came in directly to us or through        2      through '1971.
      3    McKesson, I think it came directly to us,     3          (Boothe Exhibit 20, email dated
      4    but we used McKesson for fulfilment. So       4      June 21, 2011, Bates No.
      5    that's why there was the computer -- the      5      ACTAVIS0971969 to 0971972, was marked
      6    controlled substance ordering system and      6      for identification, as of this date.)
      7    the suspicious order monitoring, to make      7   BY MS. BAIG:
      8    certain that there was alignment between      8      Q. What's an objection handling
      9    what the customers -- by the way, again,      9   workshop? Do you know?
     10    through their DEA 222 form, that licensed    10      A. I'd be speculating. It's not in
     11    form, we just wanted to make certain that    11   my normal vernacular.
     12    it was legitimate order.                     12      Q. Towards the end of the first
     13       Q. Do you know who Mark Killion is?       13   page, there's a paragraph that starts: Is
     14       A. Yeah.                                  14   there any way we can reference morphine
     15       Q. Who is that?                           15   sulphate that's in the PK graph of our
     16       A. So, Mark was another one of the        16   sales aid?
     17    four RSMs or DMs. I think he also had        17          Do you know what PK stands for?
     18    responsibility for training of the sales     18      A. I think it's pharmacokinetic or
     19    force from an Actavis perspective.           19   something, but I don't know a hundred
     20       Q. Training of which sales force?         20   percent certain. Something about blood
     21       A. The Kadian branded sales force         21   levels.
     22    which we contracted through with inVentiv.   22      Q. Can we ask a prescriber about
     23           MS. BAIG: Let's have this             23   their personal experiences, preferences of
     24       document marked as Exhibit 20. Bates      24   Kadian and morphine sulphate?


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      1           Do you have an understanding           1   prescribing due to reimbursement is why
      2    of -- of why he's asking that?                2   they prescribe morphine sulphate.
      3       A. Again, reading this email for           3          What's your understanding of
      4    the first time, 'cause I was not on the       4   what -- what that's referring to, ease of
      5    email string, it looks like Mark, who I'll    5   prescribing due to reimbursement?
      6    again, as I said, was one of the regional     6      A. So, morphine sulphate is a
      7    sales leads. So he had sales team             7   generic and Kadian is a brand. So
      8    underneath him. And looks like he             8   effectively, I mentioned before PBMs or
      9    canvassed his team of ABMs, area business     9   pharmacy benefit managers. Generally when
     10    managers, for ideas or questions,            10   there's an available generic in the
     11    whatever, always were bubbling up as part    11   therapeutic area, and this would be
     12    of a normal process.                         12   morphine, the PBMs will -- will make it
     13           To the extent of which any of         13   more challenging and more difficult for
     14    this went anywhere is unclear.               14   physicians to write branded products.
     15       Q. And, what are ABMs again?              15   They of course will do generic first.
     16           The area business managers.           16   They'll have -- I don't remember the
     17       A. Yes.                                   17   language for it. They'll have prior
     18       Q. And the current concern -- he          18   authorization, is an example of that, or
     19    states at the bottom: The concern is that    19   have other stops or have -- require
     20    we ask the area business managers to         20   patients to fail. Those are some of the
     21    target prescribers who write a large         21   lingo, from my -- my understanding.
     22    amount of morphine sulphate but can't        22          So, when there's an available
     23    really discuss anything about conversions.   23   generic, and, again, morphine sulphate,
     24    We know cost is a key issue and ease of      24   again that might be the generic of Kadian


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      1    or it might be the generic of MS contin,      1      A. Which one?
      2    which is also morphine sulphate, then         2      Q. Well, I think it's one document.
      3    again the -- it's easier -- with              3   I think they -- even though there's a few
      4    physicians getting questions back from        4   different pages, but --
      5    patients who they've written a                5      A. Okay.
      6    prescription for and the pharmacy won't       6          (Perusing document.)
      7    fill, or with a high co-pay, that's           7          So, the first page -- so, what
      8    essentially what Mark is, or these ABMs       8   was the question? Sorry.
      9    are funneling up as an area of potential      9      Q. Is this a ValueTrak report?
     10    concern.                                     10      A. No.
     11            MS. BAIG: Let's have this            11      Q. When I look at the third page,
     12       document marked as Exhibit 21. It's       12   at the top of the chart it says "Total
     13       Bates -- it's Bates stamped               13   ValueTrak input tab." And, so, I was just
     14       ACTAVIS0960324 through '327.              14   wondering if this is something that's
     15            (Boothe Exhibit 21, email dated      15   derived from the ValueTrak tool.
     16       November 4, 2011, with attachment,        16      A. I -- I believe that these pages,
     17       Bates No. ACTAVIS0960324 to 0960327,      17   starting from '327 to some point, is the
     18       was marked for identification, as of      18   raw data from ValueTrak. And the -- this
     19       this date.)                               19   page '325 here is a summary or a
     20    BY MS. BAIG:                                 20   management dashboard that we created,
     21       Q. And, I would just like to know         21   Actavis created, that incorporates in it
     22    from you whether this is -- is this an       22   some of the ValueTrak information, but
     23    example of a weekly ValueTrak report? Do     23   actually has a lot more information in it
     24    you know?                                    24   from a whole variety of sources.

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      1           So this is a, you know, a              1   page in the email from Natalie Leitch to
      2    management dashboard that brings in           2   you and others it says subject "Kadian
      3    multiple different sources of information     3   weekly update."
      4    in a nice one-page consolidated tool for      4          So, is -- was this something
      5    folks like me and others to look at who've    5   that you received weekly?
      6    got a lot of other things going on in the     6      A. Yes.
      7    day-to-day business.                          7          It's Nathalie.
      8       Q. I see.                                  8      Q. Okay. And, on -- at this
      9           And, so, who generally created         9   particular time, it shows that
     10    reports like this? Or, do you know who       10   OxyContin -- has OxyContin identified on
     11    would have created this report?              11   the pie chart as 30 percent.
     12       A. This specific -- this page right       12          That's 30 percent of what?
     13    here?                                        13      A. Okay. So, this chart that --
     14       Q. Mm-hm.                                 14   pie chart says "Share of LAO TRX September
     15       A. Again, this would have been -- I       15   2011." And the source isn't listed here,
     16    think we utilized this across a variety of   16   but -- so, LAO stands for long-acting
     17    our key products.                            17   opioids. So this is the entire class, and
     18           So, for the Kadian one it would       18   what you see in this pie chart is the mix,
     19    be Nathalie, but for the generic ones, it    19   the percentage of the entire class of TRX,
     20    might have been Jinping or someone in Mike   20   which I believe is total prescriptions,
     21    Perfetto's organization.                     21   but it could be total units. It wasn't
     22           I believe we had several of           22   clear. We were sort of asking that.
     23    these, but I'm not a hundred percent sure.   23          So here you see, actually, that
     24       Q. And if you look at the first           24   Kadian is only 2.7 percent of the total


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      1    class volume. Whereas OxyContin, which is     1   Duragesic. And there you see that by
      2    the -- that's the branded Purdue item, I      2   September 2011 the Duragesic brand, since
      3    believe, is 30 percent of the TRXs for the    3   there were multiple generics available,
      4    class of -- in September of 2011.             4   has really receded as a script component
      5       Q. So this is showing total market         5   of the total long-acting opioid market,
      6    share. This is not specific to Actavis.       6   the brand, but the generics were a big
      7            Is that right?                        7   chunk of the prescriptions.
      8       A. Correct.                                8      Q. And this total ValueTrak data
      9            Again, the Kadian, we were the        9   where it says "Sales out bottles," that's
     10    only person who had -- well, again,          10   all just Actavis bottles.
     11    this -- 'cause the generic version of        11          Is that right?
     12    Kadian would be bundled into the morphine    12          MS. WELCH: Objection to form.
     13    sulphate 'cause that's what the -- the       13      A. Which page are you on?
     14    active ingredient is. Just like MS -- so     14      Q. The first page of the Total
     15    MS Contin would -- brand would be            15   ValueTrak input tab.
     16    somewhere in the all other, but generic      16          MS. WELCH: Objection to form;
     17    version of MS Contin and generic version     17      foundation.
     18    of Avinza, all the generic versions of a     18      A. Yeah, I -- honestly, I don't
     19    product with morphine sulphate as the        19   know the specifics of ValueTrak. You
     20    active ingredient would be in that blue      20   know, what's in, what's out.
     21    wedge.                                       21          We used it, again, like I said,
     22            There you see fentanyl. Of           22   to validate chargebacks. And on the first
     23    course that's the transdermal patch. But     23   page in here when you see sort of sales in
     24    the actual brand of fentanyl is called       24   and sales out, we wanted to make certain

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      1    that there was an alignment, a balance        1   at days on hand effectively at the
      2    between what was -- what we were shipping     2   accounts, which is why you see, it's in
      3    into the channel and what was being pulled    3   here somewhere. It's actually down at the
      4    through 'cause we wanted to avoid the risk    4   bottom stuff there, the inventory, days of
      5    down the road of either being out of          5   supply units. And, so, we were tracking
      6    product or having too much product in the     6   that to make certain that we were keeping
      7    channel so we had product returns come        7   our manufacturing organizational aligned
      8    back, which are very, very expensive.         8   with the practice so we had our product
      9           And, also, we looked at this as        9   available for our customers.
     10    a gauge to, since each of the customers      10      Q. So, this chart here which starts
     11    had certain buying frequency that they       11   on the third page --
     12    would order on a weekly basis, on a          12      A. Yeah, I don't know how this raw
     13    biweekly basis. So, and they had their       13   data --
     14    own triggering mechanism for when they       14      Q. -- this is Actavis specific?
     15    thought the inventory level would get to a   15      A. I don't know.
     16    point to trigger a reorder. So every so      16      Q. You don't know?
     17    often we would to have call Amerisource      17      A. Like I said, I'm not familiar
     18    and say hey, we see you being less than      18   with the specifics of the ValueTrak data.
     19    two weeks of inventory based on the          19      Q. Okay.
     20    demand, you should place an order. Most      20      A. Someone would know much more
     21    of them did it automatically, but            21   than I would.
     22    occasionally they would order not enough     22      Q. If you wanted to know, who would
     23    or order too much. So this was part of       23   you ask?
     24    the management tool to see where we stood    24      A. Well, in this one, I would ask


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                                          Page 353                                                      Page 354
      1    Nathalie, I guess.                             1   through electronic data.
      2       Q. Okay.                                    2     Q. When you say orders in and
      3       A. Came from her.                           3   orders out, what do you mean?
      4       Q. Can you tell me the difference           4     A. So, again, when -- when McKesson
      5    between 852 data and 863 data?                 5   would place an order with us, they would
      6       A. Wow.                                     6   send order, push a button on their
      7       Q. Do you remember?                         7   computer, and it essentially would go
      8           MS. WELCH: Objection;                   8   through the EDI. So that would be an
      9       foundation.                                 9   order in. And then we shipped the product
     10       A. Again, I -- those are EDI codes,        10   out, we would send and invoice, and that
     11    electronic data exchange or interchange.      11   would be we push a button and that would
     12       Q. I believe so.                           12   be the order out.
     13           But they're just referred to in        13           And those are two different EDI
     14    numerous emails, the 852 data or the 863      14   codes. It might not be the two you
     15    data.                                         15   referenced, but that's kind of how it was
     16       A. Again, one is, again, orders in         16   done.
     17    and one's orders out, is my understanding.    17           MS. BAIG: All right. Let's
     18           So, that's -- I don't know which       18     mark the next exhibit as Exhibit 22.
     19    is which. But, you know, by this time,        19     It's Bates stamped 01898012 through
     20    the days used to be that folks would fax      20     '034.
     21    in orders. Now everything was electronic,     21           (Boothe Exhibit 22, email chain
     22    and the EDI was a way to -- again, that's     22     ending January 27, 2012, Bates No.
     23    what tied the DEA 222 forms. That's what      23     ALLERGAN_MDL_01898012 to 01898134, was
     24    tied the chargebacks. Everything was done     24     marked for identification, as of this


                                          Page 355                                                      Page 356
      1         date.)                                    1     receiving an email here in 2012 asking if
      2     BY MS. BAIG:                                  2     you wish to extend.
      3         Q. And this, if you turn to page 2,       3           Do you know whether -- whether
      4     I believe is the agreement that Actavis       4     you had an agreement in place like this
      5     had with ValueCentric, or at least one of     5     with ValueCentric for the years 2009
      6     them.                                         6     through 2012 or beyond?
      7             Is that your understanding as         7        A. Again, this agreement covers
      8     well?                                         8     February 2009. So yes for 2009.
      9         A. I'm just checking to see if the        9           And, based on the email from Mr.
     10     agreement was signed, if the -- who signed   10     Sullivan, it looks like it was going to
     11     it.                                          11     expire in 2012. So it must have been a
     12             Okay. What was the question?         12     three-year deal.
     13         Q. Is -- is it your understanding        13        Q. And, if you turn to Schedule A
     14     that this is an agreement between Actavis    14     on the Bates stamp page 01898023.
     15     and ValueCentric for data services that      15           Those are the -- those are the
     16     we've been discussing?                       16     services that were being provided.
     17         A. Yes.                                  17           Is that your understanding?
     18         Q. Okay. And you signed this             18        A. Yes.
     19     document?                                    19        Q. I believe you testified that the
     20         A. Yes.                                  20     ValueTrak data was used primarily for
     21         Q. And, it appears that this is          21     purposes of gauging the accuracy of
     22     from 2012.                                   22     chargebacks.
     23             Wait a minute.                       23           My question now is whether the
     24             Actually, from 2009. But you're      24     ValueTrak data was also used for


                                                                      89 (Pages 353 to 356)
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                                         Page 357                                           Page 358
      1    suspicious order monitoring?                  1    opinion leaders or speaker, but we never
      2           MS. WELCH: Objection;                  2    implemented those to my -- to my -- to my
      3       foundation.                                3    recollection.
      4       A. It may have been. I don't know          4       Q. Do you recall using key opinion
      5    for certain.                                  5    leaders at Alpharma?
      6       Q. Do you recall using key opinion         6       A. Well, again at Alpharma -- well,
      7    leaders at all while you were at Actavis?     7    which time frame at Alpharma?
      8           MR. DIAMANTATOS: Objection to          8       Q. Any time frame.
      9       form.                                      9       A. So, when I was Alpharma in 2004
     10       A. Key opinion leaders for which          10    and 2005, I just ran the generics
     11    product or --                                11    business. So, to the extent of which
     12       Q. For any products.                      12    Alpharma used key opinion leaders, that
     13           MR. DIAMANTATOS: Objection to         13    would not have been an area of my
     14       form.                                     14    responsibility. And after 2005, the
     15           MS. WELCH: Objection to form.         15    period of 2006 through 2009, Alpharma and
     16       A. We had talked about key opinion        16    Kadian were not part of Actavis. So I
     17    leaders in the context of the Moxduo         17    don't know exactly what Alpharma did
     18    product that I referenced earlier that was   18    between 2006 and 2009, and really don't
     19    never approved. I think as part of our       19    know what Alpharma did for the brand group
     20    prelaunch planning we had laid out as part   20    before. My responsibility was in the
     21    of, again, a standard new pharmaceutical     21    generic space.
     22    product launch, those are sort of the        22       Q. So you've never -- you've never
     23    normal tools. I believe there had been       23    had any involvement working with key
     24    some discussion about Kadian using a key     24    opinion leaders.


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      1           Is that right?                         1   nor would we have any reason to have any
      2           MR. DIAMANTATOS: Objection to          2   sort of key opinion leader with any of the
      3       form.                                      3   generic products.
      4           MS. WELCH: Objection to form.          4           So, during my Actavis time, that
      5           MR. DIAMANTATOS:                       5   answer is no.
      6       Mischaracterizes the witness's             6           MS. BAIG: Let's have this
      7       testimony.                                 7       document marked as Exhibit 23.
      8       A. What was the question again,            8           (Boothe Exhibit 23, slide deck
      9    please?                                       9       Advocacy Development Brainstorming
     10       Q. Have you had any involvement           10       Meeting April 25, 2006, Bates No.
     11    working with key opinion leaders?            11       ALLERGAN_MDL_02513100 to 02513130, was
     12       A. What do you mean by working            12       marked for identification, as of this
     13    with?                                        13       date.)
     14       Q. Overseeing your company's work         14   BY MS. BAIG:
     15    with key opinion leaders.                    15       Q. This is a document Bates stamped
     16           MS. WELCH: Objection to form.         16   ALLERGAN_MDL_02513100 through '13130.
     17       A. Again, I mentioned that during         17   Appears to be, in part, a slide deck
     18    the Moxduo there was some discussion about   18   titled "Kadian Advocacy Development
     19    key opinion leaders or advisory boards and   19   Brainstorming Meeting April 25th, 2006."
     20    such. So I was aware of that, the extent     20           Do you recall any brainstorming
     21    of which we did, but that product was        21   meetings in or about 2006 regarding
     22    never approved.                              22   advocacy development?
     23           I'm not aware of any key opinion      23       A. No.
     24    leader activity associated with Kadian,      24           Again, this document, 2006, this



                                                                  90 (Pages 357 to 360)
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                                         Page 361                                          Page 362
      1     asset was part of Alpharma.                  1   in some of the documents that we saw in
      2         Q. Okay. So, you were at Alpharma        2   the March, February, May time frame of
      3     at the time, right?                          3   2009 is when we determined, based on the
      4         A. No.                                   4   reduction in scripts that we were seeing,
      5         Q. Do you have an understanding of       5   that we should look at options for direct
      6     what this document is?                       6   promotion for the Kadian asset as part of
      7            MS. WELCH: Objection;                 7   Actavis, which is when we engaged inVentiv
      8         foundation.                              8   and Triple i, some of the documents you've
      9         A. It's the first time I've seen         9   asked me about previously.
     10     it.                                         10      Q. So, is there -- is it your
     11         Q. You haven't seen it before?          11   belief, looking at this document for the
     12         A. Nope.                                12   first time, that this is an Alpharma
     13         Q. Okay. Was Alpharma marketing         13   document?
     14     Kadian in 2006?                             14           MS. WELCH: Objection;
     15            MS. WELCH: Objection;                15      foundation.
     16         foundation.                             16      A. Yes.
     17         A. Again, I didn't work for             17      Q. And, how do you come to that
     18     Alpharma in 2006. You'd have to ask         18   belief?
     19     Alpharma.                                   19      A. The date says April 25th, 2006.
     20            My belief is yes.                    20   It says Kadian. Alpharma owned Kadian in
     21         Q. When did Actavis begin marketing     21   April 25th of 2006. So my belief is this
     22     Kadian?                                     22   is an Alpharma document.
     23         A. We acquired the Kadian asset at      23      Q. And it would -- and, why would
     24     the end of 2008. So we -- we assumed that   24   Actavis be producing an Alpharma document?


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      1           MS. WELCH: Objection;                  1   when you were there?
      2       foundation.                                2          MR. DIAMANTATOS: Objection.
      3           And objection to the extent            3          MS. WELCH: Objection to form;
      4       you're asking him to comment on the        4     foundation; asked and answered.
      5       work of the lawyers.                       5     A. As I previously said, we at
      6       A. I don't know.                           6   Actavis did no KOL activity for Kadian or
      7       Q. Well, do you know how an                7   any of our generic approved products.
      8    Alpharma document would have made its way     8     Q. Were you aware of any KOL
      9    to Actavis?                                   9   development for any opioid products at
     10           MR. DIAMANTATOS: Objection;           10   Alpharma or Actavis?
     11       form; foundation; calls for               11     A. During which time frame?
     12       speculation.                              12     Q. Any time frame.
     13       A. As part of the acquisition of          13     A. Well, again, I worked for
     14    the Kadian asset, I believe we got           14   Alpharma from 2004 to 2005, and I worked
     15    materials that Alpharma had. This may        15   for Actavis from 2006 to 2012. So, during
     16    have been one of those. But I don't          16   my tenure at Actavis, 2006 to 2012, no
     17    have -- I have no basis to confirm that or   17   awareness of any KOL programs for branded
     18    validate that.                               18   Kadian or any of the generics, and during
     19       Q. And, do you see on the second          19   my time at Alpharma, 2004 to 2005, I was
     20    page there's a slide entitled "KOL           20   solely involved in the generic side of the
     21    Development"?                                21   business. So I had no visibility to
     22       A. That's what the slide says, yes.       22   whatever programs Alpharma may or may not
     23       Q. Were you aware of any KOL              23   have been doing for the Kadian asset.
     24    development at either Alpharma or Actavis    24     Q. So, your answer is "no" then to


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                                        Page 365                                          Page 366
      1    the question were you aware of any KOL       1   little bit different than answering
      2    development for any opioid products at       2   whether or not you were aware of it. And,
      3    Alpharma or Actavis?                         3   so, you could have become aware of it by
      4           MR. DIAMANTATOS: Objection;           4   having communications with people at the
      5        form; asked and answered.                5   company or outside the company.
      6    BY MS. BAIG:                                 6           My question to you is were you
      7        Q. Is your answer "no" to that?          7   aware of any KOL development at Alpharma
      8           MS. WELCH: Same objections.           8   at all ever?
      9        A. During the time frame that I was      9           MR. DIAMANTATOS: Objection;
     10    at Alpharma, 2004 to 2005, I had no         10       form; foundation; calls for
     11    awareness of any KOL development being      11       speculation; asked and answered.
     12    done by Alpharma. Doesn't mean it wasn't    12           MS. WELCH: Same objections.
     13    happening, but it was not my area of        13       A. Again, I -- no, not aware of it
     14    responsibility.                             14   during my time at Alpharma for Alpharma.
     15           And from 2006 to 2012 during my      15   And what happened after Alpharma separated
     16    time at Actavis, I had no knowledge or      16   is really a question for Alpharma. I had
     17    awareness of any KOL activity being         17   no specific knowledge of it.
     18    developed or in place. I referenced that    18       Q. Did you have any knowledge of
     19    we were exploring it for the potential      19   what happened at Alpharma with respect to
     20    Moxduo product, but we never implemented    20   KOL development after you left?
     21    it 'cause the product was never approved.   21           MR. DIAMANTATOS: Same
     22        Q. So, in connection with your          22       objections.
     23    response for Alpharma, answering that it    23           MS. WELCH: Same objections.
     24    was not part of your responsibility is a    24       A. No.


                                        Page 367                                          Page 368
      1       Q. You never learned about that           1      Q. Do you know what a KOL is?
      2    from anybody?                                2      A. Key opinion leader?
      3           MR. DIAMANTATOS: Same                 3      Q. Yeah.
      4       objections.                               4         So, are you aware of any third
      5       A. No.                                    5   party entities that assist pharmaceutical
      6       Q. And you never had any                  6   organizations generally with key opinion
      7    communications with anybody about KOL        7   leader development programs?
      8    development at Alpharma or Actavis, apart    8         MR. DIAMANTATOS: Objection;
      9    from the Moxduo?                             9      form; vague.
     10           MR. DIAMANTATOS: Same                10      A. I mean, personally I know that
     11       objections.                              11   they exist.
     12       A. Not that I'm aware of.                12         I don't specifically know what
     13           But if you have a document you       13   companies do that.
     14    want me to comment on, I'd be happy to      14      Q. You don't know any companies
     15    review it.                                  15   that do that?
     16       Q. Were you aware that there were        16      A. If you want to provide me a list
     17    third party organizations which assisted    17   of companies, I can let you know if I'm
     18    pharmaceutical companies with KOL           18   aware of them.
     19    development programs?                       19         I would imagine that -- again,
     20           MR. DIAMANTATOS: Objection to        20   we were talking with inVentiv about Moxduo
     21       form.                                    21   and talking about KOLs. So inVentiv would
     22           MS. WELCH: Objection to form.        22   have been one of the companies that
     23           MR. DIAMANTATOS: Vague.              23   potentially assist pharmaceutical
     24       A. Yeah. What do you mean by that?       24   companies in key opinion leader


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                                          Page 369                                          Page 370
      1     development. And there's lots of company      1   opinion leader development programs?
      2     that provide the same sort of services as     2          If the answer's no, just say
      3     inVentiv. So there's probably lots of         3   "no."
      4     companies that were involved in key           4          MR. DIAMANTATOS: Objection to
      5     opinion leader development, but I have no     5      form.
      6     personal participation or experience in       6          MS. WELCH: Asked and answered.
      7     engaging key opinion leader programs          7          MS. BAIG: It's been asked, but
      8     directly during my tenure at Actavis or       8      it hasn't been answered.
      9     Alpharma.                                     9          MR. DIAMANTATOS: Objection to
     10        Q. So, apart from possibly                10      instructing the witness how to answer
     11     inVentiv, can you think of any other         11      the question.
     12     companies that may be involved in key        12      A. I think, like I said, there's
     13     opinion leader development?                  13   lots of pharmaceutical services companies
     14             MS. WELCH: Objection to form;        14   who would peddle key opinion leader
     15        speculation.                              15   programs. I can't recall the names of
     16             MR. DIAMANTATOS: Asked and           16   them right now.
     17        answered.                                 17      Q. Okay. Have you ever heard of a
     18        A. You just have to provide me a          18   company called Genesis Health Care?
     19     list if you want me to comment if I'm --     19      A. No.
     20        Q. I don't have a list, sir. My           20      Q. Do you know a Marta Brooks?
     21     question is about your recollection as you   21      A. Who?
     22     sit here today.                              22      Q. Marta Brooks?
     23             Do you recall or do you know of      23      A. No.
     24     any third party companies that provide key   24      Q. Have you ever heard of KOL

                                          Page 371                                          Page 372
      1     mapping?                                      1          Can you turn to the Bates stamp
      2        A. No.                                     2   page ended at '106?
      3            MS. WELCH: Objection to form.          3      A. There's no number.
      4     BY MS. BAIG:                                  4          Oh, there it is. Yep.
      5        Q. You have no understanding of            5      Q. The top it says "2006 Kadian
      6     what that means?                              6   speaker training meeting attendees with
      7        A. Is that a company or that's a           7   KOL mapping results." It's dated April
      8     thing?                                        8   25, 2006. And it appears to list a number
      9        Q. I think it's a thing.                   9   of doctors, their areas of specialty, and
     10            MS. WELCH: Objection to form.         10   their regions of practice.
     11        A. Okay.                                  11          Do you see that?
     12        Q. The mapping of key opinion             12          MS. WELCH: Objection to form;
     13     leaders, have you ever heard of that?        13      foundation.
     14        A. No.                                    14      A. That's what the document says.
     15            I mean, it sounds like -- seems       15      Q. Okay. Have you ever heard of
     16     reasonable.                                  16   this sort of KOL mapping whereby a
     17        Q. Okay. So, if you look at the           17   organization can come in and help a
     18     first page of the -- the first page of the   18   pharmaceutical company by mapping key
     19     chart here, which is --                      19   opinion leaders for them?
     20        A. So you want me to comment on an        20          MS. WELCH: Objection to form;
     21     Alpharma document from 2006 that I have      21      foundation; asked and answered.
     22     never seen before at a company I didn't      22      A. No.
     23     work for at the time?                        23          MR. DIAMANTATOS: Assumes facts.
     24        Q. I have a couple questions, yes.        24


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                                          Page 373                                          Page 374
      1     BY MS. BAIG:                                  1    understanding or participation.
      2        Q. You never heard of that at any          2       Q. And you never talked with
      3     of the conferences, pharmaceutical            3    colleagues about the notion of the key
      4     conferences that you've attended or in        4    opinion leader mapping outside of the
      5     speaking with colleagues in the business?     5    Moxduo context?
      6            MS. WELCH: Objection to form.          6           MS. WELCH: Objection to form;
      7        A. Heard of what?                          7       mischaracterizes his testimony.
      8        Q. This idea of key opinion leader         8       A. What do you mean by colleagues?
      9     mapping.                                      9    You mean fellow employees of Actavis?
     10            MS. WELCH: Objection to form;         10       Q. No, not necessarily. I mean
     11        asked and answered.                       11    people that you meet at trade shows,
     12        A. Again, I'm aware of key opinion        12    colleagues in the business, in the
     13     leaders, what they are, but I've never       13    pharmaceutical business.
     14     been personally involved in any sort of      14       A. When I go to the trade shows,
     15     key opinion leader programs other than,      15    I'm not really talking with colleagues.
     16     like I mentioned, that there was some work   16    I'm talking with customers.
     17     being done to contemplate developing that    17       Q. Trade shows, conferences.
     18     as part of the Moxduo launch, but that was   18           You see a wide variety of
     19     not an area of specific participation for    19    people, I'm sure, in your daily business
     20     me. It would have been the team that was     20    activities.
     21     working on that prelaunch activity, which    21           My question is have you talked
     22     would have been some of the Actavis          22    with them about this idea of key opinion
     23     employees and some of the inVentiv folks,    23    leader mapping?
     24     but it never got to my level of review or    24       A. No.

                                          Page 375                                          Page 376
      1           MR. DIAMANTATOS: Objection to           1        MS. WELCH: If you're done with
      2       form; vague.                                2    that exhibit, can we take a break?
      3    BY MS. BAIG:                                   3        MS. BAIG: Sure.
      4       Q. You never have, that you can             4        THE VIDEOGRAPHER: We're going
      5    recall?                                        5    off the record.
      6           MR. DIAMANTATOS: Objection to           6        The time is 4:33 p m.
      7       form; vague.                                7        (Recess taken.)
      8       A. No.                                      8        THE VIDEOGRAPHER: We're going
      9       Q. Do you know what the ACT                 9    back on the record.
     10    Communication Network is?                     10        The time is 4:50 p m.
     11       A. Which page is this on?                  11        MS. BAIG: All right. Let's
     12       Q. The one ending in Bates stamp           12    have this document marked as
     13    numbers '123.                                 13    Exhibit 24. It's Bates stamped
     14       A. No.                                     14    ALLERGAN_MDL_01860386 through
     15           MS. WELCH: Objection to form;          15    01860397.
     16       foundation.                                16        (Boothe Exhibit 24, email chain
     17    BY MS. BAIG:                                  17    ending May 6, 2011, Bates No.
     18       Q. Next page I see, two pages later        18    ALLERGAN_MDL_01860386 to 01860397, was
     19    Advanced Customized Therapy.                  19    marked for identification, as of this
     20           Have you ever heard of that            20    date.)
     21    company?                                      21        MS. BAIG: It starts as an email
     22           MS. WELCH: Objection to form;          22    from Nancy Baran dated May 6th, 2011.
     23       foundation.                                23   BY MS. BAIG:
     24       A. No.                                     24    Q. Do you know who Cegedim is, a



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                                         Page 377                                           Page 378
      1    company called Cegedim?                       1      A. As it said here, we -- we con --
      2       A. Yeah. Well, they were -- they           2   we discussed with them, I believe we
      3    were a firm that provided pharmaceutical      3   contracted with them to -- to update our
      4    services. They had a bunch of stuff           4   suspicious order monitoring platform.
      5    underneath them. But, Dendrite used to be     5   We -- we were constantly looking at ways
      6    part of Cegedim.                              6   to continue to expand and improve our --
      7       Q. And BuzzeoPDMA, is there a              7   our service, and Buzzeo, I guess, we must
      8    connection between BuzzeoPDMA and Cegedim?    8   have -- I believe we engaged with them, at
      9           MS. WELCH: Objection;                  9   this time frame, to incorporate their
     10       foundation.                               10   capabilities to our existing suspicious
     11       A. It says Cegedim compliance             11   order monitoring program.
     12    solution powered by BuzzeoPDMA.              12      Q. And you see the first sentence
     13           So, yeah, somehow there's some        13   of the email from Nancy Baran, she states:
     14    connection.                                  14   We have Doug's approval to move forward
     15       Q. Okay. And, have you seen this          15   with implementing a suspicious order
     16    agreement before?                            16   monitoring system.
     17       A. I'm looking at it. It's -- you         17          Do you see that?
     18    know, I'm not on the email. I don't see      18      A. Yes.
     19    any signatures on it. I don't see my         19      Q. And, would you imagine that Doug
     20    signature on it. That doesn't mean I -- I    20   is Doug Boothe, is you?
     21    have or have not seen it. I just don't       21      A. I would think so.
     22    specifically recall.                         22      Q. And she goes on to state: We
     23       Q. Do you know what relationship          23   have looked at a few options and the team
     24    Actavis had, if any, with BuzzeoPDMA?        24   has agreed to move forward with Dendrite.

                                         Page 379                                           Page 380
      1            Is that your understanding, that      1      Q. Yes.
      2     Actavis moved forward with Dendrite to       2      A. Okay. Yeah.
      3     implement a suspicious order monitoring      3      Q. And it states: Project Number
      4     system?                                      4   1. Suspicious order monitoring
      5        A. Yes.                                   5   statistical model development and
      6            I mean, again, Dendrite was part      6   consulting support.
      7     of Cegedim, as was this Buzzeo group.        7           Do you see that?
      8        Q. Okay. And she goes on to state         8      A. Yes.
      9     that: A copy of their proposal service       9      Q. Was it your understanding that
     10     agreement is attached. The team would       10   you did receive, ultimately, a statistical
     11     like to take the next steps.                11   model development and consulting support
     12            Do you recall whether this was       12   from Cegedim?
     13     the agreement that was ultimately           13      A. Again, we -- my -- my
     14     executed, or no?                            14   recollection is we had one in place
     15        A. Not --                                15   before. So, if this was a new one or
     16            MS. WELCH: Objection to form;        16   improved one or expanded one.
     17        foundation.                              17           Yes, I believe we did engage
     18        A. Not for certain.                      18   with Buzzeo or Cegedim to do that in the
     19            Again, I don't see a signature       19   2011 time frame.
     20     on it, but --                               20      Q. And, do you know how -- how it
     21        Q. If you look at the -- the fourth      21   changed from the one that was in place
     22     page from the end, you see a Schedule 1     22   before?
     23     Services and Service Fees?                  23      A. I would say it was probably more
     24        A. '394 page?                            24   sophisticated, but I wouldn't know exactly


                                                                 95 (Pages 377 to 380)
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                                          Page 381                                         Page 382
      1    what the changes were. It may have been       1   fentanyl at the time. We were not selling
      2    more automated, may have had more             2   generic Opana at the time.
      3    statistical modeling in it, per se.           3         I don't believe we -- we had the
      4       Q. Do you recall if the one that --        4   need or the requirement, based on the
      5    do you recall anything about the one that     5   product portfolio, to have a suspicious
      6    existed before?                               6   order monitoring system, but I could be --
      7       A. No.                                     7   again, 2004, 2005, my recollection could
      8            MS. WELCH: Objection to form.         8   be not complete.
      9    BY MS. BAIG:                                  9         MS. BAIG: We'll have this
     10       Q. Do you remember what the               10     document marked as Exhibit 24 -- 25.
     11    suspicious order monitoring system, or       11     Bates stamp ACTAVIS804497 through
     12    whether there was a suspicious order         12     804563.
     13    monitoring system in place at Alpharma?      13         (Boothe Exhibit 25, email dated
     14            MR. DIAMANTATOS: Objection to        14     December 21, 2011, with attachment,
     15       form; foundation.                         15     Bates No. ACTAVIS0804497 to 0804563,
     16       A. Alpharma in what time frame?           16     was marked for identification, as of
     17       Q. When you were there.                   17     this date.)
     18       A. Well, again, I was at Alpharma         18         MS. BAIG: It appears to start
     19    in 2004 and 2005, and I wasn't involved in   19     as an email from Ali Iffat to Terry
     20    the branded side.                            20     Fullem, dated December 21st, 2011,
     21            On the generic side, we were         21     entitled "Actavis FDC Launch
     22    selling -- I don't believe we -- again, we   22     Preparation."
     23    were not selling generic Kadian at that      23   BY MS. BAIG:
     24    time. We were not selling generic            24     Q. Do you know what's referred to


                                          Page 383                                         Page 384
      1    by FDC launch preparation?                    1   combination asset, that's Moxduo. So all
      2       A. It says: Preparation of a fixed         2   this work for Campbell Alliance was
      3    dose combination, FDC asset, indicated for    3   specific to the Moxduo activities we were
      4    acute pain.                                   4   doing.
      5            That's what the second page           5      Q. And, Ali Iffat is -- he's from a
      6    says.                                         6   Campbell Alliance, correct?
      7       Q. Thank you.                              7      A. Yes.
      8            Are you familiar with Campbell        8      Q. And, did you communicate with
      9    Alliance?                                     9   him ever?
     10       A. Yes.                                   10      A. I may have.
     11       Q. What is Campbell Alliance?             11         Do you have a document you want
     12       A. That was a division of inVentiv        12   to show me I can comment on?
     13    that would be their strategic division or    13      Q. I'm just asking if you recall
     14    their, sort of, brand launch division,       14   communicating with him.
     15    internal consulting group, my                15      A. I may have.
     16    recollection.                                16      Q. Do you recall communicating with
     17       Q. And, do you recall Actavis             17   anybody at Campbell Alliance?
     18    receiving services from, specifically,       18      A. If I look at the 40 -- the '4503
     19    Campbell Alliance?                           19   group, Paul Mignon, but he actually was
     20       A. My recollection is they, again,        20   inVentiv. Rohit Sood, I definitely
     21    they proposed this project kickoff. So we    21   communicated with. Stephen Corby I
     22    contracted for something with Campbell       22   remember. Alan and Keith Kelly, I don't
     23    Alliance.                                    23   specifically remember too much. Neil
     24            And, again, fixed dose               24   Gray.


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                                          Page 385                                          Page 386
      1       Q. What page are you looking on?            1   Bates stamped '4502 it starts
      2       A. I'm on page '4503 under "Project         2   "Introduction and Project Objectives"?
      3    teams."                                        3      A. '4502, yes.
      4       Q. When did you first work with             4      Q. And there's three objectives:
      5    Campbell Alliance?                             5   1, to launch strategy and planning; 2,
      6       A. Well, again, this document is            6   pricing research and analysis; and 3, key
      7    December 21st, 2011. So somewhere in that      7   opinion leader identification and
      8    time frame. We had no previous engagement      8   influence mapping.
      9    with Campbell Alliance on any of the other     9           Do you see that?
     10    Actavis generic or the FDA-approved Kadian    10      A. Yep.
     11    product. This was purely brought in           11      Q. And under the "Key opinion
     12    related to the prelaunch planning             12   leader identification and influence
     13    potential for the Moxduo product. And         13   mapping" it states: Identify KOLs with
     14    what Campbell Alliance, if you look at the    14   the greatest levels of influence
     15    documents, they had their whole, you know,    15   nationally and regionally.
     16    launch planning module. I think it -- I       16           Do you see that?
     17    kind of -- I think it was like product        17      A. Yep.
     18    launch in a box, or they call it launch       18      Q. Was it your understanding that
     19    playbook. So, they had a platform and         19   Campbell Alliance was capable of such
     20    experience in potentially launching           20   identification?
     21    branded promoted pharmaceutical products,     21      A. They may or may not be, you
     22    which is why we engaged with them for         22   know, specifically available. They,
     23    Moxduo.                                       23   again, may be able to pull from
     24       Q. And, do you see on the page             24   third-party resources and such.

                                          Page 387                                          Page 388
      1            This -- Campbell Alliance was          1   that they did, but they may have.
      2     like a strategy organization, so sort of a    2          And if you have a document, I'd
      3     front end. They may be identifying            3   be happy to review it.
      4     strategy and tactics, and then had their      4      Q. But you don't recall seeing one?
      5     work gone on further, they would identify     5      A. If you have a document, I'd be
      6     maybe specific partners, in line with what    6   happy to review it.
      7     you had asked me about earlier.               7          I don't specifically recall
      8        Q. And, the second bullet says:            8   seeing one.
      9     Develop a series of national and regional     9      Q. If you turn a few pages further
     10     KOL maps based on sphere of influence.       10   you get to the document Bates stamp '4506
     11            Do you see that?                      11   and it's titled "Project Overview Key
     12        A. Sure.                                  12   Questions."
     13            This -- this whole thing is,          13          Do you see that?
     14     again, it's a draft document about a         14      A. Mm-hm.
     15     meeting about a launch -- prelaunch          15      Q. And item 3 under the key
     16     planning for a potentially approved FDA      16   questions is: KOL planning.
     17     controlled substance.                        17          Do you see that?
     18        Q. And, so, do you know whether or        18      A. Yeah.
     19     not they actually performed this             19      Q. And there are a number of
     20     identification of KOLs?                      20   bullets. The first is: Who are the key
     21        A. For the purposes of the Moxduo         21   opinion leaders in the acute space?
     22     product?                                     22          Second: What degree of
     23        Q. Correct.                               23   influence does each KOL have on
     24        A. They may have. I don't believe         24   prescribing decisions both nationally and


                                                                 97 (Pages 385 to 388)
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                                         Page 389                                          Page 390
      1    regionally?                                   1      Q. Is your answer no, you don't
      2           Do you know how an organization        2   recall?
      3    such as Campbell Alliance would go about      3      A. To best answer, I'm going to
      4    finding the key opinion leaders with the      4   read the document and understand if they
      5    most influence?                               5   show any of it in here.
      6           MR. DIAMANTATOS: Objection to          6          (Pause.)
      7       form; foundation.                          7          So, the materials are all
      8           MS. WELCH: Objection to form;          8   illustrative examples where they're
      9       foundation.                                9   looking at possible profiles based on
     10       A. No.                                    10   their associations or their organizations,
     11           I mean, to me this is a very          11   conferences, opinion leader management
     12    generic pitch book where Campbell Alliance   12   service. Looks like they have a webpage
     13    had done this multiple times. They're        13   here that may or may not be real. It says
     14    pitching their services. These charts are    14   "draft." So, maybe they have this in
     15    all very pretty, consultanty [sic] speech    15   their tool kit or maybe, again, they
     16    with -- and they basically added "Actavis"   16   utilize a third party.
     17    to the bottom right and pitched us.          17          So, no, I don't know exactly how
     18       Q. But you don't recall having any        18   they were planning on doing it. It's not
     19    communication with Campbell Alliance or      19   clear from the documents.
     20    anyone else that would suggest to you how    20      Q. On the next page under "KOL
     21    it was that they would be able to identify   21   planning" do you see where it says:
     22    the key opinion leaders with the largest     22   Design and program a web-based survey?
     23    degree of influence?                         23      A. Which page are you on? Sorry.
     24       A. Just keep reading the documents.       24      Q. The one ending in '507.

                                         Page 391                                          Page 392
      1       A. Yep.                                    1   I don't know if it was all three of these
      2       Q. Do you know if that web-based           2   proposed work streams or not. And if it
      3    survey was ever completed?                    3   was all three, whatever their output was
      4       A. I don't believe we actually             4   was underwhelming, and we got to, at some
      5    signed up for any of this work, or            5   point beyond that, to do it ourselves or
      6    specifically for the KOL, but we may have.    6   do with other portions of the inVentiv
      7           And, I don't know. You'd have          7   group.
      8    to show me the document.                      8          So I have not been a referral
      9           My recollection on Campbell is         9   for Campbell down the road.
     10    we were underwhelmed what they delivered     10      Q. When you say that at some point
     11    against what they proposed.                  11   you decided to do it yourselves, did you
     12       Q. You were underwhelmed with what        12   actually start any sort of KOL mapping for
     13    they delivered?                              13   Moxduo internally?
     14       A. That's my recollection.                14      A. Well --
     15       Q. What do you recall them                15          MS. WELCH: Objection;
     16    delivering?                                  16      foundation.
     17       A. A bunch of Power Point slides          17      A. And it may have been through
     18    like this.                                   18   Campbell or inVentiv.
     19       Q. So your recollection is that you       19          But, like I say, I testified
     20    were underwhelmed by the pitch and so that   20   before I know there was a part of the
     21    you didn't sign up with them, or that you    21   prelaunch planning, there was some
     22    signed up with them and were underwhelmed    22   discussion about key opinion leaders and
     23    by the product they delivered?               23   speaker bureaus and such. I don't know
     24       A. We did something with Campbell.        24   exactly what was ultimately decided, how


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                                         Page 393                                           Page 394
      1    much -- how far it was developed, who --      1   that it was not approved because of the
      2    who worked on it. But I also know it was      2   fear that it would be widely subject to
      3    never implemented because the product was     3   abuse?
      4    never approved.                               4      A. No.
      5      Q. Do you remember why it wasn't            5           MR. DIAMANTATOS: Objection to
      6    approved?                                     6      the form; foundation; calls for
      7           MS. WELCH: Objection; asked and        7      speculation; asked and answered.
      8      answered.                                   8      Q. Did you ever have an
      9      A. As I testified earlier, the FDA          9   understanding that it was not approved
     10    advisory board did not give it a positive    10   because it was considered to be too
     11    recommendation, and the agency did not       11   dangerous?
     12    approve it.                                  12           MS. WELCH: Objection to form.
     13      Q. But do you know why?                    13      A. No. I mean, there was a
     14      A. Well, again, you'd have to ask          14   communication back from the agency why it
     15    the FDA or read the letter, but basically    15   was, to QRX Pharma as to the reason why
     16    my -- my belief was, my understanding was    16   the application was not approved which was
     17    that subject to the clinical trial data      17   the basis for the appeal which you read
     18    that was provided as part of the             18   somewhere in the documents here.
     19    application, that we didn't -- we didn't     19           So, if you show me that
     20    demonstrate to the agency, QRX Pharma did    20   document, I'd be happy to comment on it,
     21    not demonstrate to the agency the            21   to the best of my ability, but I'm far
     22    necessary degree of efficacy versus          22   from an expert on clinical studies or on
     23    placebo that would justify an approval.      23   basis for FDA new drug approvals.
     24      Q. Did you have an understanding           24      Q. But it was not your

                                         Page 395                                           Page 396
      1    understanding that it was denied approval     1     Q. And, you never had an
      2    because it presented certain risks?           2   understanding that Moxduo was not approved
      3            MS. WELCH: Objection to form.         3   because the risks were too great?
      4    BY MS. BAIG:                                  4         MS. WELCH: Objection to form;
      5        Q. Is that right?                         5     vague.
      6        A. What do you mean by certain            6   BY MS. BAIG:
      7    risks?                                        7     Q. Is that right?
      8        Q. Any risks of addiction, abuse,         8          MR. DIAMANTATOS: Asked and
      9    any sort of dangers associated with the       9     answered.
     10    drug.                                        10     A. My understanding is that Moxduo
     11            MS. WELCH: Objection to form;        11   was not approved because the FDA did not
     12        vague.                                   12   agree to the clinical endpoints being hit
     13        A. It's a Class II narcotic. So,         13   subject to the criteria for approval for
     14    by its classification, those would be the    14   pain management relative to placebo.
     15    risks known that would be in the black       15     Q. I see.
     16    box, just like all the other Class II        16         So, it was not -- had nothing to
     17    narcotics, both general and branded. So      17   do with the risks associated with taking
     18    those risks were understood and would have   18   Moxduo?
     19    been part of the label.                      19         MS. WELCH: Objection to form.
     20        Q. Those risks were understood by        20         MR. DIAMANTATOS: Objection to
     21    who?                                         21     form; asked and answered five times.
     22        A. By the FDA, by the physician          22         MS. WELCH: And misstates his
     23    community, by manufacturers. That's why      23     testimony.
     24    it's a controlled substance.                 24     A. No.


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                                           Page 397                                         Page 398
       1       Q. If you go to the page stamped           1   the relative value or benefit of someone
       2    ACTAVIS804532.                                2   affiliated with one of these centers in
       3       A. '532.                                   3   the context of potentially putting
       4       Q. Do you see there's a list of            4   together some sort of key opinion leader
       5    centers of excellence there?                  5   program.
       6       A. Yes.                                    6           That's my interpretation of the
       7       Q. And, what's your -- what is your        7   document, but I'm far from an expert, as
       8    understanding of what that is a list of?      8   I've testified, on how key opinion leaders
       9           MS. WELCH: Objection to form;          9   are developed or identified.
      10       foundation.                               10      Q. And two pages further, do you
      11       A. Well, again, this particular           11   see it says "Project approach survey
      12    chart is an illustrative example, and the    12   finalization"?
      13    centers of excellent not -- those look       13      A. Mm-hm.
      14    like hospitals or hospital chains.           14      Q. And there's question at the top:
      15       Q. Being identified in this context       15   Is there an existing target list or other
      16    why?                                         16   Actavis screening criteria to be used for
      17           MS. WELCH: Objection to form;         17   recruitment?
      18       foundation.                               18           Do you know whether there was,
      19       A. Again, I look at the document          19   in fact, an existing target list or other
      20    and I believe that the -- again, you're      20   screening criteria?
      21    asking me to interpret what Campbell         21      A. To me, this is a consulting firm
      22    Alliance is presenting. It looks like        22   asking the client to do their work for
      23    they're utilizing some degree of number of   23   them.
      24    mentions nationally as an indication of      24           So, I don't know.

                                           Page 399                                         Page 400
       1       Q. On the next page under "Key             1   that I wasn't too impressed with this
       2    Opinion Leader Profiling," do you see a       2   work.
       3    list under "Profile information can           3      Q. Understood.
       4    include"?                                     4          Have you participated on
       5       A. Yep.                                    5   advisory boards?
       6       Q. And there's a number of                 6      A. Me personally?
       7    different items listed there, one of which    7      Q. Mm-hm.
       8    is "Advisory board participation."            8      A. No.
       9           Do you see that?                       9          Why would I? I'm not a
      10       A. Yep.                                   10   physician.
      11       Q. So, this suggestion here, as I         11      Q. Have you -- have you sat in or
      12    read it, is that physicians who              12   been informed or educated by advisory
      13    participate on advisory boards may have      13   boards?
      14    more influence than others.                  14          MS. WELCH: Objection to form.
      15           Is that how you read it?              15      A. On what?
      16       A. Other whom?                            16      Q. On opioid drugs.
      17       Q. Than physicians that don't have        17      A. No.
      18    participation on advisory boards.            18          We -- we never had an advisory
      19           MS. WELCH: Objection to form;         19   board.
      20       foundation.                               20      Q. Well, did you have an advisory
      21       A. That's one of 16 different             21   board for Moxduo?
      22    things or whatever more on this checklist.   22      A. There was discussion about
      23           Again, this is the kitchen sink.      23   either creating an advisory board to
      24           I hope you're getting a sense         24   create a key opinion as part of our


                                                               100 (Pages 397 to 400)
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                                          Page 401                                          Page 402
       1    prelaunch planning.                           1   BY MS. BAIG:
       2           I believe QRX Pharma had an            2       Q. Carla Hedrick is?
       3    advisory board, who was our partner, but      3       A. Yeah, Carla was one of the
       4    that was not an Actavis activity that was     4   associates at Actavis working for Terri
       5    something we generated.                       5   Nataline.
       6       Q. Do you remember whether or not          6       Q. And, if you turn to page 2 of
       7    Actavis employees participated or were        7   the document on the purchase requisition
       8    educated by that advisory board?              8   page.
       9       A. No.                                     9           Is that your signature?
      10       Q. You don't remember one way or          10       A. Yes.
      11    the other, or they weren't?                  11       Q. And this was a purchase order
      12       A. I don't believe that they were.        12   for long-acting opioid REMS.
      13           MS. BAIG: All right. Let's            13           Is that right?
      14       have this document marked as Exhibit      14       A. Yes.
      15       26.                                       15       Q. And it's with Campbell also --
      16           And, it's Bates stamped               16   it's with Campbell Alliance, right?
      17       ACTAVIS0718476 through '8533. It          17       A. Yep.
      18       starts as an email from Terri Nataline    18       Q. And, do you recall engaging
      19       to Carla Hedrick.                         19   Campbell Alliance?
      20           (Boothe Exhibit 26, email dated       20       A. Again, Actavis didn't
      21       July 9, 2012, with attachment, Bates      21   specifically engage Campbell Alliance.
      22       No. ACTAVIS0718476 to 0718533, was        22   Campbell Alliance was the -- the entity
      23       marked for identification, as of this     23   that did the class-wide REMS for all the
      24       date.)                                    24   companies that were actively marketing

                                          Page 403                                          Page 404
       1    FDA-approved long-acting opioid products,     1      A. Yes.
       2    both brand and generic. So it was like a      2      Q. And, what was your understanding
       3    consortium.                                   3   as to what Campbell Alliance was going --
       4        Q. But Actavis was engaging               4   was going to do with respect to REMS?
       5    Campbell Alliance, right? Isn't what that     5      A. Well, I'd really have to read
       6    what your signature is, or no?                6   this full document to understand exactly
       7        A. We are basically paying our            7   what they were going to do, but --
       8    component of the long-acting opioid REMS,     8      Q. Do you have a general
       9    just like the other active marketers which    9   understanding of -- of what they were
      10    is on page -- the next page. So I don't      10   going to do with respect to the REMS
      11    think, again, I don't think -- we            11   program?
      12    basically signed on. It was an FDA           12          MS. WELCH: Objection to form.
      13    requirement. So we -- we complied with       13   BY MS. BAIG:
      14    it.                                          14      Q. Based on your recollection?
      15           And, again, Terri Nataline can        15      A. I believe that, again, Campbell
      16    provide you more information to the extent   16   was providing the industrywide long-acting
      17    of which we were actively engaged, or        17   opioid REMS program, and so all
      18    again, we just -- we went along with the     18   manufacturers who had approved products
      19    program as a requirement to continue to      19   that were marketed were required to be
      20    market our products, our approved            20   part of this program.
      21    products.                                    21          So, effectively, we were paying
      22        Q. And REMS refers to risk               22   in, and the -- the purpose of the program
      23    evaluation and mitigation strategies.        23   was to educate physicians who were writing
      24           Is that right?                        24   the prescriptions for long-acting opioids


                                                                101 (Pages 401 to 404)
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                                           Page 405                                         Page 406
       1    about risk evaluation and mitigation           1     Q. What was your understanding of
       2    strategies. So it was a program that was       2   Actavis's responsibilities under the law
       3    going to outbound to all physicians who        3   with respect to preventing diversion?
       4    had written any long-acting opioid             4         MR. DIAMANTATOS: Objection to
       5    prescription ranging from OxyContin to         5     form.
       6    whatever's on that list, and they would be     6         MS. WELCH: Objection to form.
       7    trained, communicated with, there might        7         MR. DIAMANTATOS: Calls for a
       8    have been some certification required.         8     legal conclusion.
       9    But Campbell was providing the service on      9         MS. WELCH: Same objection.
      10    behalf of all the active marketers of         10     A. What's the question again,
      11    long-acting opioids, consistent with a        11   please?
      12    discussion, negotiation agreement with the    12     Q. What was your understanding of
      13    FDA and likely the DEA at the time.           13   Actavis's responsibilities under the law
      14           So, all active participants were       14   with respect to preventing diversion?
      15    brought into this REMS program, rather        15         MS. WELCH: Objection to form;
      16    than having -- in the past, every company     16     calls for a legal conclusion.
      17    had individual risk maps, or maybe            17         Objection to the extent it would
      18    individual REMS. So, the purpose of this      18     call for you to divulge privileged
      19    program was to want to have one consistent    19     information.
      20    program that reiterated the -- the risk       20     A. What do you mean by diversion?
      21    associated with Class II or Class III         21     Q. Have you ever heard the term
      22    narcotics, especially here long-acting        22   "diversion" used before?
      23    opioids. So, they were providing a            23     A. Yeah.
      24    service for all the manufacturers.            24     Q. And, so, what's your

                                           Page 407                                         Page 408
       1    understanding of what diversion is?            1   was at the pharmacy level or at the
       2       A. Well, in what context?                   2   wholesale level, ended up going somewhere
       3       Q. In the context of controlled             3   else than where it was ended to go, which
       4    drugs.                                         4   would be outside or after the chain of
       5       A. You'd have to describe to me             5   custody that we had for the product, that
       6    your definition of that. I was thinking        6   would be my understanding of diversion.
       7    diversion in other context.                    7      Q. So, what was your understanding
       8       Q. So, in the context of controlled         8   of Actavis's responsibilities under the
       9    substances, have you heard of the word         9   law with respect to preventing diversion
      10    "diversion" before?                           10   of opioids?
      11       A. Yes.                                    11          MS. WELCH: Objection to form.
      12       Q. Okay. And, what's your                  12          MR. DIAMANTATOS: Objection to
      13    understanding of what that means with --      13      form; foundation.
      14    within the context of controlled              14          MS. WELCH: Objection to the
      15    substances?                                   15      extent it calls for a legal
      16       A. Potentially somewhere between --        16      conclusion.
      17    again, when I -- when a customer or           17          MR. DIAMANTATOS: Asked and
      18    pharmacy submits a valid DEA 222 form to      18      answered.
      19    order product and it's received by the        19   BY MS. BAIG:
      20    wholesaler or received by the manufacturer,   20      Q. Using your definition of
      21    such as Actavis, and then when Actavis        21   diversion.
      22    would then ship or distribute the product     22          MS. WELCH: Same objections.
      23    to the wholesaler or directly to the          23      A. Again, I don't think we had
      24    pharmacy, if somehow that product, once it    24   responsibility for, accountability for


                                                                 102 (Pages 405 to 408)
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                                          Page 409                                          Page 410
       1    preventing diversion. We had                  1   Actavis was required to identify and halt
       2    responsibility and accountability for         2   shipments of suspicious orders to its
       3    making certain that the orders that we        3   distributor clients?
       4    received were valid from licensed             4           MS. WELCH: Objection to form.
       5    pharmacies and were within our suspicious     5           Objection to the extent it calls
       6    order monitoring thresholds as it was         6       for a legal conclusion.
       7    described earlier then with the Buzzeo        7       A. Well, again, I mean, again, all
       8    model or the more statistical model. So       8   of the orders were valid. The issue was
       9    we -- that was our responsibility.            9   whether or not they were within the
      10           Once it goes outside of our           10   threshold.
      11    chain of custody, we have no capability or   11           So, again, any order that came
      12    responsibility or accountability to -- or    12   in for a controlled substance came from a
      13    at least my understanding, I'm not a         13   licensed company with a valid 222 DEA
      14    lawyer, as it relates to diversion. So,      14   recommendation or valid pharmacy license.
      15    once we ship a valid order to a wholesaler   15   So, all those orders were valid.
      16    or ship a valid order to a distributor or    16           What our suspicious order
      17    another smaller wholesaler, our chain of     17   monitoring system would do is to identify
      18    custody is finished at that point.           18   if, for example, based on the historical
      19       Q. You had an understanding that          19   purchasing of -- of an account, if there
      20    Actavis was required to have a suspicious    20   was a much higher order number. That
      21    order monitoring program in place,           21   happened all the time. There are lots of
      22    correct?                                     22   reasons why there was numbers that were
      23       A. Yes.                                   23   above the historical pattern. Could be
      24       Q. And, did you understand that           24   that the business got a new account. So,

                                          Page 411                                          Page 412
       1    if somehow we agreed to a price to            1   report and halt shipment?
       2    distribute one of our controlled              2          MS. WELCH: Objection to form.
       3    substances to an account like Kroger's,       3          Objection to the extent it calls
       4    and Kroger's we would ship to directly,       4      for a legal conclusion.
       5    but since there wasn't a history of that      5          MR. DIAMANTATOS: Objection;
       6    additional volume to Kroger's, the system     6      asked and answered.
       7    would appropriately identify that as maybe    7      A. Again, we wouldn't have to halt
       8    being an aberration. And then the team,       8   shipment 'cause when that order would come
       9    the customer service team and the UPS team    9   in, we would -- before we would release it
      10    would -- they would probably go back         10   for shipment, we would actually look at
      11    sometimes to the sales -- or, they would     11   that order and determine whether or not it
      12    go back to the account and have them         12   was appropriate and do the appropriate
      13    justify the rationale for that. That         13   activity to validate the rationale, to get
      14    happened very, very frequently as part of    14   the information as a support for it. So,
      15    our active daily process. But all of it      15   all this happened well before any product
      16    starts with a legitimate 222 DEA form.       16   was potentially shipped to a wholesaler or
      17           Which, by the way, all these          17   regional distributor.
      18    things were shared with the DEA, 'cause      18          So, if that's the definition, I
      19    that's the process, from a licensed          19   think we were in compliance with that.
      20    pharmacy, a request to purchase our          20      Q. So, you're saying that you would
      21    approved -- our FDA-approved product.        21   look to see if there was a justification
      22       Q. For orders that were deemed            22   for the unusually high order, and if there
      23    suspicious, did you have an understanding    23   was a justification, then it would be fine
      24    that Actavis had a responsibility to         24   and it would be shipped, correct?


                                                                103 (Pages 409 to 412)
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                                          Page 413                                          Page 414
       1           MR. DIAMANTATOS: Objection;            1   system, that would be identified as a --
       2       form; mischaracterizes the witness's       2   an order to investigate, not a fraudulent
       3       testimony.                                 3   order, just a -- and then with that, we
       4           MS. WELCH: Same objections.            4   would go back to the customer service team
       5       A. Again, our -- again, our --             5   and/or the commercial rep would call the
       6    first of all, the orders were all DEA 222     6   purchaser at that and say, you know, why
       7    forms.                                        7   did you order 1500. A place like
       8           So, was the DEA notified on            8   AmerisourceBergen, which by the way, I
       9    every order? Yes. Every 222 form goes to      9   think they had 62 distribution centers at
      10    the DEA. So there's always notification      10   one point. So they were also managing
      11    to the DEA.                                  11   their inventory within the dist -- so,
      12           And, as I said, there -- based        12   once we shipped it to AmerisourceBergen in
      13    on the ordering pattern and, for example,    13   the past, one of their locations, if they
      14    some accounts had multiple facilities, so    14   opted to move it from one of their
      15    they may place an order for different        15   locations to one of the other locations in
      16    locations, and we would have that -- this    16   their network and then because of that it
      17    is by the distribution center, rather, you   17   triggered a reply order from when they
      18    know, not to the end pharmacy. So we         18   moved it from one to there and the
      19    would see situations where a distribution    19   distribution center back to us, we didn't
      20    center of AmerisourceBergen may have been    20   have that information. So when that order
      21    ordering a thousand bottles a week and       21   came in, if it potentially raised a
      22    then -- for three months and then suddenly   22   signal, then we would go and investigate
      23    they ordered 1500 bottles. That would        23   it and if that's what the rationale, that
      24    actually, based on the thresholds of our     24   was the basis for the customer describing


                                          Page 415                                          Page 416
       1    why they moved product around, why they       1   happened, that would be saved in the
       2    needed to order it back for our -- for        2   files.
       3    their distribution center and we believe      3          Is that right?
       4    that that was appropriate, we would have      4          MS. WELCH: Objection to form;
       5    then released the order.                      5      foundation.
       6       Q. And, what if you got a rationale        6      A. The files.
       7    that you did not believe it was               7      Q. There was a record that was kept
       8    appropriate, did you halt shipment?           8   of orders that was -- that were flagged as
       9           MR. DIAMANTATOS: Objection to          9   being of interest or suspicious, and the
      10       form.                                     10   justifications received or not received
      11       A. Yeah, we would not -- we would         11   and whether they were shipped or not
      12    halt shipment. We would not accept the       12   shipped.
      13    order.                                       13          Is that right?
      14           And many times we would get           14          MS. WELCH: Objection to form;
      15    orders in, and based on the information,     15      foundation.
      16    we would say there's no justification for    16      A. That would be my understanding,
      17    ordering 10,000 bottles. Your model --       17   some sort of, yes, some sort of record
      18    our say 1500, 2,000. We would then adjust    18   because, again, from a compliance
      19    the order. They would submit a new DEA       19   perspective, we operate also under a DEA
      20    222 form, and if the order was within that   20   license, and the DEA had the right and the
      21    threshold, we would accept it and we would   21   authority to come in to inspect and
      22    ship it. And I believe that that happened    22   validate, which they did, you know, on a
      23    frequently.                                  23   frequent basis. So that would likely be
      24       Q. And, to the extent that that           24   something that they would want to monitor


                                                                104 (Pages 413 to 416)
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                                                     Page 417                                      Page 418
       1   and validate that our suspicious order                1      Q. And she goes on to state: I
       2   monitoring was compliant with their                   2   have recommended that we bring in a few
       3   expectations, which they did.                         3   key players from different functional
       4         MS. BAIG: Let's have this                       4   areas, all of whom have shared ownership
       5     document marked as the next exhibit,                5   in the process. The main goal is to
       6     please. It's Bates stamped 02 --                    6   confirm that we are meeting our obligation
       7     ALLERGAN_MDL_02081243 through '81245.               7   as a manufacturer of these controlled
       8         (Boothe Exhibit 27, email chain                 8   drugs.
       9     ending August 18, 2009, Bates No.                   9      A. That's great. Yeah. That's --
      10     ALLERGAN_MDL_02081243 to 02081245, was             10   Nancy was our customer service
      11     marked for identification, as of this              11   representative. So she was identifying
      12     date.)                                             12   her belief that we could improve --
      13         MS. BAIG: And it starts as an                  13   continue to invest and improve our
      14     email from Nancy Baran dated August                14   systems.
      15     18th, 2009, to you and others.                     15          Just because we weren't current,
      16         THE WITNESS: Okay.                             16   doesn't mean we're not in compliance.
      17   BY MS. BAIG:                                         17   Which, again, subject to a DEA
      18     Q. And, do you recall receiving                    18   investigation, there were no findings that
      19   this email from Nancy Baran in which she             19   we were not in compliance with the
      20   states: I believe our process is not                 20   expectations on suspicious order
      21   current and there is significant room for            21   monitoring or suspicious order reporting.
      22   improvement.                                         22      Q. Were you subject to a DEA
      23         In the second line?                            23   investigation on that issue?
      24     A. I received the email, yes.                      24      A. No.

                                                     Page 419                                      Page 420
       1            I'm saying that the DEA on --                1          MS. WELCH: Objection to form;
       2    per their practice, would come in and                2       foundation.
       3    audit for these sorts of things. I don't             3       A. At the time of this email in
       4    know exactly when or when that happened,             4   2009, that -- that was -- I guess that was
       5    but there would be a record of it because            5   one of the criteria. We may have moved it
       6    they would provide a record of the                   6   lower or may have raised it up as the
       7    inspection or the audit. Somewhere in the            7   system became more sophisticated. I --
       8    files. I'm not sure of us being outside              8       Q. You don't recall?
       9    of compliance. And Nancy, to her credit,             9       A. Don't recall what?
      10    was identifying or proposing to get more            10       Q. You don't recall if it was
      11    people involved to continue to invest in            11   actually moved or not, if 25 percent was
      12    the space.                                          12   always the threshold used?
      13        Q. And, so, a little further down               13       A. At the time of this email, Nancy
      14    it states: An order appears on the                  14   is indicating that that's one of the --
      15    suspicious order report if it meets the             15   that's only -- that's one of the
      16    following criteria: if the amount ordered           16   thresholds is 25 percent of the customer's
      17    by the customers is 25 percent over the             17   rolling average, and she's proposing to
      18    customer's rolling average.                         18   increase it to 40 percent for abuse-type
      19            Do you see that?                            19   drugs.
      20        A. Yes.                                         20       Q. And, why would she propose to
      21        Q. And, did you have an                         21   increase it from 25 to 40 percent for
      22    understanding that 25 percent was the               22   abuse-type drugs?
      23    threshold that was always used, or did              23          It seems like if you increase
      24    that change?                                        24   it, you're going to flag fewer orders.


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                                           Page 421                                         Page 422
       1            Is that your understanding?           1      A. Well, again, this email is dated
       2            MS. WELCH: Objection to form;         2   2009. So, yes, we had a suspicious order
       3       foundation.                                3   process. And here it does talk about
       4            MR. DIAMANTATOS: Objection to         4   flagging orders and holding orders and
       5       form; foundation; calls for                5   such and that anything above the 25
       6       speculation.                               6   percent threshold would be in that case.
       7       A. I think she's commenting, again         7         So, if there were orders that
       8    this is her email, that the volume -- she     8   were above that threshold, the answer to
       9    wanted to have better systems and controls    9   that would be yes.
      10    so there's less human intervention.          10      Q. And they would have been
      11       Q. Do you know if there was any           11   documented?
      12    suspicious orders ever recorded before       12         MS. WELCH: Objection to form;
      13    2010?                                        13      foundation.
      14            MS. WELCH: Objection to form;        14         MR. DIAMANTATOS: Asked and
      15       foundation.                               15      answered.
      16       A. Reported to whom?                      16      A. In whatever system was required,
      17       Q. Recorded. Flagged or recorded          17   and, yes, there's some sort of
      18    in your documents.                           18   documentation. I don't know if it's a
      19            I can represent to you that I        19   spreadsheet. I don't know if it was --
      20    have not seen any, and I'm just wondering    20      Q. Do you know where -- where you
      21    if you know that suspicious orders were      21   would look for that documentation if you
      22    tracked and recorded prior to 2010.          22   wanted to find it?
      23            MS. WELCH: Objection to form;        23         MS. WELCH: Objection to form;
      24       foundation.                               24      foundation.

                                           Page 423                                         Page 424
       1       A. I would ask the DEA                     1   we were accountable for our suspicious
       2    administrator for the business 'cause         2   order monitoring system.
       3    they're the ones who would be responsible     3          And we also partnered with UPS.
       4    for communication with the agency and         4   They had an existing one as well. So, we
       5    making certain we were compliant. So that     5   had two -- two participations there.
       6    suspicious order -- and we actually had a     6      Q. Can you think of anybody else
       7    compliance officer. So I would start,         7   that you partnered with for your
       8    first and foremost, with the compliance       8   suspicious order monitoring procedures
       9    officer.                                      9   other than UPS?
      10       Q. Do you know whether Actavis            10          MS. WELCH: Objection to form.
      11    outsourced its duty to -- to monitor         11      A. Procedures, or?
      12    suspicious orders to any third parties?      12      Q. Suspicious order monitoring.
      13            MS. WELCH: Objection to form.        13      A. Well, again, you showed me a
      14       A. If we engaged a third party as         14   document before from Buzzeo. So I believe
      15    part of our suspicious order system, like    15   that we engaged Buzzeo at some point.
      16    Buzzeo, for example in previous -- that      16   That was in 2011.
      17    doesn't mean we've abdicated our             17          We -- part of the reason we
      18    responsibility or accountability 'cause      18   chose UPS, prior to engaging with UPS, we
      19    ultimately it's our license. It's our DEA    19   actually did our own distribution. We had
      20    license.                                     20   our own facility in Maryland. We made the
      21            So, if there were third parties      21   decision, which was a great one, I
      22    involved that we brought in because they     22   believe, to go to a company that's world
      23    brought specific expertise or systems,       23   class in logistics and shipping, world
      24    that would have been great, but ultimately   24   class investment in IT systems and, at the


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                                          Page 425                                          Page 426
       1    time, had a computerized suspicious order     1   increase DEA quotas that governed the
       2    system or computerized CSOS which was         2   manufacture and distribution of
       3    computerized -- controlled substance --       3   prescription opioids?
       4    controlled substances ordering system,        4         MR. DIAMANTATOS: Objection to
       5    CSOS, that included a baked-in suspicious     5      form; time frame.
       6    order monitoring platform.                    6   BY MS. BAIG:
       7           So, we believe we had the best         7      Q. Ever while you were at Actavis.
       8    in class by partnering with UPS, which is     8      A. Yes.
       9    something we did in this time frame. And      9         MS. WELCH: Objection to form.
      10    then we augmented that with Buzzeo over      10      A. Yes. I mean, as I mentioned
      11    time.                                        11   before, the process for -- first of all,
      12       Q. Okay. Any other outside                12   all quota was governed by the DEA and as
      13    entities that you can recall being           13   part of the operations of that is a
      14    involved?                                    14   licensed facility would have to request
      15       A. Not that I can recall.                 15   quota. The reason why we would request
      16           There may have been others, but       16   additional quota could be couple-fold.
      17    those are the ones I specifically            17   One is we had products in active
      18    remember.                                    18   development. So we would have had been
      19       Q. Did you ever interact directly         19   granted a quota for R&D quota, but in
      20    with the DEA?                                20   order to do validation, prepare for a
      21       A. Me personally?                         21   commercial launch of an approved
      22       Q. Mm-hm.                                 22   controlled substance, we would need
      23       A. I don't believe so.                    23   additional quotas. So that was one
      24       Q. Did Actavis seek to try to             24   instance where we would request additional

                                          Page 427                                          Page 428
       1    quota.                                        1   for the same quota plus 10 percent so we
       2           Also, for example, if there was        2   could maintain our position in the market.
       3    a disruption in the market and we were        3          Those are three examples of when
       4    able to engage additional customer            4   we would request additional quota from the
       5    distribution for some of the controlled       5   DEA.
       6    substances, we would actually then submit     6      Q. Do you recall receiving a letter
       7    a quota update revision request to the        7   from the FDA with respect to the Kadian
       8    agency, and with that we'd have to            8   marketing, a warning letter?
       9    demonstrate past orders, as well as to        9      A. Yes.
      10    show the customers and their requested       10      Q. Okay. And, were you involved in
      11    volumes. That was another reason why we      11   preparing the response?
      12    would potentially ask for additional quota   12          MR. DIAMANTATOS: Objection to
      13    from the DEA.                                13      form.
      14           As well as following the IMS or       14      A. I was not personally involved in
      15    following the third-party systems. If the    15   preparing the response because that would
      16    actual market itself, the category was       16   have been done by our regulatory
      17    growing at a certain rate, 5 percent, 10     17   organization and our outside FDA advisors,
      18    percent, 20 percent, that information        18   but the ultimate final response letter,
      19    would be the basis for the year-over-year    19   actually, I believe it was submitted by
      20    request to increase the quota with the       20   Ms. Nataline, who's head of regulatory,
      21    commiserate amount. So if we were at 5       21   but I'm sure there was a conversation
      22    percent market share or 10 percent market    22   about what was in, what commitments were
      23    share and the market was growing 10          23   being made, and as part of those
      24    percent, we would ask the following year     24   commitments, as leader of the


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                                          Page 429                                          Page 430
       1    organization, I wanted to make sure that      1      that's hundreds of pages, so.
       2    we had the resources and the commitment       2          MS. BAIG: I'm talking about the
       3    investment-wise to support that.              3      letter.
       4            MS. BAIG: So, we'll mark this         4          This document was produced
       5       as Exhibit 28. It's Bates stamped          5      together by Actavis.
       6       ALLERGAN_MDL_00780097 through              6      A. So, in answer to your question,
       7       00780473. It's a large document. But       7   do I remember receiving a warning letter,
       8       it starts with the facsimile from the      8   I'm looking at the fax machine.
       9       FDA to you dated February 18th, 2010.      9          If I didn't -- I mean, it came
      10            (Boothe Exhibit 28, email chain      10   to my attention, my address. So, yes, I
      11       ending July 11, 2012, with attachment,    11   received it. I reviewed it.
      12       Bates No. ALLERGAN_MDL_00780096 to        12      Q. And, in response to this letter,
      13       00780473, was marked for                  13   were there changes that were made with
      14       identification, as of this date.)         14   respect to the Kadian promotional
      15            MS. BAIG: And then I'll have         15   materials?
      16       marked as the next exhibit, because       16          MS. WELCH: Objection to form.
      17       they're companion exhibits --             17      A. Yes.
      18    BY MS. BAIG:                                 18      Q. And some of those we talked
      19       Q. For this document, do you recall       19   about earlier, correct?
      20    receiving this from the FDA?                 20          MS. WELCH: Objection to form.
      21       A. Yes.                                   21      A. Could you be more specific?
      22            MS. WELCH: Objection to form.        22      Q. Did you serve on a generic
      23            And, are you speaking about the      23   manufacturers advisory board?
      24       letter? You've marked a document          24      A. No.

                                          Page 431                                          Page 432
       1        Q. You never did?                         1   manufacturers both federally and at state
       2        A. Are you referring to the GPHA?         2   level on issues that are pertinent to
       3        Q. Were you on a -- did you serve         3   generic manufacturers. It's the generic
       4    on the board of GPHA?                         4   equivalent of what everybody's more
       5        A. Yes.                                   5   familiar with called PhRMA, which is the
       6        Q. What does GPHA stand for again?        6   branded pharmaceutical lobbying advocacy
       7        A. Generic Pharmaceutical                 7   organization.
       8    Manufacturing Association.                    8      Q. And, did you serve on the PhRMA
       9        Q. Yes, that's right.                     9   board as well?
      10            How long did you serve on that       10      A. No. We were never members of
      11    board?                                       11   PhRMA.
      12        A. 2006 til 2014 or '15 with maybe       12      Q. Okay. And, what about NACDS?
      13    some breaks in between subject to my         13      A. No.
      14    employment at certain places.                14      Q. Did you attend NACDS meetings?
      15        Q. Okay.                                 15      A. Yes.
      16        A. That's not an advisory board          16      Q. And, with respect to the
      17    though.                                      17   lobbying, GPHA, do you recall working on
      18        Q. What is the GPHA?                     18   any lobbying that would have impacted
      19        A. It's the -- it's the lobbying         19   opioids?
      20    association for generic manufacturers.       20          MR. DIAMANTATOS: Objection to
      21    It's an organization based in Washington,    21      form; foundation; assumes facts.
      22    D.C. that generic companies have the         22          MS. WELCH: Objection to form.
      23    option to be members of, and then the GPHA   23      A. No.
      24    advocates on behalf of generic               24          And, again, I'm not a


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                                          Page 433                                          Page 434
       1    professional lobbyist. So again, the GPHA     1   tune of about $15,000 in anticipation of
       2    was a lobbying advocacy organization, but     2   the Moxduo approval and launch.
       3    the lobbying was done by the professionals    3     Q. How about the HDA Research
       4    at GPHA.                                      4   Foundation?
       5       Q. But you don't recall Actavis            5     A. No.
       6    being involved or working with lobbyists      6     Q. The National Wholesale Druggists
       7    for any legislation that would have           7   Association?
       8    impacted or involved opioids?                 8     A. What's that?
       9           MS. WELCH: Objection to form.          9     Q. National Wholesale Druggists
      10       A. No.                                    10   Association?
      11           MR. DIAMANTATOS: Foundation;          11     A. NWDA?
      12       asked and answered.                       12         MS. WELCH: I'm sorry. What's
      13    BY MS. BAIG:                                 13     the question?
      14       Q. Are you familiar with the              14   BY MS. BAIG:
      15    American Pain Society?                       15     Q. Do you recall -- do you have any
      16       A. Not really, but seems like it's        16   familiarity with that association?
      17    a medical association of some sort.          17         MR. DIAMANTATOS: Objection to
      18       Q. You don't recall any Actavis           18     form.
      19    involvement with the American Pain           19     A. HDMA I'm familiar with.
      20    Society?                                     20         What's the other one?
      21           MR. DIAMANTATOS: Objection to         21     Q. The National Association of
      22       form.                                     22   Chain Drug Stores?
      23       A. I believe we provided -- we            23     A. Yes. NACDS, yes.
      24    invested in something at some point to the   24     Q. And, what was your involvement,

                                          Page 435                                          Page 436
       1    if any, with the National Wholesale           1   and one was the fall technical meeting,
       2    Druggists Association?                        2   which I had attend -- stopped attending
       3       A. None.                                   3   probably in the 2010, 2011-ish time frame.
       4       Q. What was Actavis's involvement,         4      Q. How about the American Pain
       5    if any, with National Wholesale Druggists     5   Foundation, are you familiar with that
       6    Association?                                  6   foundation?
       7            MR. DIAMANTATOS: Objection to         7          MR. DIAMANTATOS: Objection to
       8       form; foundation.                          8      form; asked and answered.
       9       A. None.                                   9      A. No.
      10            National Wholesale                   10      Q. You're not familiar with it?
      11    Druggist Association, I don't think it's     11      A. (No response.)
      12    such a thing.                                12      Q. Do you know whether Actavis had
      13       Q. National -- so, for the National       13   any involvement with the American Pain
      14    Association of Chain Drug Stores, did        14   Foundation?
      15    Actavis have any involvement with that?      15          MR. DIAMANTATOS: Objection to
      16       A. We participated -- we were not         16      form; foundation; asked and answered.
      17    members of NACDS. Those are -- the           17      A. I think I testified that we
      18    members of NACDS would be the national       18   paid -- we participated -- made some sort
      19    chain drug stores, such as Walgreens or      19   of payment to participate or attend one of
      20    CVS or Rite Aid.                             20   their events to the tune of $15,000 in
      21            We would attend -- as I              21   anticipation of the Moxduo. I don't know
      22    testified previously, they had two           22   who went. It wasn't me.
      23    industrywide events. One was the annual      23      Q. I think that was the American
      24    meeting in April, and I would attend that,   24   Pain Society.


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       1       A. Okay. So that was that one.            1   BY MS. BAIG:
       2           What's the other one?                 2      Q. Were you involved at all with
       3       Q. American Pain Foundation.              3   communications with the FDA about the REMS
       4       A. No, I'm not familiar with them         4   program?
       5    then.                                        5           MS. WELCH: Objection to form.
       6       Q. How about the American Academy         6      A. Me personally?
       7    of Pain Medicine?                            7      Q. Yes.
       8       A. No.                                    8      A. There may have been documents
       9       Q. Not familiar with it?                  9   went out under my name on behalf of
      10       A. I mean, just -- I think you're        10   Actavis, but generally any communication,
      11    describing medical associations that are    11   any engagement with the FDA would have
      12    in the pain space, so they would be known   12   been through the regulatory team or the
      13    to people who are active in that space.     13   legal team. So that would be Terri
      14    That's just not me.                         14   Nataline or John LaRocca.
      15           MS. WELCH: I think we're, our        15           MS. BAIG: All right. I have
      16       calculation, at the seven-hour mark or   16      one last document, and that's marked
      17       slightly over.                           17      Exhibit 29.
      18           Is that correct?                     18           This document is Bates stamped
      19           MS. BAIG: What's our time?           19      ALLERGAN_MDL_017871495 through
      20           THE VIDEOGRAPHER: About 7:05.        20      '9193 -- no, sorry. Through '71609.
      21       So seven hours and five minutes.         21      It starts as an email from Terri
      22           MS. WELCH: Are you wrapping up?      22      Nataline to mfogelso.
      23           MS. BAIG: I'm wrapping up.           23           (Boothe Exhibit 29, email chain
      24                                                24      ending July 23, 2010, with attachment,


                                         Page 439                                           Page 440
       1       Bates No. ALLERGAN_MDL_01871495 to        1    Actavis and the FDA?
       2       01871609, was marked for                  2       A. Yes.
       3       identification, as of this date.)         3       Q. Regarding the warning letter?
       4    BY MS. BAIG:                                 4       A. Yes.
       5       Q. Do you know who that is?               5       Q. And, does this appear to be a
       6       A. No.                                    6    true and correct copy of that
       7       Q. Do you know what KI -- KAI             7    correspondence?
       8    Research is?                                 8       A. Again, I don't know if
       9       A. No.                                    9    everything is -- and again, I don't know
      10       Q. No.                                   10    who Miriam Fogelson is, so.
      11           And, it purports to be               11           But, essentially, we received
      12    sending -- well, it's a forward of an       12    the warning letter. Our obligation was to
      13    email from Terri Nataline to Miriam         13    respond a certain time frame, which we
      14    Fogelson at KAI Research, subject line      14    did, which I think was within 15 days,
      15    "DDMAC warning letter correspondence        15    with our response. And I think, between
      16    Kadian." And it purports to be forwarding   16    Terri Nataline and the Actavis resources
      17    on the correspondence between FDA and       17    and the resources of the FDA, there was a
      18    Actavis regarding Kadian.                   18    significant back and forth for several
      19           She says: Hopefully it doesn't       19    weeks or months or so as both parties
      20    crash your computer.                        20    worked through and got to agreement as to
      21           Do you see that?                     21    the outcome of the warning letter request.
      22       A. Yes.                                  22           But, while that was going on, by
      23       Q. Okay. And, were you generally         23    the way, we suspended all -- all use of
      24    familiar with the correspondence between    24    any of the materials that were previously


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                                           Page 441                                          Page 442
       1    in place that had been used for many, many     1         ACKNOWLEDGMENT
       2    years. These were, I think, materials we       2
       3    inherited from Alpharma. Stopped that.         3   STATE OF            )
       4    And, ultimately, one of the outcomes was       4                 :ss
       5    some sort of a Dear Pharmacist and a Dear      5   COUNTY OF               )
       6    Patient letter that went out ultimately        6
       7    under my signature in the August-ish time      7          I, DOUGLAS BOOTHE, hereby certify
       8    frame of 2010.                                 8   that I have read the transcript of my
       9       Q. Which I think is included in             9   testimony taken under oath in my
      10    there.                                        10   deposition of January 17, 2019; that the
                                                          11   transcript is a true and complete record
      11           MS. BAIG: I don't have any
                                                          12   of my testimony, and that the answers on
      12       further questions. Thank you.
                                                          13   the record as given by me are true and
      13           THE WITNESS: Okay. Thank you,
                                                          14   correct.
      14       very much.
                                                          15
      15           THE VIDEOGRAPHER: This marks
                                                          16
      16       the end of the testimony given by Doug     17          ___________________________
      17       Boothe.                                                  DOUGLAS BOOTHE
      18           We are going off the record.           18
      19           The time is 5:58 p.m.                  19   Signed and subscribed to before me this
      20           (Deposition adjourned at               20   _________ day of _______________, 2019.
      21       approximately 5:58 p.m.)                   21
      22                                                  22   _____________________________________
      23                                                  23   Notary Public, State of
      24                                                  24


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       1            ERRATA                                 1        CERTIFICATE
       2   PAGE / LINE / CHANGE / REASON                   2   STATE OF NEW YORK
       3   ____________________________________________    3   COUNTY OF NEW YORK
       4   ____________________________________________    4
       5   ____________________________________________    5         I, Marie Foley, RMR, CRR, a
       6   ____________________________________________    6   Certified Realtime Reporter and Notary
       7   ____________________________________________    7   Public within and for the State of New
       8   ____________________________________________    8   York, do hereby certify:
       9   ____________________________________________    9         THAT DOUGLAS BOOTHE, the witness
      10   ____________________________________________   10   whose deposition is hereinbefore set
      11   ____________________________________________
                                                          11   forth, was duly sworn by me and that such
      12   ____________________________________________
                                                          12   deposition is a true record of the
                                                          13   testimony given by the witness.
      13   ____________________________________________
                                                          14         I further certify that I am not
      14   ____________________________________________
                                                          15   related to any of the parties to this
      15   ____________________________________________
                                                          16   action by blood or marriage, and that I am
      16   ____________________________________________
                                                          17   in no way interested in the outcome of
      17   ____________________________________________
                                                          18   this matter.
      18   ____________________________________________
                                                          19         IN WITNESS WHEREOF, I have
      19   ____________________________________________
                                                          20   hereunto set my hand this 21st day of
      20   ____________________________________________   21   January, 2019.
      21   ____________________________________________   22
      22   ____________________________________________   23         ___________________________
      23   ____________________________________________                MARIE FOLEY, RMR, CRR
      24   ____________________________________________   24


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                                           Page 445
       1           LAWYER'S NOTES
       2   PAGE / LINE
       3   ____ ____ __________________________________
       4   ____ ____ __________________________________
       5   ____ ____ __________________________________
       6   ____ ____ __________________________________
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      11   ____ ____ __________________________________
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      23   ____ ____ __________________________________
      24   ____ ____ __________________________________




                                                               112 (Page 445)
